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                           EXHIBIT 291-A
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      1       IN THE UNITED STATES DISTRICT COURT
      2        FOR THE EASTERN DISTRICT OF OHIO
      3                EASTERN DIVISION
      4                      - - -
      5    IN RE: NATIONAL      : MDL NO. 2804
           PRESCRIPTION OPIATE :
      6    LITIGATION           :
           -----------------------------------------
      7                         : CASE NO.
           THIS DOCUMENT        : 1:17-MD-2804
      8    RELATES TO ALL CASES:
                                : Hon. Dan A.
      9                         : Polster
     10                      - - -
                    Friday, August 3, 2018
     11                      - - -
     12    HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                    CONFIDENTIALITY REVIEW
     13                     - - -
     14                  Videotaped deposition of
           CHRISTOPHER ZIMMERMAN, taken pursuant to
     15    notice, was held at the law offices of
           Reed Smith, LLP, Three Logan Square, 1717
     16    Arch Street, Suite 3100, Philadelphia,
           Pennsylvania 19103, beginning at 9:00
     17    a.m., on the above date, before Amanda
           Dee Maslynsky-Miller, a Certified
     18    Realtime Reporter.
     19                      - - -
     20
     21
     22
                     GOLKOW LITIGATION SERVICES
     23          877.370.3377 ph| 917.591.5672 fax
                         deps@golkow.com
     24

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                                                                             Review
                                          Page 2                                            Page 4
     1   APPEARANCES:                               1 APPEARANCES: (Continued)
     2                                              2
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    23                                                   Representing the Defendant,
    24                                             24    The Walgreens Company

                                          Page 3                                            Page 5
     1   APPEARANCES: (Continued)                   1   VIA TELECONFERENCE:
     2                                              2
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     9                                              9
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            sgconway@jonesday.com                  19     Representing the Defendants,
    19      Representing the Defendant,                   Teva Pharmaceuticals, Inc.,
            Walmart                                20     Cephalon, Inc., Watson
    20                                                    Laboratories, Actavis LLC, and
    21
    22
                                                   21     Actavis Pharma, Inc.
                                                   22
    23                                             23
    24                                             24

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     1   APPEARANCES: (Continued)                           1           - - -
     2   Via Teleconference:                                           EXHIBITS
     3                                                      2           - - -
                                                            3
               JACKSON KELLY PLLC                               NO.        DESCRIPTION        PAGE
     4         BY: SAMANTHA M. D'ANNA, ESQUIRE              4
               500 Lee Street East                          5   Amerisource Bergen - Zimmerman
     5         Suite 1600                                       Exhibit-10   ABDCMDL 00000099-100 283
               Charleston, WV 25301                         6
     6         (304) 340-1347                               7 Amerisource Bergen - Zimmerman
               samantha.danna@jacksonkelly.com                Exhibit-11    CAH_MDL_PRIORPROD_
     7         Representing the Defendant,
                                                            8            DEA_07_00880890-92 303
                                                            9 Amerisource Bergen - Zimmerman
               Miami-Luken, Inc.                              Exhibit-12    MNKT1_0000291614-1620 328
     8                                                     10
     9                                                          Amerisource Bergen - Zimmerman
    10         ZUCKERMAN SPAEDER LLP                       11   Exhibit-13   ABDCMDL 00278212    362
               BY: VANESSA I. GARCIA, ESQUIRE              12   Amerisource Bergen - Zimmerman
    11         485 Madison Avenue                               Exhibit-14   ABDCMDL 00000124-147 380
                                                           13
               10th Floor                                     Amerisource Bergen - Zimmerman
    12         New York, New York 10022                    14 Exhibit-15     No Bates
               ( 212) 704-9600                                           March 2017
    13         vgarcia@zuckerman.com                       15            AmerisourceBergen Code
               Representing the Defendant,                               of Ethics and
    14         CVS Pharmacy                                16            Business Conduct    439
    15                                                     17 Amerisource Bergen - Zimmerman
    16                                                        Exhibit-16     No Bates
                                                           18            West Virginia Case
    17 ALSO PRESENT:                                                     Document, Organization
       David Lane, Videographer                            19            Charts          443
    18 Zac Hone - Trial Technician                         20 Amerisource Bergen - Zimmerman
    19                                                        Exhibit-17     ABDCMDL 00251392-94        451
    20                                                     21
    21                                                          Amerisource Bergen - Zimmerman
    22
                                                           22   Exhibit-18   ABDCMDL 00002325-2334 453
    23
                                                           23   Amerisource Bergen - Zimmerman
    24
                                                                Exhibit-19   ABDCMDL 00002405-2418 459
                                                           24

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                   INDEX                                    2         DEPOSITION SUPPORT INDEX
     2             - - -
     3                                                      3             - - -
         Testimony of: CHRISTOPHER ZIMMERMAN                4
     4
           By Mr. Pifko              11                     5 Direction to Witness Not to Answer
     5
     6            - - -                                     6 Page Line      Page Line      Page Line
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     7            - - -
     8                                                        195 23
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     9
         Amerisource Bergen - Zimmerman                       196 17
    10   Exhibit-1    Notice of Deposition 13               9
    11   Amerisource Bergen - Zimmerman
    12
         Exhibit-2    *Skipped*                            10 Request for Production of Documents
         Amerisource Bergen - Zimmerman
                                                           11 Page Line Page Line Page Line
    13   Exhibit-3    Notice of 30(b)(6)                   12 None
                   Deposition        19                    13
    14
       Amerisource Bergen - Zimmerman                      14
    15 Exhibit-4    2001 Chemical
                 Handler's Notebook 131
                                                           15 Stipulations
    16                                                     16 Page Line Page Line     Page Line
         Amerisource Bergen - Zimmerman                    17 10
    17   Exhibit-5    ABDCMDL 00279854-65 137                      1
    18   Amerisource Bergen - Zimmerman                    18
         Exhibit-6    ABDCMDL 00269683-694 145             19
    19
       Amerisource Bergen - Zimmerman                      20 Question Marked
    20 Exhibit-7    ABDCMDL 00000101-122 170
    21 Amerisource Bergen - Zimmerman                      21 Page Line Page Line     Page Line
       Exhibit-8    ABDCMDL 00270533    248                22 None
    22
         Amerisource Bergen - Zimmerman                    23
    23   Exhibit-9    ABDCMDL 00273425          251        24
    24

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     1            - - -                             1  your testimony here is under penalty of
     2        (It is hereby stipulated and          2  perjury?
     3    agreed by and among counsel that           3      A. Yes.
     4    sealing, filing and certification          4      Q. And that means that if you
     5    are waived; and that all                   5 are untruthful or dishonest in any way
     6    objections, except as to the form          6 you could be subject to penalties from
     7    of the question, will be reserved          7 the court.
     8    until the time of trial.)                  8         Do you understand that?
     9           - - -                               9      A. Yes.
    10        VIDEO TECHNICIAN: We are              10      Q. Do you intend to provide
    11    now on the record. My name is             11 cooperative testimony today?
    12    David Lane, videographer for              12      A. I do.
    13    Golkow Litigation Services.               13      Q. From time to time,
    14    Today's date is August 3rd, 2018.         14 Amerisource's counsel might assert
    15    Our time is 9:23 a.m.                     15 objections. Unless he instructs you not
    16        This deposition is taking             16 to answer, I'm still entitled to an
    17    place in Philadelphia,                    17 answer.
    18    Pennsylvania, in the matter of            18         Do you understand that?
    19    National Prescription Opiate              19      A. Yes.
    20    Litigation. Our deponent today is         20      Q. We can take breaks -- I'm
    21    Chris Zimmerman. Our counsel will         21 sure that you went over all this in the
    22    be noted on the stenographic              22 prep session with your lawyers. We can
    23    record.                                   23 take breaks. The only thing is unless
    24        The court reporter is Amanda          24 your counsel is going to be conferring

                                          Page 11                                           Page 13
     1      Miller and will now swear in the       with you about a privilege, we can't take
                                                    1
     2      witness.                             2 a break while a question is pending.
     3             - - -                         3          Do you agree to that?
     4          CHRISTOPHER ZIMMERMAN, after 4          A. Yes.
     5      having been duly sworn, was          5          MR. PIFKO: Let's start by
     6      examined and testified as follows:   6      handing him the 30(b)(6) notice
     7             - - -                         7      for Number 1.
     8          VIDEO TECHNICIAN: Please         8 BY MR. PIFKO:
     9      begin.                               9      Q. While he's getting that, are
    10             - - -                        10 you under any medications or undergoing
    11            EXAMINATION                   11 any treatment of any kind that would
    12             - - -                        12 inhibit your ability to provide truthful
    13 BY MR. PIFKO:                            13 and accurate testimony today?
    14      Q. Good morning, Mr. Zimmerman.     14      A. No.
    15 My name is Mark Pifko, I'm counsel for   15      Q. Is there any reason that you
    16 plaintiffs in this matter. Just met a    16 can state why your deposition should not
    17 few moments ago for the first time, off  17 go forward today?
    18 the record.                              18      A. No.
    19          You understand that you are     19             - - -
    20 here as the company's designated witness 20          (Whereupon, Amerisource
    21 for certain topics?                      21      Bergen-Zimmerman Exhibit-1, Notice
    22      A. Correct.                         22      of Deposition, was marked for
    23      Q. The court reporter just          23      identification.)
    24 swore you in. So you understand that     24            - - -
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     1 BY MR. PIFKO:                                     1      A. A couple of weeks ago,
     2      Q. I've just handed you what's               2 maybe.
     3 marked as Exhibit-1, which is a first             3      Q. And are you prepared to
     4 notice of deposition under Rule 30(b)(6).         4 provide testimony on behalf of the
     5          It's got some topics on                  5 company with respect to these topics?
     6 here, there are page numbers under there.         6      A. Within a certain time frame,
     7 The topics start on the bottom of the             7 yes.
     8 page, Page 6.                                     8      Q. I understand the time frame
     9          Do you see that?                         9 goes from -- up until the end of 2014; is
    10      A. Yes.                                     10 that correct?
    11      Q. Have you seen this document              11      A. Correct.
    12 before?                                          12          MR. NICHOLAS: Just for the
    13      A. I don't believe so.                      13      record, just one of these topics,
    14      Q. Have you seen these topics               14      Topic O, is one which I believe
    15 before?                                          15      there's an agreement among counsel
    16      A. Let me take a quick look at              16      that we will respond to in writing
    17 them.                                            17      as opposed to in testimony here
    18      Q. Sorry?                                   18      today.
    19      A. I'm reading through these                19          MR. PIFKO: Well, we can
    20 real quickly.                                    20      meet and confer, but I don't
    21      Q. Just for housekeeping, we                21      intend to take testimony on that
    22 didn't go over that, but there are,              22      topic today in any event.
    23 again, I'm sure your counsel told you            23          MR. NICHOLAS: Well, just to
    24 some of these things in preparing for the        24      be clear, though, I think there's
                                              Page 15                                             Page 17
     1 depo, but there's a couple of ground              1      an agreement that we're responding
     2 rules that we have to remember because            2      to this in writing.
     3 we're on the record here. Try to                  3          MR. PIFKO: I'm not aware of
     4 annunciate clearly if you're providing an         4      such an agreement. I'm not
     5 answer, give an audible response and              5      disputing -- or I'm not taking a
     6 don't say words like uh-huh and uh-uh             6      position.
     7 because when you read it on the                   7          MR. NICHOLAS: Okay.
     8 transcript, you can't tell if it's a yes          8          MR. PIFKO: But we can be
     9 or no.                                            9      clear that that's not part of the
    10          Understood?                             10      deposition today, however we end
    11      A. Yes.                                     11      up handling it.
    12      Q. So you're reviewing the                  12          MR. NICHOLAS: Okay.
    13 document right now?                              13 BY MR. PIFKO:
    14      A. Yes.                                     14      Q. And so you understand that
    15      Q. To be clear, my question was             15 you're also being deposed here in your
    16 if you had seen these topics before,             16 individual capacity as well.
    17 which start on Page 6, and they're               17          Do you understand that?
    18 lettered A through O.                            18      A. Yes.
    19      A. Yes.                                     19      Q. For the most part, you can
    20      Q. You have seen these topics               20 imagine, the company is made up of many
    21 before?                                          21 individuals, and so it's hard to have
    22      A. I have.                                  22 someone speak for the company.
    23      Q. Okay. When was the first                 23          So what we do in these
    24 time you saw these?                              24 situations is we have these topics and


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     1 you, right now sitting in that chair for        1      for identification.)
     2 the purpose of this case, are                   2            - - -
     3 AmerisourceBergen with respect to these         3 BY MR. PIFKO:
     4 topics.                                         4      Q. It's marked as Exhibit-3,
     5          Do you understand that?                5 which is the notice that calls us here
     6          MR. NICHOLAS: Object to the            6 today.
     7      form.                                      7          And it also, in addition to
     8          You can answer.                        8 calling for your 30(b)(6) testimony, it
     9          THE WITNESS: Yes, I'm going            9 calls for your individual testimony as
    10      to be speaking on these topics.           10 well.
    11 BY MR. PIFKO:                                  11      A. Okay.
    12      Q. And from time to time, I               12      Q. Are you familiar with The
    13 might be asking, does AmerisourceBergen        13 Controlled Substances Act?
    14 do this or that? And you'll be                 14      A. Yes.
    15 answering, you know, so long as it's           15      Q. How long have you been
    16 within the scope of these topics, you'll       16 working at AmerisourceBergen?
    17 be answering on behalf of the company.         17      A. Since January 1990.
    18          Do you understand that?               18      Q. And you are currently senior
    19          MR. NICHOLAS: Same                    19 vice president, chief compliance officer?
    20      objection.                                20      A. Correct.
    21          But go ahead.                         21      Q. And you're also senior vice
    22          THE WITNESS: Yes, I'll be             22 president in charge of the -- what's your
    23      answering questions.                      23 exact title for the aspect of the company
    24 BY MR. PIFKO:                                  24 that deals with compliance with the CSA?

                                            Page 19                                             Page 21
     1     Q. And you understand that                  1      A. So I'm senior vice president
     2 you'll be answering them on behalf of the       2 of corporate security and regulatory
     3 company? That's what I'm trying to get          3 affairs.
     4 at.                                             4      Q. And you guys called that
     5          MR. NICHOLAS: Same                     5 CSRA within your company?
     6     objection.                                  6      A. That's the abbreviation,
     7          You can answer.                        7 yes.
     8          THE WITNESS: It depends on             8      Q. So if I use the term "CSRA,"
     9     whether it's as I'm representing            9 you understand what that means?
    10     the company. You also indicated            10      A. Yes.
    11     I'll be answering questions for            11      Q. AmerisourceBergen is a
    12     myself.                                    12 registrant under The Controlled
    13 BY MR. PIFKO:                                  13 Substances Act, correct?
    14     Q. But with respect to these               14      A. We are a DEA registrant,
    15 topics, you understand that for the date       15 correct.
    16 range we discussed, you'll be answering        16      Q. Have you ever heard the
    17 on behalf of the company?                      17 term, I think -- I'm from California, we
    18     A. Yes.                                    18 drive a lot there, there's a phrase they
    19     Q. Okay. And then I just                   19 use that says, driving is a privilege,
    20 handed you what's marked as Exhibit-2.         20 not a right.
    21             - - -                              21          Have you ever heard that
    22          (Whereupon, Amerisource               22 kind of a phrase before?
    23     Bergen-Zimmerman Exhibit-3, Notice         23      A. Not really.
    24     of 30(b)(6) Deposition, was marked         24      Q. AmerisourceBergen sells
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     1 drugs, correct?                                  1          THE WITNESS: Can you say
     2      A. Correct.                                 2      your question one more time?
     3      Q. Included among those drugs               3 BY MR. PIFKO:
     4 are controlled substances, correct?              4      Q. The ability to sell
     5      A. Yes.                                     5 controlled substances also comes with
     6      Q. And it's AmerisourceBergen's             6 certain obligations that you must follow,
     7 position as a registrant that allows the         7 correct?
     8 company to sell controlled substances,           8          MR. NICHOLAS: Same
     9 correct?                                         9      objection.
    10          MR. NICHOLAS: Object to the            10          THE WITNESS: It's the
    11      form.                                      11      obligations of the requirements of
    12          THE WITNESS: We have a                 12      the Code of Federal Regulations.
    13      controlled substance registration          13 BY MR. PIFKO:
    14      that allows us to distribute.              14      Q. And specifically, that's The
    15 BY MR. PIFKO:                                   15 Controlled Substances Act, correct?
    16      Q. And absent that                         16      A. The regulations from the
    17 registration, it's not legal for                17 act, correct.
    18 AmerisourceBergen to sell controlled            18      Q. So The Controlled Substances
    19 substances, correct?                            19 Act and the regulations that follow,
    20      A. Correct.                                20 correct?
    21      Q. So do you understand that               21      A. Yes.
    22 along with the privilege and the right          22      Q. Do you know what a duty to
    23 to -- the ability to sell controlled            23 maintain effective controls is?
    24 substances, certain duties are attached         24          MR. NICHOLAS: Object to the
                                             Page 23                                            Page 25
     1 to that as well.                                 1      form.
     2          Do you understand that?                 2          THE WITNESS: I'm not sure
     3          MR. NICHOLAS: Object to the             3      what your question is. We -- I'm
     4      form.                                       4      not sure what your question is.
     5          THE WITNESS: I'm not sure               5 BY MR. PIFKO:
     6      what you're referring to as                 6      Q. Have you heard the phrase,
     7      "duties."                                   7 "duty to maintain effective controls"?
     8 BY MR. PIFKO:                                    8      A. No.
     9      Q. Okay. You understand there               9      Q. You've never heard that term
    10 are restrictions on what you can do as an       10 before?
    11 entity selling controlled substances,           11      A. No.
    12 correct?                                        12      Q. Do you have an understanding
    13      A. There's requirements that we            13 that under The Controlled Substances Act,
    14 follow. I don't know if I'd refer to            14 AmerisourceBergen has a duty to maintain
    15 them as restrictions, but there's               15 effective controls to prevent diversion
    16 regulatory requirements that we have to         16 of certain substances?
    17 adhere to.                                      17      A. Yes. We have to maintain
    18      Q. Right. So my question is,               18 effective controls from diversion. I
    19 the ability to sell controlled substances       19 just don't know duty was included in that
    20 also comes with certain obligations,            20 or not.
    21 correct?                                        21      Q. I'll represent to you that
    22          MR. NICHOLAS: Object to the            22 the word "duty" is in there.
    23      form.                                      23          So you do understand that
    24          Go ahead.                              24 you have an obligation to maintain


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     1 effective controls as part of your               1          MR. PIFKO: Well, if you
     2 serving as a registrant and selling              2     tell the witness the question is
     3 controlled substances?                           3     too big and then he responds, I
     4      A. Yes, we have an                          4     don't know how to answer it, it's
     5 obligation -- there's a regulatory               5     too big, then we've got a problem
     6 responsibility to have effective controls        6     here because you're telling him
     7 to prevent diversion.                            7     what to say.
     8      Q. What's your understanding of             8          Do you understand?
     9 what that means?                                 9          MR. NICHOLAS: No, I'm not
    10           MR. NICHOLAS: Object to the           10     telling him what to say. I'm
    11      form. I object to the question.            11     making an objection. So why don't
    12      It's too big.                              12     you just go ahead?
    13           THE WITNESS: I guess --               13          MR. PIFKO: I hope that we
    14      that's an overarching statement.           14     can have compliance with the rules
    15           If you can clarify what               15     here. And understanding that
    16      instances within the Code of               16     we're going to be doing that, I'm
    17      Federal Regulations you're                 17     going to proceed.
    18      referring to with the effective            18 BY MR. PIFKO:
    19      controls, there's several                  19     Q. You have a duty to maintain
    20      different areas in there.                  20 effective controls to prevent against
    21           MR. PIFKO: We're going to             21 diversion, correct?
    22      have to not have any speaking              22     A. Correct.
    23      objections. Saying "too big" is            23     Q. Do you understand what that
    24      not an objection, and it's                 24 means?

                                             Page 27                                            Page 29
     1     obviously influencing the                    1      A. Yes, I understand what that
     2     witness's testimony.                         2 means.
     3         So you can state your                    3      Q. What is your understanding
     4     objection with clarity. You can              4 of what that means?
     5     state form or foundation. But                5      A. We have to have effective
     6     that's all you can do, okay?                 6 controls to prevent diversion, both on
     7         MR. NICHOLAS: Mark, I                    7 the physical security operational side,
     8     appreciate the instruction, but              8 as well as ensuring we only distribute to
     9     I'm going to have to handle my own           9 licensed entities, and a duty to report
    10     objections the way I see fit.               10 suspicious orders.
    11         MR. PIFKO: If you're going              11      Q. You mentioned there, "duty
    12     to be coaching the witness                  12 to report suspicious orders."
    13     throughout the day, we're going to          13         If I refer to that as the
    14     stop the deposition, we're going            14 "reporting requirement," do you have an
    15     to seek sanctions and we're going           15 understanding of that?
    16     come back here.                             16      A. If you are referring to the
    17         Do you understand that?                 17 regulation that we have to design and
    18         MR. NICHOLAS: You can do                18 operate a system to identify suspicious
    19     whatever you think you need to do.          19 orders and report those suspicious orders
    20     I'm not coaching the witness. I'm           20 to DEA, yes.
    21     stating what I think are                    21      Q. Okay. So at various points
    22     appropriate objections in the               22 today we might refer to that as the
    23     appropriate manner. And you can             23 "reporting requirement."
    24     proceed.                                    24         Will you understand that?
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     1      A. Yes. If that's the                     1 well?
     2 definition we're going to go with, yes.        2      A. I don't -- I don't think
     3      Q. Okay. There's also a                   3 there's a requirement not to ship. We do
     4 requirement to provide records of all          4 not ship suspicious orders.
     5 your shipments through the ARCOS system.       5      Q. So it's your position that
     6          Are you familiar with that?           6 there's no requirement under the law to
     7      A. Only certain drugs are                 7 not ship a suspicious order?
     8 within the -- are considered ARCOS             8      A. Not that I know of.
     9 products. So not all controlled                9      Q. You testified in the West
    10 substances are reported through ARCOS.        10 Virginia Attorney General litigation in
    11      Q. Fair enough.                          11 2016, correct?
    12          But to the extent a                  12      A. Yes.
    13 substance is under the requirement to         13      Q. Let's back up for a second.
    14 report to ARCOS, you understand that          14          When we talk about this idea
    15 there's an obligation to do so, correct?      15 to prevent diversion, do you have an
    16      A. Yes.                                  16 understanding of why there is such a
    17      Q. Okay. You understand that             17 requirement?
    18 the reporting to ARCOS is different than      18          MR. NICHOLAS: Object to the
    19 the reporting of a suspicious order,          19      form.
    20 correct?                                      20          THE WITNESS: There's
    21      A. Yes.                                  21      certain -- as a distributor, the
    22      Q. So complying with the ARCOS           22      DEA outlines certain requirements
    23 requirement does not equate to compliance     23      that distributors -- I'll speak as
    24 with the suspicious order reporting           24      for a distributor -- has to adhere
                                           Page 31                                            Page 33
     1 requirement.                                   1      to in order to maintain effective
     2          Do you understand that?               2      controls to prevent diversion.
     3      A. Yes.                                   3          And those are the -- those
     4      Q. Have you heard of the                  4      are the regulations that our
     5 shipping requirement?                          5      company follows, and those are the
     6      A. No.                                    6      ones we have implemented in order
     7      Q. Are you familiar with the              7      to maintain our registration.
     8 Masters Pharmaceutical case?                   8 BY MR. PIFKO:
     9      A. I've seen it, yes.                     9      Q. Right. So what I'm trying
    10      Q. Are you aware that that case          10 to understand is, do you have an
    11 discusses something called the shipping       11 understanding about what the purpose is
    12 requirement?                                  12 of those rules?
    13      A. I've seen that reference to           13          MR. NICHOLAS: Object to the
    14 shipping requirement.                         14      form.
    15      Q. Do you know what that is?             15          THE WITNESS: The purpose is
    16      A. No.                                   16      to maintain effective controls
    17      Q. You have no understanding of          17      within the distribution center.
    18 what the shipping requirement is?             18 BY MR. PIFKO:
    19      A. I've never seen it in the             19      Q. And why do we want to do
    20 Code of Federal Regulations.                  20 that?
    21      Q. Do you understand that in             21          MR. NICHOLAS: Object to the
    22 addition to reporting a suspicious order      22      form.
    23 to the DEA, AmerisourceBergen is required     23          THE WITNESS: Because those
    24 to -- not to ship a suspicious order as       24      are the requirements of the
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     1      regulations.                                1 Schedule II substance has a high
     2 BY MR. PIFKO:                                    2 potential for abuse?
     3      Q. Do you have an understanding             3          MR. NICHOLAS: Object to the
     4 about why those are the requirements of          4      form.
     5 the regulations?                                 5          THE WITNESS: I don't know
     6          MR. NICHOLAS: Object to the             6      that. But it's a Schedule II.
     7      form.                                       7 BY MR. PIFKO:
     8          THE WITNESS: Those are the              8      Q. What do you mean by, "I
     9      regulations that we have to follow          9 don't know that but it's a Schedule II"?
    10      in order to keep our registration.         10      A. You asked if I knew whether
    11      To be a distributor, you have to           11 the government stated -- I don't know if
    12      meet those requirements in the             12 the government stated that. But I know,
    13      regulations.                               13 by it being a Schedule II, it has a high
    14 BY MR. PIFKO:                                   14 potential of abuse.
    15      Q. Are you familiar with the               15      Q. So you do know that a
    16 scheduling system of controlled                 16 Schedule II substance has a high
    17 substances?                                     17 potential for abuse, correct?
    18      A. I understand that there's               18      A. That's why it's a Schedule
    19 Schedules 1 through IV, yes.                    19 II.
    20      Q. Do you know what a Schedule             20      Q. And you know that this case
    21 I substance is?                                 21 primarily concerns Schedule II
    22      A. I believe -- I don't know               22 substances?
    23 the official, but it's no -- I believe it       23      A. I don't know -- I don't know
    24 references there's no medical purpose.          24 that.

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     1      Q. How about Schedule II, do                1      Q. We'll get into that.
     2 you know what a Schedule II substance is?        2      A. Okay.
     3      A. It's a Schedule II                       3      Q. Do you know what a Schedule
     4 controlled substance, yes.                       4 III substance is?
     5      Q. But what's -- what are                   5      A. It's a controlled substance
     6 attributes of a Schedule II substance --         6 that has a -- that has a potential of
     7           MR. NICHOLAS: Object.                  7 abuse but not as high as a Schedule II.
     8 BY MR. PIFKO:                                    8      Q. So a Schedule I -- Schedule
     9      Q. -- based on your                         9 II substance has a high potential for
    10 understanding?                                  10 abuse and a Schedule III substance has a
    11           MR. NICHOLAS: Object to the           11 potential for abuse but may be less high
    12      form.                                      12 than Schedule II, correct?
    13           Go ahead.                             13      A. Correct.
    14           THE WITNESS: The Schedule             14      Q. You understand that this
    15      II, III, IV, V are all scheduled           15 case concerns opioid products, correct?
    16      as to their potential for abuse.           16      A. Correct.
    17 BY MR. PIFKO:                                   17      Q. Do you know what an opioid
    18      Q. Do you understand that a                18 product is?
    19 Schedule II substance has a high                19      A. A product that contains
    20 potential for abuse?                            20 opioid.
    21      A. It's higher than III and IV             21      Q. Do you know what the word
    22 and V.                                          22 "opioid" means?
    23      Q. Do you understand that the              23      A. I believe that's the active
    24 United States government has said that a        24 ingredient in the drug.


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     1      Q. Do you know what the active            1      A. Yes.
     2 ingredient in morphine is?                     2      Q. When we use the word
     3      A. I don't know.                           3 "diversion," do you have an understanding
     4      Q. The word "opiate," it                   4 about what that means?
     5 derives from opium.                             5     A. It depends on the context.
     6          Do you understand that?                6     Q. In the context of The
     7      A. Yes.                                    7 Controlled Substances Act.
     8      Q. Opium comes from a poppy                8          MR. NICHOLAS: Object to the
     9 flower.                                         9     form.
    10          Do you understand that?               10          THE WITNESS: So diversion
    11      A. I understand that, yes.                11     is that a drug that's -- well,
    12      Q. So a product that is an                12     again, it depends. Even with
    13 opioid is derived from the opium.              13     controlled substances, it could
    14          Do you have an understanding          14     be -- it could have several
    15 of that?                                       15     different meanings. So if it's
    16          MR. NICHOLAS: Objection.              16     diverted from theft, it could be a
    17          THE WITNESS: I don't know             17     diversion because of a bad
    18      the medical makeup and how -- of          18     prescription.
    19      how an opioid is manufactured. I          19          It's when a drug -- I've
    20      don't know that.                          20     seen it referenced as a drug that
    21 BY MR. PIFKO:                                  21     leaves the normal distribution
    22      Q. But you understand that the            22     channels.
    23 active ingredient is derived from some         23 BY MR. PIFKO:
    24 opiate-like substance?                         24     Q. Okay. What's the normal
                                            Page 39                                           Page 41
     1          MR. NICHOLAS: Objection.              1  distribution channel?
     2      Asked and answered.                       2       A. That -- the closed system of
     3          THE WITNESS: I know it's an            3 manufacture to DEA registrant distributor
     4      opioid. I don't know the                   4 to DEA registrant dispenser.
     5      derivatives.                               5      Q. Do you have an understanding
     6 BY MR. PIFKO:                                   6 about what the closed system is?
     7      Q. Can you name any substances             7          MR. NICHOLAS: Object to the
     8 that you understand to be classified as         8      form.
     9 an opioid?                                      9          THE WITNESS: The closed
    10      A. Oxycodone, hydrocodone are             10      system as it pertains to?
    11 the two major ones.                            11 BY MR. PIFKO:
    12      Q. Any others?                            12      Q. Well, you just used it in
    13      A. I know those for sure. I               13 your answer, so I want to know what you
    14 don't want to speculate on some of the         14 were referring to.
    15 others.                                        15      A. The closed system of
    16      Q. Do you have an understanding           16 controlled substances? I just want to
    17 that at certain relevant time periods in       17 make sure I understand your question.
    18 this case certain hydrocodone combination      18      Q. You talked about a drug
    19 products were classified as Schedule III       19 leaving the normal channels within the
    20 substances?                                    20 closed system. So I'm trying to
    21      A. Yes.                                   21 understand what you meant by "closed
    22      Q. And they were later                    22 system."
    23 reclassified as a Schedule II substance.       23      A. I said distribution channel,
    24          Do you understand that?               24 I didn't say closed system.


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     1      Q. I think you said within the            1  BY MR. PIFKO:
     2 closed system, or something to that            2       Q. Well, you said that that's
     3 effect.                                         3 the legitimate one, the one you just
     4      A. I thought I said                        4 described, correct?
     5 distribution channel.                           5      A. That's the -- you asked me
     6      Q. We don't need to fight about            6 what the closed distribution was, and
     7 what you said or didn't say.                    7 that's what the closed distribution is.
     8           What I just want to know,             8      Q. And you understand that your
     9 your -- do you have an understanding            9 duty to prevent diversion is to prevent
    10 about what the closed system is under The      10 applicable controlled substances from
    11 Controlled Substances Act?                     11 exiting that system?
    12           MR. NICHOLAS: Object to the          12          MR. NICHOLAS: Object to the
    13      form.                                     13      form.
    14           THE WITNESS: The closed              14          THE WITNESS: Our
    15      system, as I've heard it referred         15      responsibility is to ensure that
    16      to, is that the DEA sets the              16      we distribute FDA-approved drugs
    17      quotas of how much product can be         17      from the -- that we maintain in
    18      produced, then manufactured; those        18      our distribution centers to
    19      products are transferred to the           19      licensed entities.
    20      distributor through ARCOS, which          20 BY MR. PIFKO:
    21      is maintained -- transferred to           21      Q. And what do you mean by
    22      the distributor.                          22 "licensed entities"?
    23           And then the distributor             23      A. Pharmacies, hospitals, DEA
    24      transfers to the pharmacy or the          24 registrants and State Board of Pharmacy

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     1      dispenser with an ARCOS                   1  registrants.
     2      transaction, which closes the             2       Q. And you understand that
     3      distribution, as far as DEA                3 those registrants also have duties to
     4      tracking goes.                             4 maintain effective controls as well?
     5 BY MR. PIFKO:                                   5          MR. NICHOLAS: Object to the
     6      Q. So there are legitimate                 6      form.
     7 channels of distribution within that            7          THE WITNESS: They have
     8 system, correct?                                8      their own regulations that they
     9          MR. NICHOLAS: Object to the            9      must follow, correct.
    10      form.                                     10 BY MR. PIFKO:
    11          THE WITNESS: That is the --           11      Q. So the idea of preventing
    12      that is the legitimate                    12 diversion is to prevent substances from
    13      distribution channel.                     13 getting into illegal hands, correct?
    14 BY MR. PIFKO:                                  14          MR. NICHOLAS: Object to the
    15      Q. Okay. And then there could             15      form.
    16 be -- a channel of distribution outside        16          THE WITNESS: Each
    17 of that system, that would be                  17      registrant has its
    18 illegitimate, correct?                         18      responsibilities to maintain
    19          MR. NICHOLAS: Object to the           19      effective controls to prevent
    20      form.                                     20      diversion. We maintain those
    21          THE WITNESS: I can't say              21      within our registrant's capacity,
    22      what type of other distribution.          22      correct.
    23      I can only comment on our                 23 BY MR. PIFKO:
    24      distribution system.                      24      Q. Can you give me an example
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     1 of diversion?                                   1       Q. Well, it's your -- among the
     2          MR. NICHOLAS: Objection.               2  responsibilities you have with the
     3      Object to the form.                         3 company, one of them is to manage the
     4          THE WITNESS: As I stated,               4 company's efforts to maintain effective
     5      diversion can be many different             5 controls against diversion, correct?
     6      things. So I need some more                 6      A. Correct.
     7      clarification of what type of               7      Q. And so I understand that
     8      diversion you're talking about.             8 maybe there might be several examples,
     9 BY MR. PIFKO:                                    9 but I'd like to get your understanding of
    10      Q. Let's make it specific to               10 the types of situations we're talking
    11 the issues in this case.                        11 about here.
    12          So, again, you understand              12           So you talked about sale to
    13 this case concerns opioid products,             13 an unlicensed --
    14 correct?                                        14           MR. NICHOLAS: I'm going
    15      A. Correct.                                15      to -- I want to interpose an
    16      Q. And those are, for the most             16      objection. This is not coaching,
    17 part, Schedule II substances under The          17      but the question is tremendously
    18 Controlled Substances Act, correct?             18      broad.
    19      A. Correct.                                19           MR. PIFKO: You can say
    20      Q. Okay. Can you give me an                20      broad as an objection.
    21 example of what it means to have an             21      "Tremendously" is not necessary.
    22 opioid product diverted, as we were             22      That's -- we're good here.
    23 talking about this under The Controlled         23           MR. NICHOLAS: Okay. Broad.
    24 Substances Act?                                 24      So I would ask you to narrow it.
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     1        MR. NICHOLAS: Object to the              1            MR. PIFKO: Your objection
     2    form.                                        2        is noted.
     3        THE WITNESS: There's a lot                3           MR. NICHOLAS: The witness
     4    of different ways drugs can be                4       has asked you to narrow it.
     5    diverted from our distribution                5 BY MR. PIFKO:
     6    center. Diversion could be if                 6       Q. So you're the person from
     7    we -- if we, not ABC -- but if a              7 AmerisourceBergen who is responsible for
     8    company diverted product to an                8 ensuring compliance with The Controlled
     9    unlicensed location, a                        9 Substances Act requirement to maintain
    10    nonregistered location, that could           10 effective controls against diversion,
    11    be diversion.                                11 correct?
    12 BY MR. PIFKO:                                   12       A. Yes.
    13    Q. Any other --                              13       Q. And so I'd like an example,
    14        MR. NICHOLAS: Object to the              14 a bunch of examples, of what diversion
    15    form.                                        15 is, from you.
    16        THE WITNESS: I'm not going               16           MR. NICHOLAS: Same
    17    to sit here and try to list all              17       objection.
    18    the areas that could be -- where             18           Go ahead.
    19    diversion could occur, because we            19           THE WITNESS: So what we do
    20    could be here for a long time.               20       to prevent diversion is --
    21        And that's why you have                  21 BY MR. PIFKO:
    22    effective controls to prevent                22       Q. I'm not asking what you do
    23    diversion.                                   23 to prevent diversion --
    24 BY MR. PIFKO:                                   24           MR. NICHOLAS: Hold on.
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     1 BY MR. PIFKO:                                   1  and I'll rephrase it. And we'll work
     2     Q. -- just an example of what               2  through it. But I would appreciate your
     3 diversion is.                                    3 testimony in responding to exactly the
     4         MR. NICHOLAS: Hold on.                   4 questions that I ask.
     5     Let's stay on the record.                    5           Do we have an agreement
     6         You can't interrupt him when             6 about that?
     7     he's answering the question.                 7           MR. NICHOLAS: Objection.
     8         MR. PIFKO: He needs to                   8      Because he's been doing that.
     9     answer the question asked. I                 9           THE WITNESS: I'm trying to
    10     don't -- we're not going to have            10      answer your question, but you
    11     speeches where he talks about               11      won't let me give my -- I did
    12     things that aren't asked.                   12      state that there's a lot of
    13         MR. NICHOLAS: You didn't                13      different areas where diversion
    14     hear his answer. He said five               14      could occur.
    15     words, and you interrupted him.             15           And you asked for a list of
    16         MR. PIFKO: He said what we              16      them. I'm going to tell you how
    17     do to prevent diversion. And                17      we prevent diversion and then from
    18     that's not what I asked. I asked            18      that area, anywhere in there, a
    19     what diversion is.                          19      diversion can occur.
    20         MR. NICHOLAS: Those were                20           And that's how I was going
    21     his first five words. You're                21      to answer the question.
    22     going to have to let him answer             22           So we first have physical
    23     the question.                               23      security controls to prevent
    24         You're going to have to                 24      diversion; we have cages and
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     1      let -- you ask a question, the             1       vaults that are required by the
     2      witness is then entitled to say            2       CFR.
     3      what he wants in answering the              3           We have -- we do background
     4      question.                                   4      checks on our employees. We do
     5           MR. PIFKO: He's not                    5      due diligence of our customers to
     6      entitled to say anything he wants,          6      ensure that they're licensed and
     7      he's entitled to answer the                 7      in good standing with the DEA and
     8      question.                                   8      Boards of Pharmacy.
     9           MR. NICHOLAS: No, he's                 9           So there's a whole host of
    10      entitled to say what he wants --           10      things that we do within the -- as
    11      what he believes is answering the          11      a licensed distributor, to prevent
    12      question, and then you can ask             12      diversion.
    13      another question. So don't                 13           If we weren't doing those
    14      interrupt him again, please.               14      things, diversion could occur at
    15 BY MR. PIFKO:                                   15      any one of those steps. So if we
    16      Q. I'm sure that in preparing              16      didn't --
    17 for this deposition, your counsel told          17 BY MR. PIFKO:
    18 you to listen to the question. So I want        18      Q. That's not the question I
    19 you to be very careful and listen to the        19 asked. I asked you to give examples of
    20 questions that I ask, okay?                     20 diversion. You're giving me examples of
    21           Do you understand that?               21 prevention of diversion and that's not
    22      A. Yes.                                    22 the question that was asked.
    23      Q. And so, again, if you don't             23           MR. NICHOLAS: I object.
    24 understand a question, you let me know,         24 BY MR. PIFKO:


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     1     Q. We'll go through it -- we'll             1       the pharmacy.
     2 go through it again.                            2  BY MR. PIFKO:
     3          So let's talk about                     3      Q. Do you understand why we
     4 diversion of a Schedule II controlled            4 want to prevent these diversion
     5 substance at a pharmacy.                         5 activities to occur?
     6          Can you explain what                    6          MR. NICHOLAS: Object to the
     7 potential areas of diversion are in that         7      form. Asked and answered.
     8 context?                                         8          THE WITNESS: When you say
     9          MR. NICHOLAS: Object to the             9      "we," I'm not understanding your
    10     form.                                       10      question of who is the "we."
    11          THE WITNESS: I'm not                   11 BY MR. PIFKO:
    12     responsible for the diversion that          12      Q. We're all Americans here,
    13     occurs within a pharmacy. If a              13 and the law is a law of the American
    14     pharmacy has -- is filling                  14 jurisprudence, and it's requiring that.
    15     prescriptions that are invalid or           15 And so when I say "we," I mean the people
    16     if a pharmacy is selling                    16 of the United States.
    17     prescriptions -- not                        17          So the question is, do you
    18     prescriptions -- or diverting               18 understand why, when enacting that law,
    19     drugs out the back door, you know,          19 we want to prevent diversion in the way
    20     I have no eyes to that.                     20 we just described?
    21 BY MR. PIFKO:                                   21          MR. NICHOLAS: Well, I'll
    22     Q. Okay. But those are some                 22      object to the form of that
    23 examples of a pharmacy filling                  23      question.
    24 prescriptions or selling controlled             24          THE WITNESS: That's why
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     1 substances without a valid prescription,        1       there's DEA regulations, because
     2 that would be a diversion, correct?             2       of the -- to prevent diversion.
     3      A. As it stands -- is my                    3 BY MR. PIFKO:
     4 understanding, yes.                              4      Q. And is diversion a good
     5      Q. And if -- you said if                    5 thing?
     6 there's -- the pills are flowing out the         6          MR. NICHOLAS: Object to the
     7 back door without being sold to anyone or        7      form.
     8 theft, or something like that, that would        8          THE WITNESS: Is diversion a
     9 be diversion, correct?                           9      good thing? I don't think so.
    10      A. That could be a type of                 10 BY MR. PIFKO:
    11 diversion, yes.                                 11      Q. Why not?
    12      Q. What about a prescription               12          MR. NICHOLAS: Objection.
    13 that's written by a doctor who doesn't          13      Object to the form.
    14 have a valid DEA registration, is that --       14          THE WITNESS: In the context
    15 if someone sells pills to somebody who          15      of -- in the context of diversion
    16 has that kind of a prescription, is that        16      from a licensed entity, that's --
    17 diversion?                                      17      that's not good.
    18          MR. NICHOLAS: Object to the            18 BY MR. PIFKO:
    19      form.                                      19      Q. And why not?
    20          THE WITNESS: That would be             20      A. Because it's in violation of
    21      the responsibility of the                  21 the regulation.
    22      pharmacy. I mean, the distributor          22      Q. Is there -- other than it
    23      has no line of sight on the doctor         23 violating the regulation, is there any
    24      who is writing prescriptions to            24 impact of diversion?


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     1          MR. NICHOLAS: Object to the             1     Q. I'm going to give you an
     2      form.                                       2 opportunity to speak.
     3          THE WITNESS: I'm -- I'm not             3         But what I'm hearing -- and
     4      understanding your question.                4 so you correct me if I'm wrong, but what
     5          If there's diversion of the             5 I'm hearing from you is that
     6      product, that's -- as I indicated,          6 AmerisourceBergen Corporation has zero
     7      that's against the regulations.             7 understanding of why we should stop
     8      That's a bad thing.                         8 diversion under The Controlled Substances
     9 BY MR. PIFKO:                                    9 Act?
    10      Q. What I'm trying to                      10         MR. NICHOLAS: I'll object
    11 understand is, these are situations that        11     to the form of the question.
    12 the regulations are designed to prevent         12     That's a false statement.
    13 from occurring, correct?                        13         THE WITNESS: That's not
    14      A. Yes.                                    14     what I'm saying.
    15      Q. And I'm trying to understand            15 BY MR. PIFKO:
    16 why is it that we would have regulations        16     Q. The jury is watching the
    17 to prevent these things from occurring.         17 video and that's what they're seeing,
    18          Do you have an understanding           18 because that's what I'm seeing.
    19 of that?                                        19         MR. NICHOLAS: You don't
    20          MR. NICHOLAS: I'll object              20     need to grandstand with references
    21      to the form.                               21     to the jury --
    22          THE WITNESS: It's the same             22         MR. PIFKO: And I --
    23      reason why we have regulations for         23         MR. NICHOLAS: -- just ask
    24      the approval of the drugs, of how          24     the questions.
                                             Page 59                                            Page 61
     1      you store and manage the drugs and          1 BY MR. PIFKO:
     2      how -- you know, that's the basis           2      Q. I genuinely would like a
     3      of our system.                              3 response. And I'm sure that you can
     4 BY MR. PIFKO:                                    4 provide an answer. I'm trying to get
     5      Q. And what is the reason for               5 that from you.
     6 that?                                            6          MR. NICHOLAS: The witness
     7          MR. NICHOLAS: This has been             7      has been providing an answer.
     8      asked and answered about seven or           8          You can go ahead.
     9      eight times now. I will object.             9          THE WITNESS: And what was
    10          THE WITNESS: The reason is             10      that, I mean, your last statement,
    11      to have effective controls to              11      that AmerisourceBergen has --
    12      prevent diversion. I think I've            12 BY MR. PIFKO:
    13      said that several times.                   13      Q. So I've asked you, why do we
    14 BY MR. PIFKO:                                   14 want to prevent diversion? And what I'm
    15      Q. And why do we want to                   15 hearing back is, that's what the rule is.
    16 prevent diversion?                              16          And I'm trying to
    17          MR. NICHOLAS: Objection.               17 understand, is it AmerisourceBergen's
    18      Asked and answered. You're asking          18 position in this litigation that other
    19      the same question again and again.         19 than following the rules, there's no
    20      And he's answering it again and            20 reason, it has no understanding of why
    21      again.                                     21 we're trying to prevent diversion?
    22          THE WITNESS: What's the                22          MR. NICHOLAS: Object to the
    23      question one more time? I mean --          23      form of the question.
    24 BY MR. PIFKO:                                   24          THE WITNESS: I think I've
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     1     answered the question, and I --            1     Q.     We'll establish --
     2     your understanding or your                 2           MR. NICHOLAS: Hold on.
     3     statement that we don't have any           3 BY MR. PIFKO:
     4     other intent other than following          4      Q. -- we're going to establish
     5     the regulations is incorrect.              5 that later.
     6         I mean, there's rules and              6           MR. NICHOLAS: I'm going to
     7     regulations in place for the               7      object to that and move to strike
     8     proper manufacture, distribution,          8      the mischaracterization and the
     9     dispensing of, in this case,               9      inappropriate characterization
    10     controlled substances.                    10      slander in the testimony.
    11         And that's because these              11           Proceed, but please don't --
    12     items, the opioids, you said, have        12           MR. PIFKO: I --
    13     a potential for abuse. So you             13           MR. NICHOLAS: Please don't
    14     have to have additional                   14      tell him he's making false
    15     requirements to make sure you're          15      statements.
    16     handling them properly.                   16 BY MR. PIFKO:
    17         And each registrant in the            17      Q. I think we were getting
    18     channel has a responsibility. ABC         18 closer there when you said we want to
    19     has our responsibilities. We take         19 prevent diversion because these drugs
    20     them very seriously. We make sure         20 have a potential for high abuse.
    21     we only buy them from                     21           You said that, correct?
    22     manufacturers. We store them              22           MR. NICHOLAS: Object to the
    23     properly. We make sure they're            23      form.
    24     checked, double-checked,                  24           Go ahead.
                                           Page 63                                             Page 65
     1      triple-checked. We make sure              1          THE WITNESS: Again, I
     2      they're stored appropriately in           2      don't -- we, as distributors,
     3      cages and vaults. We vet our              3      don't -- don't identify what drugs
     4      employees. We train our                   4      are -- have high abuse. That's
     5      employees. We vet our customers.          5      done by DEA and FDA.
     6           And we take it very                  6          We have a -- we are a
     7      seriously. So we only distribute          7      distributor, we have our
     8      products to those pharmacies and          8      requirements that we must follow
     9      dispensers and hospitals that are         9      to protect those drugs while
    10      in good standing with DEA and the        10      they're under our control. And we
    11      Board of Pharmacy. So we adhere          11      take that very seriously and we do
    12      to our requirements.                     12      that.
    13           Those drugs aren't diverted         13          I'm not understanding what
    14      while they're under our control.         14      more you want from me, other than
    15      I don't know how much more clearly       15      our regulatory and our obligations
    16       I can state that.                       16      to protect and ensure those drugs
    17 BY MR. PIFKO:                                 17      are not diverted while under our
    18       Q. We'll get into that later.           18      control.
    19 There's a lot of misstatements in your        19 BY MR. PIFKO:
    20 thing, but we don't have to argue about       20      Q. And you want to ensure that
    21 that.                                         21 they're not diverted while they're under
    22           MR. NICHOLAS: I'll object           22 your control because they have a high
    23      to that and --                           23 potential -- whether you said it or
    24 BY MR. PIFKO:                                 24 not -- because they have a high potential


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     1 for abuse under the system; is that             1  have an understanding that you're
     2 correct?                                        2  required to prevent diversion of opioid
     3           MR. NICHOLAS: Object to the            3 products to protect the public health?
     4      form of the question.                       4            MR. NICHOLAS: Objection.
     5           THE WITNESS: Because they              5       The witness is not required to
     6      are a controlled substance and              6       answer yes or no. And he has
     7      because they're a prescription              7       answered the question.
     8      product.                                    8            THE WITNESS: And I -- I --
     9           We treat our prescription              9       I think I stated what our
    10      drugs with the same manner as the          10       obligations are under the
    11      opioids. I mean, we have                   11       requirements.
    12      additional controls, depending             12 BY MR. PIFKO:
    13      upon whether it's Schedule II or           13       Q. I'm not asking what your
    14      III through IV, whether they're in         14 obligations are under the requirements.
    15      a vault or a cage.                         15            I'm asking you if the
    16           But we protect all the                16 company understands that the reason for
    17      product, we prevent diversion from         17 preventing diversion of opioid products
    18      all products.                              18 is, in part, to protect public health?
    19 BY MR. PIFKO:                                   19            MR. NICHOLAS: I'll object
    20      Q. Do you have an understanding            20       to the form of the question. And
    21 that we want to prevent the unlawful            21       add as a basis at this point that
    22 distribution of opioids to protect the          22       I don't believe any of this is
    23 public health?                                  23       covered in any of the topics of
    24           MR. NICHOLAS: Objection.              24       your 30(b)(6) notice.
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     1      Object to the form.                        1           So we're way far afield
     2          THE WITNESS: Can you state             2       here.
     3      that question again, please?                3          THE WITNESS: And I'm not --
     4 BY MR. PIFKO:                                    4      I don't want to comment on what
     5      Q. Do you have an understanding             5      our duty is to public health.
     6 that you're required to prevent diversion        6 BY MR. PIFKO:
     7 of opioid products to protect the public         7      Q. So you have no comment about
     8 health?                                          8 whether you have a duty to protect public
     9          MR. NICHOLAS: Object to the             9 health? Is that your answer?
    10      form.                                      10      A. We have a duty to have
    11          THE WITNESS: I understand              11 effective controls to prevent diversion
    12      that we have an obligation to have         12 as the products are within our
    13      effective controls to prevent              13 distribution channel.
    14      diversion because of our                   14          And we have a duty to ensure
    15      regulatory responsibilities and            15 that we only sell products to licensed
    16      duties. And that's what we                 16 pharmacies and dispensers and hospitals.
    17      implement.                                 17 And that is our duty.
    18          I'm not here to comment                18      Q. In carrying out your duty to
    19      on --                                      19 prevent diversion, does AmerisourceBergen
    20 BY MR. PIFKO:                                   20 consider the impact on the public?
    21      Q. That's not -- you can answer            21          MR. NICHOLAS: Object to the
    22 yes or no. That wasn't an answer to my          22      form of the question. This is not
    23 question.                                       23      in your notice. You're way far
    24          So my question is, do you              24      afield. You've asked this
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     1     question many, many times. And              1  answer to a question that's not being
     2     it's been answered.                         2  asked. Let's start over here.
     3          THE WITNESS: I think I said             3         I'm trying to ask, does
     4     what I feel our duty is, to ensure           4 AmerisourceBergen consider public health
     5     we have proper controls to prevent           5 when it's carrying out its duty to
     6     diversion while the drugs are                6 prevent diversion?
     7     within our control.                          7         MR. NICHOLAS: Object to the
     8 BY MR. PIFKO:                                    8     form of the question. Asked and
     9     Q. You're not answering the                  9     answered. Outside the scope of
    10 question. I didn't ask you what your            10     the notice.
    11 duty was.                                       11         THE WITNESS: We consider
    12          I asked you if, in carrying            12     our responsibilities that we're
    13 out your duty, does AmerisourceBergen           13     obligated to follow to ensure that
    14 consider the impact on the public?              14     products are handled
    15          MR. NICHOLAS: Object to the            15     appropriately, safely and securely
    16     form of the question. He has been           16     within the supply channel under
    17     answering the question a number of          17     our control.
    18     times. I suggest that we move on.           18 BY MR. PIFKO:
    19          THE WITNESS: I think I've              19     Q. Is public health one of
    20     answered the question.                      20 those considerations?
    21 BY MR. PIFKO:                                   21         MR. NICHOLAS: Object to the
    22     Q. You haven't. It's very                   22     form of the question. Come on.
    23 clear, you have not answered the                23         THE WITNESS: It's not
    24 question.                                       24     something that -- our
                                             Page 71                                          Page 73
     1           MR. NICHOLAS: Object.                 1      consideration is how we -- who we
     2      That's just a statement. There's           2      purchase the products from, how we
     3      nothing for you to say right now.           3     store the products and who we
     4           MR. PIFKO: Yeah, there is.             4     distribute those products to.
     5      I've --                                     5          We don't have any effect on
     6           MR. NICHOLAS: There's no               6     the public health through
     7      question pending.                           7     prescriptions that are being
     8           MR. PIFKO: -- I've asked               8     written, the pharmacies that are
     9      the question and we haven't had an          9     filling them. We have no control
    10      answer. I've been trying to ask            10     over that.
    11      it for the last ten minutes.               11          Our responsibility is, in
    12           THE WITNESS: And I've                 12     the supply chain, is to ensure
    13      answered --                                13     that we buy FDA-approved drugs, we
    14           MR. PIFKO: And I still                14     keep them securely and we give
    15      haven't gotten an answer --                15     them to those that dispense those
    16           THE WITNESS: -- the                   16     drugs.
    17      question of what our                       17          And the duty that they have,
    18      responsibilities are.                      18     I'm not going to comment on it.
    19 BY MR. PIFKO:                                   19          And I think I've answered
    20      Q. I'm not asking you -- but               20     what our responsibility is within
    21 that's not what the question is.                21     the supply chain.
    22      A. That's my answer.                       22 BY MR. PIFKO:
    23      Q. You're not answering the                23     Q. And I'm not trying to put
    24 question. You can't just make up an             24 answers in your mouth. I'm trying to


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     1 understand what your answer is.                1       selling to the public.
     2      A. But that's my answer.                  2            So, again, you're asking me
     3      Q. But my question is, is                  3      a question that doesn't apply on
     4 public health one of those                      4      the distribution side, because
     5 considerations? Is it or isn't it?              5      we're selling it --
     6          You just tell me. I'm                  6 BY MR. PIFKO:
     7 not -- you say whatever answer you want         7      Q. I'm not asking about
     8 to say.                                         8 compliance.
     9          MR. NICHOLAS: He's answered            9           MR. NICHOLAS: You're
    10      the question many, many times.            10      interrupting the witness.
    11      You keep asking him the same              11           THE WITNESS: We're buying
    12      question over and over.                   12      it from the manufacturer and we're
    13          MR. PIFKO: He's not                   13      selling it -- we're selling it to
    14      answering the question.                   14      a pharmacy or hospital that has
    15          MR. NICHOLAS: I'll object.            15      obligations of who they dispense
    16          MR. PIFKO: You can object,            16      those to and what prescriptions
    17      but he's not answering.                   17      they fill.
    18          MR. NICHOLAS: I'm                     18           We're in the middle of the
    19      objecting. You're saying he's not         19      chain. The public health, we
    20      answering the question and I'm            20      don't deal with the public health.
    21      saying he is and he says he is.           21 BY MR. PIFKO:
    22          THE WITNESS: I mean, I can            22      Q. So you don't think about the
    23      restate that again.                       23 public health in carrying out your role
    24 BY MR. PIFKO:                                  24 in the distribution chain, correct?

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     1      Q. Well, I'll represent to you,           1            MR. NICHOLAS: Object to the
     2 you haven't said the word "public health"      2       form of the question.
     3 once when you've talked about what              3           THE WITNESS: I've answered
     4 considerations come into                        4      the question several times. I
     5 AmerisourceBergen's factors when they're        5      think I've made it clear what our
     6 complying with the statutes.                    6      role is in the distribution --
     7          So I understand from that              7 BY MR. PIFKO:
     8 that public health is not one of those          8      Q. I didn't ask you what your
     9 considerations. Is my understanding             9 role is. That's not the question.
    10 correct?                                       10 You've got to answer the question.
    11          MR. NICHOLAS: Objection.              11      A. I did answer the question.
    12      Object to the form of the                 12      Q. Do you consider public
    13      question. You're just bullying            13 health when you're carrying out your
    14      the witness.                              14 duties under the statute, under The
    15          THE WITNESS: Our role                 15 Controlled Substances Act?
    16      within the supply chain is from           16           MR. NICHOLAS: Objection.
    17      the manufacturer to                       17      I'm going to suggest that the
    18      the dispenser --                          18      witness does not have to answer
    19 BY MR. PIFKO:                                  19      this question for the millionth
    20      Q. I'm not asking what your               20      time.
    21 role is.                                       21           MR. PIFKO: He's not. This
    22          MR. NICHOLAS: Don't                   22      is a yes-or-no question.
    23      interrupt him, please.                    23           MR. NICHOLAS: No, it's not
    24          THE WITNESS: We're not                24      a yes-or-no question.
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     1          MR. PIFKO: It is.                     1  question. We can -- I guess we can go
     2          MR. NICHOLAS: He does not             2  back-and-forth here for a while, but we
     3      have to answer any question yes or         3 aren't -- we do not distribute to the
     4      no. He's answering the question            4 public. We distribute --
     5      the way he sees fit.                       5      Q. I didn't ask you if you
     6 BY MR. PIFKO:                                   6 distribute to the public.
     7      Q. Do you consider public                  7      A. I know. I'm explaining --
     8 health when you're carrying out your            8           MR. NICHOLAS: You're asking
     9 duties under The Controlled Substances          9      about public health. He's
    10 Act?                                           10      describing the public.
    11          MR. NICHOLAS: Asked and               11           THE WITNESS: I'm
    12      answered. Same objections.                12      explaining -- we don't sell -- the
    13          THE WITNESS: I mean, I                13      public health -- we don't sell to
    14      am --                                     14      the public. We sell to the
    15 BY MR. PIFKO:                                  15      pharmacies who dispense
    16      Q. It's a yes-or-no question.             16      prescriptions written by doctors.
    17      A. It's not a yes-or-no                   17      And we buy from manufacturers.
    18 question.                                      18           We aren't -- we do not
    19      Q. It is.                                 19      distribute to the public health.
    20      A. I've explained it to you,              20      And you're asking me a question --
    21 and we can go through it again, of where       21 BY MR. PIFKO:
    22 we fit in the supply channel.                  22      Q. I didn't ask you if you
    23      Q. I didn't ask where you fit             23 distribute to the public health.
    24 in the supply channel.                         24           When you carry out your
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     1     A.    I know, but --                       1  duties to maintain effective controls,
     2         MR. PIFKO: We're going to              2  I'm asking if you consider the impact of
     3     call Cohen, because this is pure            3 them on public health when you carry out
     4     gamesmanship.                               4 your duties?
     5         You know, sir, I asked him,             5       A. We consider the duties and
     6     is public health a consideration            6 we ensure that we follow those duties.
     7     in your compliance with the                 7 And that's what we consider.
     8     statute? And he won't answer.               8          However you want to phrase
     9     He's telling me what his duties             9 it, we can -- again, we can discuss this
    10     are. I'm not asking. It's a                10 for however long you want to spend on
    11     yes-or-no question.                        11 this. But I think I'm being responsive
    12         MR. NICHOLAS: He's answered            12 to your question. I think I've explained
    13     many, many times.                          13 it clearly. And it's not the answer you
    14         MR. PIFKO: The court is not            14 might want.
    15     going to appreciate answers like           15          But I'm just trying to --
    16     this, okay? It's a                         16       Q. But you're not answering --
    17     plain-and-simple situation.                17 I don't care. You can say yes or no. I
    18 BY MR. PIFKO:                                  18 don't care what your answer is.
    19     Q. I'm asking you, does public             19          You've just -- you've got to
    20 health play into your considerations when      20 say whether public health is a
    21 you're carrying out your duties under The      21 consideration of the company when it's
    22 Controlled Substances Act?                     22 carrying out its duties under The
    23         It's a yes-or-no question.             23 Controlled Substances Act. That's all
    24     A. It's not a yes-or-no                    24 I'm asking you.


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     1     A. And I answered the question.            1           MR. NICHOLAS: I agree time
     2     Q. You didn't.                             2       is being wasted by you.
     3     A. I did answer the question.               3 BY MR. PIFKO:
     4     Q. You never once said that                 4      Q. -- for clarity, the question
     5 AmerisourceBergen considers public              5 being asked to you: In carrying out its
     6 health --                                       6 duties to prevent diversion of Control II
     7     A. And I explained --                       7 substances under the controlled schedules
     8     Q. -- when carrying out its                 8 act -- under The Controlled Substances
     9 duties.                                         9 Act, does AmerisourceBergen consider the
    10     A. I explained our process and             10 impact on the public health?
    11 I explained what we take into                  11          MR. NICHOLAS: Object to the
    12 consideration, where we are within the         12      form. All my same objections.
    13 supply chain.                                  13          THE WITNESS: Again, we
    14     Q. And you agree that public               14      ensure that we have products that
    15 health isn't one of those things?              15      we distribute to the pharmacies
    16          MR. NICHOLAS: That is not             16      that are made available to the
    17     what he said. But you're just              17      pharmacies to be able to dispense
    18     arguing. I mean, why are you               18      to the public.
    19     arguing? Why don't you just ask            19          I'm not sure -- you're
    20     him --                                     20      asking me a question that I've
    21          MR. PIFKO: I'm trying to              21      answered several times, given
    22     get your answer to the question.           22      where we fit in the supply
    23          MR. NICHOLAS: You have a              23      channel, given our
    24     30(b)(6) notice with topics.               24      responsibilities. And as the head
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     1         MR. PIFKO: And he's burning            1       of that department, my job is --
     2    the time. We've burned 20 minutes           2       my -- what we consider is we
     3    here.                                        3      consider that those products are
     4         MR. NICHOLAS: You're                    4      handled appropriately and
     5    burning the time. It's Topics A              5      distributed in an appropriate
     6    through N. You haven't started on            6      manner to the licensed entities
     7    a single topic. And you haven't              7      that we sell to.
     8    asked him -- shown him a single              8          And, you know --
     9    document.                                    9 BY MR. PIFKO:
    10         So who is burning the time?            10      Q. Is the impact --
    11         MR. PIFKO: I'm going to ask            11      A. That's the answer.
    12    the question one more time. And             12      Q. -- on the public health one
    13    if I don't get an answer, we're             13 of those considerations?
    14    going to go and we're going to              14          MR. NICHOLAS: Object to the
    15    call the court and we're going to           15      form.
    16    discuss your evasive answers here.          16          THE WITNESS: The impact on
    17    Because we're not going to be               17      the public health is -- is the
    18    doing this all day. And this                18      whole supply channel.
    19    whole last 20 minutes does not              19          You're asking me a question
    20    count towards my time on this               20      that we don't interface with the
    21    deposition, because you're just             21      public. You're asking me that --
    22    wasting everyone's time here.               22      we interface with the pharmacy and
    23 BY MR. PIFKO:                                  23      the dispenser and we only have our
    24    Q. So again for clarity --                  24      obligations. And our
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     1    understanding and our part in the             1     A. I did. We consider --
     2    supply channel is in that -- in               2     Q. Am I correct that
     3    that realm.                                   3 AmerisourceBergen does not consider the
     4        We aren't in the realm of                 4 public health when carrying out its
     5    the patient that's coming in or               5 duties to prevent diversion under The
     6    the doctor writing the                        6 Controlled Substances Act?
     7    prescription or what                          7          MR. NICHOLAS: Object to the
     8    considerations they take before               8     form.
     9    they write a prescription. We                 9          THE WITNESS: We consider
    10    aren't involved in any of that,              10     the -- we consider that pharmacies
    11    and nor should we be.                        11     have product accessible to fill
    12        We're responsible for making             12     the patients' prescriptions.
    13    sure the product gets from the               13     However you want to interpret
    14    manufacturer to the pharmacy. And            14     that, that's up to you.
    15    we have an obligation, if there's            15          But that is -- the answer
    16    a suspicious order, to report it.            16     is, our consideration is making
    17        We're not -- we don't have               17     sure drugs are available. If that
    18    an obligation to vet doctors and             18     means taking into consideration
    19    understand patient/doctor                    19     the public safety -- or whatever
    20    relationships and all these other            20     the -- what you're hammering on
    21    areas. That's not our role in the            21     here, what is the question?
    22    supply chain.                                22 BY MR. PIFKO:
    23 BY MR. PIFKO:                                   23     Q. Public health.
    24    Q. So you don't consider public              24     A. Public health.
                                             Page 87                                            Page 89
     1 health when you're carrying out your role        1          We make sure we have
     2 in the supply chain; is that correct?            2 products available that are safe and
     3          MR. NICHOLAS: Object to the             3 secure to supply to the pharmacies. If
     4      form of the question. You're                4 that means that's considering public
     5      mischaracterizing --                        5 health, then that's your interpretation.
     6      mischaracterizing testimony.                6          But to say that we don't
     7          THE WITNESS: I think I've               7 have any -- that I haven't answered the
     8      answered the question.                      8 question, I don't think that's correct.
     9 BY MR. PIFKO:                                    9      Q. How about, you're talking
    10      Q. I asked you a question.                 10 about supplying a prescription, a valid
    11          You don't consider public              11 prescription.
    12 health when you're carrying out your role       12          How about, does
    13 in the supply chain; is that correct?           13 AmerisourceBergen consider the public
    14          MR. NICHOLAS: Object to the            14 health when trying to prevent Control II
    15      form of the question. All the              15 substances from getting into illegal
    16      same reasons.                              16 hands?
    17          THE WITNESS: I think I've              17          MR. NICHOLAS: Same
    18      answered -- I've answered the              18      objection.
    19      question. I mean --                        19          THE WITNESS: It's the same
    20 BY MR. PIFKO:                                   20      question. It's the same answer as
    21      Q. Answer that question,                   21      the last question.
    22 please.                                         22 BY MR. PIFKO:
    23      A. I did answer that question.             23      Q. What's your answer?
    24      Q. You have not.                           24          MR. NICHOLAS: Same
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     1      objection.                                1       regulatory responsibilities of who
     2          THE WITNESS: We adhere to             2       we distribute products to.
     3      our regulatory requirements within         3          We can only control what we
     4      the confines of a distributor.             4      can control. We can only control
     5      And whether that's the                     5      who we sell drugs to. And we
     6      consideration of our                       6      consider the impact to ensure that
     7      requirements -- I mean, that's --          7      we only sell to licensed
     8      that is our role. And that is              8      registrants. And that's the
     9      what we consider.                          9      consideration we make and that's
    10          We want to make sure that we          10      our obligation under the
    11      only buy from appropriate sources,        11      regulations.
    12      store correctly, and we only sell         12 BY MR. PIFKO:
    13      to legitimate sources.                    13      Q. Does AmerisourceBergen
    14 BY MR. PIFKO:                                  14 believe it has a responsibility to
    15      Q. We talked about how Schedule           15 protect people in the communities it
    16 II substances have a high potential for        16 serves from falling victim to abuse of
    17 abuse, correct?                                17 Schedule II substances?
    18      A. They are Schedule II drugs,            18          MR. NICHOLAS: Object to the
    19 yes.                                           19      form. It is not an appropriate
    20      Q. And the statute says that              20      question in this deposition. It's
    21 Schedule II substances have a high             21      outside the scope of the 30(b)(6)
    22 potential for abuse, correct?                  22      notice.
    23      A. That's why they're Schedule            23          THE WITNESS:
    24 II, correct.                                   24      AmerisourceBergen has its
                                            Page 91                                           Page 93
     1      Q. Does AmerisourceBergen                 1       obligation to ensure that -- I
     2 consider the impact on the communities it      2       mean, you're asking the same
     3 serves if these Schedule II substances          3      question, and the answer is the
     4 get into the wrong hands?                       4      same.
     5          MR. NICHOLAS: Object to the            5           We have regulatory
     6      form. Outside the scope of the             6      responsibilities that are imposed
     7      30(b)(6) notice as well.                   7      on the distributor that we must
     8          THE WITNESS: Can you                   8      adhere to in order to prevent
     9      restate your question?                     9      diversion, which we do diligently.
    10          MR. PIFKO: Can you read               10      And we ensure that the customers
    11      back the question, please?                11      that we sell to are appropriately
    12             - - -                              12      licensed and that -- while those
    13          (Whereupon, the court                 13      drugs are under our control.
    14      reporter read the following part          14           That's what we take into
    15      of the record:                            15      consideration and that's what we
    16          "Question: Does                       16      do diligently.
    17      AmerisourceBergen consider the            17 BY MR. PIFKO:
    18      impact on the communities it              18      Q. So does the company consider
    19      serves if these Schedule II               19 the adverse impacts of substances that it
    20      substances get into the wrong             20 sells in the communities that it sells?
    21      hands?")                                  21      A. Our duty is not to determine
    22            - - -                               22 the types of the products. We only sell
    23          THE WITNESS: Again, we                23 FDA-approved drugs. We don't approve the
    24      consider who -- we consider our           24 drugs. We don't schedule the drugs. We


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     1 don't put them into classifications. We          1 opioid products at issue in this
     2 don't prescribe the drugs. And we don't          2 litigation can be dangerous?
     3 dispense the drugs.                              3          MR. NICHOLAS: Object to the
     4          All we do is make sure we               4      form.
     5 buy the drugs that are ordered from our          5          THE WITNESS: They're
     6 licensed customers, FDA and DEA-approved         6      Schedule -- by Schedule II, they
     7 drugs, and we distribute to them and make        7      are -- that, by itself, identifies
     8 sure that they have the appropriate              8      them as such.
     9 schedules.                                       9 BY MR. PIFKO:
    10          We have nothing to do with             10      Q. And because they're highly
    11 the approval of drugs. We have --               11 addictive, right?
    12 nowhere in our scope do we have that            12          MR. NICHOLAS: Object to the
    13 responsibility, nor should we.                  13      form. This is outside the scope
    14          MR. PIFKO: We're going to              14      of the 30(b)(6).
    15      take a break.                              15          Are you now -- I do want to
    16          VIDEO TECHNICIAN: Going off            16      start making it very clear on the
    17      the record. The time is 10:20              17      record when we're on -- in
    18      a.m.                                       18      30(b)(6) and when we're not. I
    19             - - -                               19      understand he's also testifying as
    20          (Whereupon, a brief recess             20      an individual.
    21      was taken.)                                21          Can we be clear that this
    22            - - -                                22      line of questioning, for example,
    23          VIDEO TECHNICIAN: We're                23      is outside the scope of the
    24      back on record. The time is 10:35          24      30(b)(6) notice?
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     1      a.m.                                        1          MR. PIFKO: You can object
     2 BY MR. PIFKO:                                    2     to scope, and we can fight about
     3      Q. One little housekeeping                  3     it later. I don't think we're
     4 thing we forgot to talk about, although          4     going to agree on the record about
     5 I'm sure your counsel discussed it with          5     what's part of it or not.
     6 you before your -- when you were                 6          MR. NICHOLAS: Well, okay.
     7 preparing for the deposition.                    7     Then I'll just have to keep saying
     8          But one of the rules of the             8     the objection all the time.
     9 jurisdiction where we're in is that              9          Object to the scope.
    10 you're not allowed to confer about the          10          Would you mind if I ask
    11 substance of your testimony during our          11     you --
    12 breaks.                                         12          MR. PIFKO: Let's just ask
    13          Do you understand that?                13     the question over again.
    14      A. Yes.                                    14          MR. NICHOLAS: -- can you
    15      Q. During the last break, did              15     identify the section?
    16 you confer with your counsel about the          16          MR. PIFKO: I'm not going to
    17 substance of your testimony?                    17     get into that right now.
    18      A. No.                                     18 BY MR. PIFKO:
    19      Q. Do we have an agreement that            19     Q.      I'm going to ask you the
    20 going forward, you're not going to be           20 question again, sir, so we have a clear
    21 doing that during any break?                    21 record.
    22      A. Yes.                                    22          MR. NICHOLAS: Well, just
    23      Q. Okay. Great.                            23     since we're making a clear record,
    24          Do you understand that the             24     for the record, I would ask that
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     1      you identify, if you consider this          1      is.
     2      to be within the 30(b)(6) notice,           2 BY MR. PIFKO:
     3      tell us which topic we're within.           3      Q. We agree that they're
     4           MR. PIFKO: Understood. We              4 Schedule II?
     5      can meet and confer about that              5      A. Correct.
     6      after the deposition.                       6      Q. And we agree that a Schedule
     7           MR. NICHOLAS: After the                7 II product has been classified by the
     8      deposition is too late. The                 8 United States government as highly
     9      deposition will be over. But,               9 addictive, agreed?
    10      okay. I've made my request for             10      A. High potential of abuse. I
    11      the record.                                11 don't know -- you're saying "addictive."
    12 BY MR. PIFKO:                                   12 I know the regulatory requirement is
    13      Q. So sorry. Let's start over              13 abuse.
    14 with that.                                      14      Q. Do you have an understanding
    15           You testified that the                15 that a product that has a high potential
    16 controlled substances at issue in this          16 for abuse can be dangerous to people
    17 litigation, the opioid products, are --         17 taking it?
    18 can be potentially dangerous because            18          MR. NICHOLAS: Object to the
    19 they're Schedule II and they are highly         19      form. Outside the scope of the
    20 addictive, correct?                             20      notice.
    21           MR. NICHOLAS: Object to the           21          THE WITNESS: I'm not -- I'm
    22      form.                                      22      not a medical doctor. I can't
    23           Go ahead.                             23      comment on that.
    24           THE WITNESS: They are                 24 BY MR. PIFKO:

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     1      Schedule II because there's a               1      Q. So you have no
     2      potential for abuse.                        2 understanding?
     3 BY MR. PIFKO:                                    3          MR. NICHOLAS: Object to the
     4      Q. And because there's a                    4      form. Outside the scope.
     5 potential for abuse, that makes --               5          THE WITNESS: I have no
     6 there's a potential danger associated            6      understanding of -- that they have
     7 with them, correct?                              7      a high abuse potential, yes, I do
     8          MR. NICHOLAS: Object to the             8      have an understanding of that. If
     9      form. Outside the scope of the              9      that correlates to dangerous, I
    10      30(b)(6).                                  10      mean, if that's your correlation.
    11          THE WITNESS: It's their                11 BY MR. PIFKO:
    12      potential for abuse that makes             12      Q. I'm not making -- I'm just
    13      them a Schedule II and they have           13 asking for your answer. You can give me
    14      additional security requirements.          14 whatever answer you'd like, as far as --
    15 BY MR. PIFKO:                                   15 as long as you answer the question.
    16      Q. So you don't have any                   16          But my question just was, do
    17 understanding about -- beyond the fact          17 you have an understanding that if --
    18 that they're Schedule II, about what that       18 because the pills have a high potential
    19 means for these products?                       19 for abuse, that they could cause
    20          MR. NICHOLAS: Object to the            20 potential danger to people?
    21      form. Outside the scope of the             21          MR. NICHOLAS: Objection.
    22      30(b)(6).                                  22      Outside the scope.
    23          THE WITNESS: I'm not                   23          THE WITNESS: I don't know
    24      understanding what your question           24      that for sure.
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     1 BY MR. PIFKO:                                    1     Outside the scope.
     2      Q. Do you have an understanding             2          THE WITNESS: It calls for a
     3 that a drug that has a high potential for        3     conclusion. I don't know that.
     4 abuse could cause death to people who            4 BY MR. PIFKO:
     5 consume that drug?                               5     Q. You don't know either way?
     6          MR. NICHOLAS: Objection.                6     A. I don't know --
     7      Outside the scope.                          7     Q. If AmerisourceBergen does
     8          THE WITNESS: I don't know.              8 not maintain effective controls to
     9      I don't know.                               9 prevent diversion of Schedule II
    10          I mean, drugs -- people can            10 substances, they can be diverted,
    11      overdose on drugs, and I'm aware           11 correct?
    12      of that, yes.                              12          MR. NICHOLAS: Object to the
    13 BY MR. PIFKO:                                   13     form. Outside the scope.
    14      Q. Do you have an understanding            14          THE WITNESS: Again, if we
    15 that someone is more likely to suffer           15     don't adhere to our effective
    16 harm from a Schedule II drug than a drug        16     controls to prevent diversion,
    17 that's not a Schedule II drug?                  17     yes, diversion could occur.
    18          MR. NICHOLAS: Objection.               18 BY MR. PIFKO:
    19      Outside the scope.                         19     Q. Let's discuss some of the
    20          THE WITNESS: I don't know              20 company's policies and procedures with
    21      that.                                      21 respect to diversion.
    22 BY MR. PIFKO:                                   22          Before we do that, do you
    23      Q. Let's go back to our duties             23 agree that the laws and regulations with
    24 to prevent diversion.                           24 respect to preventing diversion remain --

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     1          You recall discussing that?             1 have remained unchanged for the last 45
     2          MR. NICHOLAS: Object to the             2 years?
     3      form.                                       3          MR. NICHOLAS: Object to the
     4          THE WITNESS: Yes.                       4      form. Outside -- definitely
     5 BY MR. PIFKO:                                    5      outside the scope.
     6      Q. You agree that                           6          THE WITNESS: The CSA was
     7 AmerisourceBergen has a duty to prevent          7      passed in 1970 and in -- the
     8 diversion of controlled -- I keep messing        8      federal regulations that regulate
     9 that up.                                         9      our responsibilities have not
    10          You agree that                         10      changed.
    11 AmerisourceBergen has a duty to prevent         11 BY MR. PIFKO:
    12 diversion of Schedule II substances?            12      Q. So it's your understanding
    13          MR. NICHOLAS: Object to the            13 that there haven't been changes with
    14      form. I'm not sure it's within             14 respect to the duties to prevent
    15      the scope either. But I                    15 diversion since the passage of the
    16      definitely object to the form.             16 statute?
    17          THE WITNESS: We have a duty            17          MR. NICHOLAS: Object to the
    18      to -- we have an obligation to             18      form. Outside the scope. You're
    19      prevent diversion while the drugs          19      asking him a legal question.
    20      are under our control.                     20          THE WITNESS: The
    21 BY MR. PIFKO:                                   21      regulatory -- the regulations have
    22      Q. And if you don't carry out              22      not changed.
    23 that duty, diversion can occur, correct?        23 BY MR. PIFKO:
    24          MR. NICHOLAS: Objection.               24      Q. So AmerisourceBergen has the
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     1 same duty under the regulations today as         1      Q. Sorry, I'm not quite as
     2 it did in 1990, correct?                         2 organized as I want to be.
     3           MR. NICHOLAS: Object to the            3          From the time you started
     4      form. You're asking him a legal             4 with AmerisourceBergen -- let's back up.
     5      question. Outside the scope.                5          You started working for
     6           THE WITNESS: We have a                 6 AmerisourceBergen in the 1990s?
     7      requirement to have effective               7      A. January, correct.
     8      controls to prevent diversion.              8      Q. Do you remember the exact
     9 BY MR. PIFKO:                                    9 date and year?
    10      Q. And that requirement hasn't             10      A. January 2nd, 1990.
    11 changed since the passage of The                11      Q. Okay. From the time that
    12 Controlled Substances Act, correct?             12 you started with AmerisourceBergen until
    13           MR. NICHOLAS: Object to the           13 about 1998, AmerisourceBergen's
    14      form. Calls for a legal                    14 monitoring protocol was that every order
    15      conclusion. Outside the scope.             15 that exceeded the threshold was deemed to
    16           THE WITNESS: I'm not aware            16 be suspicious, correct?
    17      if the regulations have changed.           17          MR. NICHOLAS: Object to the
    18 BY MR. PIFKO:                                   18      form. Outside the scope.
    19      Q. You're familiar with the --             19          THE WITNESS: So when I
    20 AmerisourceBergen's practices and               20      started with the company, the
    21 procedures under The Controlled                 21      process was a two-step process.
    22 Substances Act going back to the '80s,          22      It was an excessive order report
    23 correct?                                        23      that was produced monthly to send
    24      A. The '90s.                               24      to DEA, and then we also had a
                                            Page 107                                          Page 109
     1     Q.    Okay. The '90s.                        1      manual process at the distribution
     2          And you testified about the             2      centers where the order fillers
     3 company's practices with respect to              3      would identify suspicious orders
     4 preventing diversion dating back to the          4      and report those.
     5 '90s in connection with the West Virginia        5 BY MR. PIFKO:
     6 litigation, correct?                             6      Q. And the orders were reported
     7          MR. NICHOLAS: Objection.                7 after they were shipped, correct?
     8      Outside the scope.                          8          MR. NICHOLAS: Object to the
     9          Go ahead.                               9      form. Outside the scope.
    10          THE WITNESS: I don't                   10          THE WITNESS: Correct.
    11      remember, but --                           11 BY MR. PIFKO:
    12 BY MR. PIFKO:                                   12      Q. Prior to 2007,
    13      Q. You testified in 2006,                  13 AmerisourceBergen's system shipped all
    14 correct?                                        14 orders at night and reported any orders
    15      A. 2006?                                   15 that it deemed to be suspicious the next
    16      Q. '16, sorry.                             16 day, correct?
    17      A. Yes.                                    17          MR. NICHOLAS: Objection.
    18      Q. In preparing for this                   18      Outside the scope.
    19 deposition, did you review your                 19          THE WITNESS: That was the
    20 transcript of that proceeding?                  20      program that we developed in
    21      A. I looked at it, yes.                    21      conjunction with DEA over a
    22      Q. When was the last time you              22      two-year process, that we tested a
    23 looked at it?                                   23      new -- a process of reporting
    24      A. A couple of weeks ago.                  24      suspicious orders that we
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     1      developed with DEA and then worked         1       to identify an order of interest
     2      with them for two years testing            2       for further review.
     3      the program until they approved            3 BY MR. PIFKO:
     4      the program in '98.                        4       Q. And so the threshold is the
     5 BY MR. PIFKO:                                   5 first step in the suspicious order
     6      Q. I'm not asking for                      6 monitoring program, correct?
     7 approvals, or I didn't ask you the              7           MR. NICHOLAS: Object to the
     8 formulation for the policy. I just asked        8       form.
     9 if that was a correct statement about           9           THE WITNESS: It is a step.
    10 what the practice was.                         10 BY MR. PIFKO:
    11          So I'll just -- let's get a           11       Q. Is there a step before the
    12 clear answer to the question.                  12 threshold?
    13      A. That was the practice that             13       A. We train our employees at
    14 we did in conjunction with DEA's               14 the distribution centers also to be aware
    15 guidance.                                      15 of, and train them on suspicious orders.
    16      Q. Just so we have a clear                16 And if they identify a suspicious order,
    17 record, the practice was to ship the           17 they're to report it.
    18 orders at night, and then the next day         18       Q. The threshold is a key
    19 any orders that were identified as             19 factor that's used to identify
    20 suspicious were then reported to the DEA;      20 potentially suspicious orders, correct?
    21 is that correct?                               21           MR. NICHOLAS: Object to the
    22      A. Correct.                               22       form.
    23      Q. Are you familiar with the              23           THE WITNESS: It's an
    24 term "threshold"?                              24       identifier that we use
                                           Page 111                                           Page 113
     1      A. Yes.                                    1     systematically to trigger a
     2      Q. That's an attribute of your             2     potential order of interest.
     3 suspicious order monitoring system,
     4 correct?
     5          MR. NICHOLAS: Object to the
     6      form.
     7          THE WITNESS: You need to
     8      put it into context of time,
     9      because the program has been
    10      enhanced over the years.
    11 BY MR. PIFKO:
    12      Q. Well, for the time period
    13 for which you're here to testify, which
    14 ends in 2014, at all times there's been
    15 some threshold requirement in the system,
    16 correct?
    17      A. Correct.
    18      Q. Can you tell me what a
    19 threshold is?
    20          MR. NICHOLAS: Object to the
    21      form.
    22          THE WITNESS: A threshold is
    23      the -- is a trigger that we have
    24      put into the program to create --
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                                                       1  BY MR. PIFKO:
                                                       2       Q. Let's talk about the
                                                        3 pre-2007 period and thresholds within
                                                        4 that period.
                                                        5          Do you have an understanding
                                                        6 of how AmerisourceBergen calculated
                                                        7 thresholds before 2007?
                                                        8          MR. NICHOLAS: Objection.
                                                        9      Outside the scope.
                                                       10          These are being answered in
                                                       11      his individual capacity.
                                                       12          THE WITNESS: In what time
                                                       13      period?
                                                       14 BY MR. PIFKO:
                                                       15      Q. Well, let's start, you
                                                       16 testified in West Virginia that there
                                                       17 were certain changes made with respect to
    18 BY MR. PIFKO:                                   18 the calculation of thresholds from the
    19       Q. And the other way an order             19 1990s to 2007, correct?
    20 can be identified as an order of interest       20          MR. NICHOLAS: Same
    21 is if it exceeds a threshold that's             21      objection.
    22 defined by AmerisourceBergen?                   22          THE WITNESS: There was a
    23           MR. NICHOLAS: Object to the           23      change in '98.
    24       form.                                     24 BY MR. PIFKO:

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     1          THE WITNESS: There's a                 1      Q. Okay. Before 1998, what was
     2      threshold that identifies a                2  the method of calculating a threshold at
     3      potentially -- an order of                  3 AmerisourceBergen?
     4      interest, not a suspicious order.           4         MR. NICHOLAS: Same
     5      And that is -- that is determined           5     objection. Outside the scope of
     6      by a threshold.                             6     the 30(b)(6).
     7 BY MR. PIFKO:                                    7         THE WITNESS: The method of
     8      Q. Are there any other ways an              8     calculating the threshold prior to
     9 order can be identified as an order of           9     that was that you would -- all
    10 interest?                                       10     pharmacies would be in one
    11          MR. NICHOLAS: Object to the            11     category, hospitals would be in
    12      form.                                      12     another category. You take all
    13          I really would appreciate,             13     the pharmacies within that
    14      for the record, some clarity as to         14     category and divide by the number
    15      the time frame that we're talking          15     of pharmacies to come up with an
    16      about.                                     16     average volume for the month per
    17          Are you still unwilling to             17     drug category. And then there was
    18      do that? It seems very -- it               18     a multiplier of three. Any order
    19      seems very plain vanilla.                  19     that was over the threshold amount
    20          MR. PIFKO: We're talking               20     would be produced an excessive
    21      about the time period for which            21     order report.
    22      you were designated, sir.                  22 BY MR. PIFKO:
    23          THE WITNESS: Not that I am             23     Q. But it would still be
    24      aware of.                                  24 shipped?


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     1      A. The product?                           1 that two-year period.
     2      Q. Yes.                                   2          We continued to make changes
     3      A. Yes.                                   3 in the program, and that was the final
     4      Q. After 1998, what was the               4 calculation that we came up with.
     5 practice with respect to calculating           5      Q. And that calculation was
     6 thresholds?                                    6 used from 1998 to 2007?
     7          MR. NICHOLAS: Same                    7      A. Yes.
     8      objection. Outside the scope.             8      Q. Something happened in 2007,
     9          THE WITNESS: So in 1996, we           9 correct?
    10      worked with DEA, for two years,          10      A. Yes.
    11      on -- in order to provide DEA with       11      Q. You had an enforcement
    12      more -- we feel, more accurate           12 action brought against you by the DEA,
    13      information, that we worked on a         13 correct?
    14      project to where we would identify       14      A. Correct.
    15      a customer based upon its own            15      Q. The three times multiplier,
    16      purchase history versus all              16 where does that come from? Scratch that
    17      pharmacies in one big bucket.            17 question for a second.
    18          And then we calculated a             18          You agree that throughout
    19      rolling four-month average of that       19 the time period we just discussed, from
    20      pharmacy's purchases. And then           20 the 1990s to 2007, there was always a
    21      created a multiplier of three to         21 three times multiplier used in connection
    22      identify a trigger that would            22 with calculating the threshold, correct?
    23      identify a suspicious order.             23      A. So for -- so from 1990 to
    24 BY MR. PIFKO:                                 24 '98, the excessive report for ARCOS

                                          Page 123                                           Page 125
     1      Q. That practice was in place             1 items, which would be your Schedule II
     2 from 1998 to when?                             2 and reportable IIIs had a three times
     3          MR. NICHOLAS: Object to               3 multiplier. Non-ARCOS items, I think it
     4      the -- objection. Scope. Same             4 might have been six; it might have been a
     5      objection as I've been stating.           5 higher multiplier.
     6          THE WITNESS: So that -- so            6          Our program that we
     7      once we got approval from DEA to          7 implemented in '98 set them all at three.
     8      enact that program nationally, we         8     Q. And do you know what the
     9      tested it for -- with one DEA             9 methodology was in calculating that three
    10      office and then several, and then        10 times multiplier?
    11      Washington, D.C. approved it for         11          MR. NICHOLAS: Object to the
    12      national use throughout in 1998.         12     form. And same objection, as to
    13          And that was the practice            13     outside -- as to the scope here of
    14      until 2007.                              14     all these questions.
    15 BY MR. PIFKO:                                 15          THE WITNESS: So the three
    16      Q. So to be clear, from 2007 --          16     times multiplier had been in place
    17 I'm sorry, from 1998 to 2007, the             17     when I came on board in 1990. And
    18 practice was to take a specific               18     that was the program that we were
    19 customer's order history over the prior       19     submitting and working with DEA in
    20 four-month period and then average the        20     1990 all the way up to '96.
    21 order history and multiply that by three,     21          And then when we started to
    22 and that would be its threshold, correct?     22     work on the new program in
    23      A. That was the agreed-upon              23     conjunction with DEA and testing
    24 process through our testing with DEA over     24     it and refining it for that
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     1     two-year period, the three times          1           And then in '96, when we
     2     multiplier was the multiplier that        2       started working with DEA, we came
     3     we -- that, in conjunction with            3      up and we mutually decided on a
     4     the DEA, decided to use.                   4      three times multiplier.
     5 BY MR. PIFKO:                                  5          And then the Suspicious
     6     Q. So you don't know where it              6      Order Task Force was assembled
     7 came from, because it was already in           7      and, again, through their meetings
     8 place when you started at the company?         8      with enforcement agencies and
     9         MR. NICHOLAS: Object to the            9      regulators and industry, they came
    10     form. Outside the scope.                  10      up with a process to identify
    11         THE WITNESS: It was --                11      systematic -- a systematic
    12     correct, it was in place.                 12      approach for reporting suspicious
    13         And then in '96, '7, '8,              13      orders, and that was a three times
    14     right in that time period, the            14      multiplier as well.
    15     Methamphetamine Control Act was           15 BY MR. PIFKO:
    16     passed. And part of that act              16      Q. This three times multiplier
    17     required the -- it didn't require,        17 that you relied on through this task
    18     it mandated a Suspicious Order            18 force, was there any written
    19     Task Force to come up with a              19 documentation establishing that?
    20     process to identify suspicious            20      A. It was in the chemical
    21     orders and report it to DEA.              21 handling handbook published by the DEA.
    22         I participated on that task           22      Q. And that's a document that
    23     force, and that was what came up.         23 you relied on for the three times
    24     And it was with enforcement,              24 multiplier?

                                          Page 127                                          Page 129
     1      state, federal and industry. And         1      A.    That was --
     2      we met quarterly. And the                2           MR. NICHOLAS: Same
     3      Suspicious Order Task Force               3      objection. Objections to the form
     4      mandated by the Methamphetamine           4      and outside the scope.
     5      Control Act came up with the same         5          Go ahead.
     6      process with the three times              6          THE WITNESS: Again, what
     7      multiplier. And that's the same           7      time frame are you talking about?
     8      one we used, which kind of is in          8          When we worked with DEA, we
     9      line with what we used in '90,            9      relied on our negotiations with
    10      what we used in '98, and what we         10      DEA. And then in 2007, when we
    11      implemented in 2007.                     11      were implementing a new enhanced
    12 BY MR. PIFKO:                                 12      program, again, in conjunction
    13      Q. And so your three times               13      with DEA, we came up with the
    14 multiplier came from being involved with      14      three times multiplier. Referring
    15 the task force on -- what did you say?        15      back to the handling manual that
    16 The Methamphetamine Act?                      16      was published by DEA, has --
    17      A. The three time --                     17      identifying a suspicious order
    18          MR. NICHOLAS: Object to the          18      systematically, it was three times
    19      form. Scope.                             19      multiplier.
    20          Go ahead.                            20 BY MR. PIFKO:
    21          THE WITNESS: So the three            21      Q. So what I'm asking you is,
    22      times multiplier was already in          22 the three times multiplier that you're
    23      place in 1990, and those were the        23 relying on with respect to the handling
    24      reports we were submitting to DEA.       24 manual that was published by DEA,


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     1 that's -- what that's called?                   1      Q. I'll represent to you that
     2      A. Your question is what the               2 this is the 2001 version.
     3 manual is called? Chemical handling             3      A. Okay.
     4 guide, I believe. I can't -- I don't            4      Q. Do you believe you've seen
     5 know the exact name. It was also on the         5 this before?
     6 DEA's website for some time.                    6      A. I've seen -- I don't know if
     7      Q. Did you produce a copy of               7 I've seen this version, but I've seen it.
     8 that guide, to your knowledge?                  8      Q. And when you refer to the
     9           MR. NICHOLAS: Who are you             9 Chemical Handler's Manual, this is what
    10      talking about? Are you talking            10 you're referring to?
    11      about --                                  11      A. Yes. And, again, it was
    12           MR. PIFKO: The company.              12 also on the website as well.
    13           MR. NICHOLAS: -- in this             13      Q. When you talk about the
    14      litigation?                               14 three times multiplier -- there's page
    15           MR. PIFKO: Yes.                      15 numbers on the bottom here, Page 43.
    16           THE WITNESS: In this --              16 They are side-by-side columns, Appendix
    17           MR. NICHOLAS: Objection.             17 E-3.
    18 BY MR. PIFKO:                                  18           Can you turn to that?
    19      Q. If you know.                           19      A. Uh-huh.
    20      A. I don't know.                          20      Q. Are you there?
    21           MR. NICHOLAS: For the                21      A. Yes.
    22      record, since the implication is          22      Q. On Page 43, the page on the
    23      that maybe we were supposed to            23 right, you see there it says, Suspicious
    24      produce the document or                   24 order reporting system for use in

                                           Page 131                                                Page 133
     1     something --                                1 automated tracking systems.
     2          MR. PIFKO: No accusations.             2          Do you see that?
     3     Just asking.                                3      A. What page are you on?
     4          MR. NICHOLAS: Good. It's a             4      Q. It's 43 on the very bottom.
     5     DEA document prior to 2006.                 5      A. Okay.
     6            - - -                                6      Q. Are you there?
     7          (Whereupon, Amerisource                7      A. Yes.
     8     Bergen-Zimmerman Exhibit-4, 2001            8      Q. Appendix E-3.
     9     Chemical Handler's Notebook, was            9          Do you see that at the top
    10     marked for identification.)                10 of that page? Is that the page you're
    11           - - -                                11 looking at?
    12 BY MR. PIFKO:                                  12      A. Yes.
    13     Q. I'm handing you what's                  13      Q. And it says, Suspicious
    14 marked as Exhibit-4.                           14 order reporting system for use in
    15     A. Thank you.                              15 automated tracking systems.
    16     Q. Do you have Exhibit-4 in                16          Do you see that?
    17 front of you?                                  17      A. Yes.
    18     A. Uh-huh.                                 18      Q. Okay. Is this where the
    19     Q. Are you reviewing Exhibit-4?            19 three times multiplier that you were
    20     A. Yes.                                    20 talking about comes from?
    21     Q. Have you seen this document             21      A. This is -- yeah, the basis
    22 before?                                        22 of it.
    23     A. I've seen a version of it.              23      Q. And it says there -- there's
    24 I'm not sure what version this is.             24 terms and definitions and then it's got


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     1 these numbers, 1, 2, 3, 4. And then it          1      A. There was a designee of one
     2 has, Note.                                      2  person. It wasn't me. I wasn't the
     3          Do you see that?                        3 one-person designee.
     4      A. Yes.                                     4     Q. Do you know who that was?
     5      Q. And it says, Factor equals               5     A. I don't.
     6 3.                                               6     Q. Do you know what company
     7          Do you see that?                        7 they worked for?
     8      A. Yes.                                     8     A. I want to say it was
     9      Q. Is that what you were                    9 Cardinal or McKesson, but I'm not sure.
    10 talking about?                                  10 It wasn't ABC.
    11      A. Yes.                                    11     Q. Did you work with anyone
    12      Q. And you worked with the task            12 from Cardinal or McKesson -- so I asked
    13 force that was responsible for coming up        13 you who the designated person was, and
    14 with this manual?                               14 you said maybe it was Cardinal or
    15      A. I participated on it. I                 15 McKesson.
    16 wasn't the -- the industry could have one       16          Setting aside who the
    17 member, but there was a group of people         17 designated person was, when you were
    18 within the industry.                            18 involved with this task force, did you
    19      Q. Did you help in drafting any            19 work with anyone from McKesson or
    20 of the language that was in the manual?         20 Cardinal on the task force?
    21      A. I don't recall.                         21          MR. NICHOLAS: Object to the
    22      Q. Do you recall if the DEA                22     form. Scope.
    23 asked you for comment on the final              23          Go ahead.
    24 version of the manual?                          24          THE WITNESS: I can't
                                            Page 135                                         Page 137
     1      A. I don't.                                1      remember who specifically was
     2      Q. Your work on this task force            2      involved.
     3 was through the Healthcare Distribution          3 BY MR. PIFKO:
     4 Alliance, which I guess was under a              4     Q. But you generally feel like
     5 different name at that time?                     5 maybe McKesson or Cardinal was involved?
     6      A. They had the -- yeah, there              6         MR. NICHOLAS: Object to the
     7 was -- I think there was one member, one         7     form.
     8 slot on the task force for the                   8         THE WITNESS: Again, I don't
     9 wholesaler. It was through the HDMA at           9     know exactly who was involved. I
    10 the time, I believe it was called.              10     wouldn't be comfortable saying who
    11      Q. And so the DEA said that the            11     exactly that would be.
    12 HDMA could have a member participate on         12 BY MR. PIFKO:
    13 the task force, and you were the selected       13     Q. In 2007, there was a DEA
    14 member; is that correct?                        14 enforcement action against
    15      A. No.                                     15 AmerisourceBergen, correct?
    16          MR. NICHOLAS: Objection to             16     A. Yes.
    17      the form.                                  17            - - -
    18          Go ahead.                              18         (Whereupon, Amerisource
    19          THE WITNESS: No. No, I was             19     Bergen-Zimmerman Exhibit-5,
    20      not. I said I participated. The            20     ABDCMDL 00279854-54, was marked
    21      group --                                   21     for identification.)
    22 BY MR. PIFKO:                                   22           - - -
    23      Q. There was someone else who              23 BY MR. PIFKO:
    24 was the HDMA member?                            24     Q. I'm handing you what is
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     1 marked as Exhibit-5. This is a document        1          And they also wanted us to
     2 Bates labeled ABDCMDL 00279854 to 65.          2      modify our suspicious order
     3          Have you seen this document           3      monitoring program to stop orders
     4 before?                                        4      that we believed -- stop orders
     5      A. Yes.                                   5      that could possibly be suspicious
     6      Q. Can you tell me what this              6      and then to any suspicious -- any
     7 is?                                            7      order we deem suspicious should
     8      A. This is our settlement and             8      not be shipped.
     9 release agreement with the DEA for             9 BY MR. PIFKO:
    10 Orlando distribution center.                  10      Q. Did AmerisourceBergen agree
    11      Q. So as a result of the                 11 to do that?
    12 enforcement action with the DEA, this was     12      A. We modified our program per
    13 the agreement that was reached between        13 this agreement, correct.
    14 AmerisourceBergen and the DEA, correct?       14      Q. Can we refer to this
    15          MR. NICHOLAS: Object to the          15 agreement as the shipping requirement?
    16      form.                                    16          MR. NICHOLAS: Object to the
    17          THE WITNESS: This is the             17      form.
    18      agreement, yes, that was made            18 BY MR. PIFKO:
    19      after the order to show cause.           19      Q. If I say "shipping
    20 BY MR. PIFKO:                                 20 requirement," can we have an
    21      Q. Was there any money paid,             21 understanding that I'm referring to the
    22 under this agreement, from                    22 idea that you're not supposed to ship an
    23 AmerisourceBergen to the United States        23 order that's deemed to be suspicious?
    24 government?                                   24          MR. NICHOLAS: I'll object
                                          Page 139                                           Page 141
     1     A. No.                                     1      to the form.
     2     Q. But as a result of this                 2          I want to understand, are
     3 agreement, AmerisourceBergen changed its       3      you asking the witness if
     4 suspicious order monitoring program,           4      heretofore we can refer to this
     5 correct?                                       5      agreement as the shipping
     6          MR. NICHOLAS: Object to the           6      requirement? Because if so, I'd
     7     form.                                      7      object to that.
     8          Go ahead.                             8 BY MR. PIFKO:
     9          THE WITNESS: It modified              9      Q. Do you understand the
    10     the existing program, yes.                10 question?
    11 BY MR. PIFKO:                                 11      A. Do you want to repeat it?
    12     Q. Can you tell me how the                12      Q. All I'm asking is if, for
    13 agreement modified the existing program?      13 ease of reference, going forward, we can
    14          MR. NICHOLAS: Object to the          14 refer to the idea that you don't ship an
    15     form.                                     15 order that's been identified as
    16          THE WITNESS: So through              16 suspicious as the shipping requirement?
    17     negotiations with DEA and in              17          MR. NICHOLAS: I'll object
    18     enhancing our existing order              18      to the form. And the language.
    19     monitoring program that we had in         19          THE WITNESS: We never --
    20     place at the time, DEA wanted us          20      the shipping requirement was never
    21     to include a more in-depth due            21      discussed in this document and is
    22     diligence process in addition to          22      not a term that we had used in
    23     ensuring that we only distribute          23      presentations or requirements.
    24     products to licensed individuals.         24          We chose, through our work
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     1      with the DEA, that if we                  1       Q. That's good. Thank you.
     2      defined -- ABC defined an order as        2       A. Do you want me to read the
     3      suspicious, that we would report           3 whole thing?
     4      it and would not ship it.                  4      Q. That's all I was asking you
     5 BY MR. PIFKO:                                   5 to read.
     6      Q. Did DEA ever tell you that              6           MR. NICHOLAS: You asked him
     7 there was a -- prior to entering into           7      to read the whole thing.
     8 this agreement, did DEA ever tell you           8           MR. PIFKO: You can read to
     9 that an order that's suspicious should          9      yourself the rest of that
    10 not be shipped?                                10      paragraph, if you please. But all
    11           MR. NICHOLAS: Object to the          11      I wanted you to read for the
    12      form.                                     12      record was that portion.
    13           THE WITNESS: Did DEA ever            13           MR. NICHOLAS: You asked
    14      tell us? No.                              14      him, for the record, to read the
    15 BY MR. PIFKO:                                  15      whole paragraph. Are you now
    16      Q. We talked about this                   16      telling him you don't want him to
    17 Chemical Handler's Manual and how it           17      read the whole paragraph?
    18 provided guidance on the three times           18           MR. PIFKO: You don't need
    19 threshold requirement, correct?                19      to read any more.
    20      A. Yes.                                   20 BY MR. PIFKO:
    21      Q. Did you take any guidance              21      Q. Did you ever consider
    22 from that manual about the idea of not         22 foregoing some transactions, as a result
    23 shipping an order that's deemed to be          23 of reading this document?
    24 suspicious?                                    24           MR. NICHOLAS: Object to the
                                           Page 143                                         Page 145
     1           MR. NICHOLAS: Object to the          1       form. Outside the scope.
     2      form. Outside the scope.                  2            THE WITNESS: No.
     3           THE WITNESS: No.                      3              - - -
     4 BY MR. PIFKO:                                   4           (Whereupon, Amerisource
     5      Q. Let's take a look at that               5      Bergen-Zimmerman Exhibit-6,
     6 manual again. I'd like to direct your           6      ABDCMDL 00269683-694, was marked
     7 attention to Page 21 of that document.          7      for identification.)
     8 Exhibit-4, for the record.                      8              - - -
     9           Looking at the second full            9 BY MR. PIFKO:
    10 paragraph of Page 21, can you read that        10      Q. I'm handing you what has
    11 to me?                                         11 been marked as Exhibit-6. For the
    12      A. On Page 21? You want me to             12 record, these are a series of letters
    13 read it out loud?                              13 from the Department of Justice, Bates
    14      Q. Yes, please.                           14 labeled ABDCMDL 00269683 to 694.
    15      A. When a regulated person                15           For the record, there's four
    16 suspects that an order may be intended         16 letters in this packet. This is how they
    17 for illicit purposes, good practice            17 were produced. They are dated -- the one
    18 requires that every reasonable effort be       18 in the back is the earliest, it's on Page
    19 made to resolve those suspicions. In           19 ABDCMDL 00269691, and it's dated
    20 addition to making the required reports,       20 September 27th, 2006. And there's
    21 the transaction should not be completed        21 another one dated February 7th, 2007;
    22 until the customer is able to eliminate        22 another one dated December 27th, 2007;
    23 the suspicions. The distributor may have       23 and another one with a stamp on it, June
    24 to forego some transactions.                   24 12th, 2012.


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     1          Have you seen these before?            1       just review the letter before you
     2      A. I have.                                 2       ask -- before he's asked questions
     3      Q. These are what we refer to               3      about portions of it?
     4 as the Dear Registrant letters.                  4           MR. PIFKO: You can review
     5          Have you heard that term                5      the letter.
     6 before?                                          6 BY MR. PIFKO:
     7      A. I have, since -- yep. Yes.               7      Q. Do you believe this a --
     8      Q. Did AmerisourceBergen                    8 while you're reviewing it, do you believe
     9 receive these letters from the Department        9 this is a true and correct copy of the
    10 of Justice? Let's start with the first          10 September 27th, 2006 letter from the
    11 one, dated September 27th, 2006, Bates          11 Department of Justice?
    12 label ABDCMDL 00269691.                         12           MR. NICHOLAS: Object to the
    13          Are you there?                         13      form.
    14      A. Yes.                                    14           THE WITNESS: It looks the
    15      Q. Okay. Did AmerisourceBergen             15      same.
    16 receive a copy of this letter?                  16 BY MR. PIFKO:
    17      A. I believe one or more of our            17      Q. And this is something that
    18 distribution centers did.                       18 the company would have maintained in its
    19      Q. When you were at the                    19 files in the ordinary course of business?
    20 company, at that time, did you receive a        20           MR. NICHOLAS: Could you let
    21 copy of that letter?                            21      him finish reading the letter,
    22      A. I eventually saw a copy of              22      please, before you ask?
    23 the letter. I never received one from           23 BY MR. PIFKO:
    24 DEA.                                            24      Q. I just wanted to ask you
                                            Page 147                                          Page 149
     1      Q. But someone in the company              1  about a couple of provisions in the
     2 provided one to you?                            2  letter.
     3      A. Yes.                                     3      A. Just one second.
     4      Q. And it was on or around the              4           Okay.
     5 time of the letter?                              5      Q. My last question was, is
     6      A. It was some time after. I                6 this letter something that would have
     7 don't recollect how far after.                   7 been maintained by the company in the
     8      Q. Like a month after, or less?             8 ordinary course of business?
     9      A. It could have been a month               9      A. We would have it.
    10 or two.                                         10      Q. So let's go to the first
    11      Q. But not, like, a year later?            11 page of this letter which, again, for the
    12          MR. NICHOLAS: Object to the            12 record, is ABDCMDL 00269691.
    13      form.                                      13           Are you there?
    14          THE WITNESS: Not that I                14      A. Page 1, yes.
    15      recollect.                                 15      Q. Okay. There's a heading
    16 BY MR. PIFKO:                                   16 here, Background.
    17      Q. I want to point you to some             17           Do you see that?
    18 provisions in this letter. There's a            18      A. Oh, yes. At the top. Yes.
    19 heading, Background.                            19      Q. It says, As each of you is
    20          Do you see that?                       20 undoubtedly aware, the abuse (nonmedical
    21      A. What page are you on?                   21 use) of controlled prescription drugs is
    22      Q. On ABDC 00269691.                       22 a serious and growing health problem in
    23          MR. NICHOLAS: Could the                23 this country.
    24      witness have the opportunity to            24           Do you see that?
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     1      A. Yes.                                   1       Q. It then says, If the closed
     2      Q. Do you agree that the DEA              2  system is to function properly as
     3 communicated that to AmerisourceBergen on       3 Congress envisioned, distributors must be
     4 September 27th, 2006?                           4 vigilant in deciding whether a
     5           MR. NICHOLAS: Object to the           5 prospective customer can be trusted to
     6      form.                                      6 deliver controlled substances only for
     7           THE WITNESS: So it states.            7 lawful purposes.
     8      It's stated in the letter.                 8          Do you see that?
     9 BY MR. PIFKO:                                   9      A. I do.
    10      Q. And you agree that the                 10      Q. Do you agree with that
    11 Department of Justice communicated that        11 statement?
    12 to AmerisourceBergen?                          12          MR. NICHOLAS: Object to the
    13           MR. NICHOLAS: Object to the          13      form.
    14      form.                                     14          THE WITNESS: I think -- I
    15           THE WITNESS: We received             15      think there's a lot of inference
    16      this letter, yes.                         16      there.
    17 BY MR. PIFKO:                                  17 BY MR. PIFKO:
    18      Q. The letter also says, The              18      Q. In what way?
    19 CSA was designed by Congress to combat         19      A. Congress -- he's indicating
    20 diversion by providing for a closed            20 what Congress envisioned. I'm not sure
    21 system of drug distribution in which all       21 what they're basing -- I'm not sure where
    22 legitimate handlers of controlled              22 they're drawing that from.
    23 substances must obtain a DEA                   23      Q. So you don't agree with that
    24 registration, and as a condition of            24 statement?

                                           Page 151                                          Page 153
     1 maintaining such registration, must take       1           MR. NICHOLAS: That's not
     2 reasonable steps to ensure that their          2       what he said. Objection.
     3 registration is not being utilized as a         3          THE WITNESS: I'm just
     4 source of diversion.                            4      stating that there's a statement
     5          Do you see that?                       5      made in there that Congress
     6      A. Yes.                                    6      envisioned what the scope was.
     7      Q. Do you agree with that                  7          And I'm not sure what
     8 statement?                                      8      they're basing that upon. If I
     9          MR. NICHOLAS: Object to the            9      could see some documentation of
    10      form.                                     10      what Congress indicated as the --
    11          THE WITNESS: We have a                11      you know, of our duty of
    12      responsibility to make sure we            12      vigilant -- deciding whether a
    13      have adequate controls to prevent         13      customer can be trusted to
    14      diversion, yes.                           14      deliver, that's what they
    15 BY MR. PIFKO:                                  15      envision, I'd like to know in what
    16      Q. And so you agree with the              16      context.
    17 characterization here in this letter?          17 BY MR. PIFKO:
    18          MR. NICHOLAS: Object to the           18      Q. I'm just asking if -- I'm
    19      form. The letter is the letter.           19 not asking you what DEA meant.
    20          THE WITNESS: I agree that             20          I'm asking, based on your
    21      we must adhere to our regulatory          21 understanding of what that sentence
    22      requirements under the Code of            22 means, do you agree with it?
    23      Federal Regulations.                      23      A. I don't know --
    24 BY MR. PIFKO:                                  24          MR. NICHOLAS: Object to the
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     1      form.                                       1 on the health and general welfare of the
     2          THE WITNESS: I don't know               2 American people?
     3      what they envisioned. I don't               3           MR. NICHOLAS: Object to the
     4      know what they're basing that on.           4      form.
     5          You're asking me to make a              5           THE WITNESS: Can you just
     6      conclusion off of something I               6      restate that?
     7      don't have all the facts about.             7 BY MR. PIFKO:
     8 BY MR. PIFKO:                                    8      Q. I said, do you have an
     9      Q. So you don't have an                     9 understanding that in attempting to
    10 understanding either way about whether          10 prevent illegal distribution of
    11 distributors must be vigilant in deciding       11 controlled substances, that the company's
    12 whether a prospective customer can be           12 actions can have an impact on the health
    13 trusted to deliver controlled substances        13 and general welfare of the American
    14 only for lawful purposes?                       14 people?
    15      A. We need --                              15           MR. NICHOLAS: Object to the
    16          MR. NICHOLAS: Object to the            16      form.
    17      form.                                      17           THE WITNESS: Yeah, I -- can
    18          Go ahead.                              18      you break it into two or three
    19          THE WITNESS: We need to                19      questions? Because you lumped a
    20      ensure that the customers that we          20      lot in there. Can you --
    21      sell to have been appropriately            21 BY MR. PIFKO:
    22      licensed and in good standing with         22      Q. What part is tricking you
    23      DEA and the Boards of Pharmacy. I          23 up?
    24      agree with that.                           24      A. The first part.
                                            Page 155                                           Page 157
     1 BY MR. PIFKO:                                    1      Q. We agree that
     2      Q. It says, Congress has                    2 AmerisourceBergen has a duty to take
     3 expressly declared that the illegal              3 actions to prevent illegal distribution
     4 distribution of controlled substances has        4 of controlled substances, agree?
     5 a substantial and detrimental effect on          5          MR. NICHOLAS: Object to the
     6 the health and general welfare of the            6      form.
     7 American people.                                 7          THE WITNESS: We have a duty
     8          Do you see that?                        8      to make sure that we follow our
     9      A. Yes.                                     9      regulatory responsibilities to
    10      Q. Do you agree with that                  10      prevent diversion, I agree.
    11 statement?                                      11 BY MR. PIFKO:
    12          MR. NICHOLAS: Object to the            12      Q. And then the question is, in
    13      form.                                      13 carrying out that role, do you believe
    14 BY MR. PIFKO:                                   14 that AmerisourceBergen's actions can have
    15      Q. It's cites 21 USC.8012.                 15 an impact on the health and general
    16      A. If Congress has expressly               16 welfare of the American people?
    17 declared that, then I agree that Congress       17          MR. NICHOLAS: Object to the
    18 expressly declared that there's a               18      form.
    19 substantial and detrimental effect to the       19          THE WITNESS: Again, we go
    20 American wellbeing.                             20      back to what we were talking about
    21      Q. Do you have an understanding            21      before, is that, yes, we have to
    22 that in attempting to prevent illegal           22      follow our policy and procedure to
    23 distribution of controlled substances,          23      ensure that we have effective
    24 the company's actions can have an impact        24      controls to prevent diversion.
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     1          And I'm not sure what more            1       need to dispense them to their
     2      we can say. We have an obligation         2       patients and that there's access
     3      to ensure that we get medications          3      to patients that have been issued
     4      to the pharmacies in need. And,            4      a prescription and fill it at the
     5      yes, we do have an obligation to           5      pharmacy, which would have an
     6      help with providing access for             6      impact on the health and safety of
     7      medications to the patients that           7      the public.
     8      need them, which I guess would be          8 BY MR. PIFKO:
     9      the public.                                9      Q. So you said by not having a
    10 BY MR. PIFKO:                                  10 diversion occurring within the
    11      Q. How about in preventing                11 distribution center, then that's how we
    12 illegal substances from being                  12 impact the health and welfare of the
    13 distributed, do you believe that               13 public.
    14 AmerisourceBergen's actions can have an        14          MR. NICHOLAS: Object to the
    15 impact on the health and general welfare       15      form.
    16 of the American people?                        16 BY MR. PIFKO:
    17          MR. NICHOLAS: Object to the           17      Q. Do you recall saying that?
    18      form.                                     18          MR. NICHOLAS: Object to the
    19          THE WITNESS: As long as               19      form. Are you asking what he said
    20      we -- again, this implies chain           20      a minute ago and just reading the
    21      under our control, we can do what         21      transcript? Is that what you're
    22      we can under our control and our          22      doing?
    23      responsibilities and we do that           23          THE WITNESS: We have an
    24      diligently.                               24      obligation to maintain -- I -- I
                                           Page 159                                          Page 161
     1          And, you know, that's -- and          1       don't understand what you mean by
     2      by not having a diversion                 2       that.
     3      occurring within the distribution          3 BY MR. PIFKO:
     4      centers, then that's how we impact         4      Q. All I'm asking is, you just
     5      the health and welfare of the              5 said: By not having diversion occurring
     6      public, by not having that occur           6 within the distribution centers, then
     7      within our distribution centers.           7 that's how we impact the health and
     8 BY MR. PIFKO:                                   8 general welfare of the public.
     9      Q. Okay. And if it does occur,             9      A. That's a --
    10 it could have an adverse impact on the         10      Q. That's a quote I just read
    11 health and general welfare of the              11 from the transcript.
    12 American public, correct?                      12      A. Then that's --
    13          MR. NICHOLAS: Object to the           13      Q. Okay. Do you agree to
    14      form.                                     14 having said that?
    15          THE WITNESS: I don't know             15      A. -- what I stated.
    16      that. Again, we can go                    16          Again, it goes back to the
    17      back-and-forth again. I think we          17 same issue that you have been asking me,
    18      covered this ground.                      18 and I've answered it several times, of
    19          But we have on obligation to          19 what our role in the supply channel is,
    20      have effective controls to prevent        20 how we -- what things we have in place to
    21      diversion, which we follow. And           21 prevent diversion. And that is our role
    22      we also have an obligation to             22 and responsibility.
    23      ensure that we get FDA-approved           23          We don't touch the patient.
    24      medications to the pharmacies that        24      Q. I haven't asked you a
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     1 question.                                      1 question, sir. I don't want a speech to
     2     A. I know you haven't. But you             2 questions I'm not asking.
     3 continue --                                    3          All I asked you was if I had
     4         MR. NICHOLAS: Let him                  4 read that portion correctly?
     5     finish.                                    5          MR. NICHOLAS: You know
     6 BY MR. PIFKO:                                  6     what, you don't tell him that you
     7     Q. You're giving a speech.                 7     don't want a speech or you do want
     8         All I asked you --                     8     a speech. Let him answer your
     9     A. Well, you're reading back               9     questions. Don't lecture him.
    10 what I just said.                             10          MR. PIFKO: We're going to
    11     Q. The question I asked is what           11     have to have this transcript
    12 you said. Did you say that? And you're        12     evaluated by the court for your
    13 giving a speech.                              13     lack of cooperation and we're
    14         MR. NICHOLAS: Hold on.                14     going to seek appropriate remedies
    15     Hold on. If you're going to go            15     at the appropriate time.
    16     back and read him a portion of            16          MR. NICHOLAS: That's fine.
    17     what he just said a minute ago --         17     Do whatever you want. Let him
    18         MR. PIFKO: I didn't ask him           18     answer your questions.
    19     to give a speech.                         19          MR. PIFKO: I'm trying to
    20         MR. NICHOLAS: I think you             20     ask him, but he's not letting me
    21     then can also let him answer your         21     ask questions, because he's
    22     question.                                 22     talking about and giving speeches.
    23         MR. PIFKO: No. I just                 23          MR. NICHOLAS: He's not
    24     said, did you say that? That's            24     letting you answer questions
                                          Page 163                                           Page 165
     1    all the question was. And he goes           1       because he is answering questions.
     2    on a five-minute speech.                    2           MR. PIFKO: He's talking
     3         That's not what the question           3       about things I'm not asking him.
     4    was.                                        4           MR. NICHOLAS: You're just
     5         MR. NICHOLAS: First of all,            5       arguing. Go ahead.
     6    it's been about 20 seconds that             6 BY MR. PIFKO:
     7    he's talking. If he wanted to               7       Q. You said -- I'm reading from
     8    talk for an hour, he could. But             8 the transcript -- By not having diversion
     9    he's not doing that. He's trying            9 occurring within the distribution center,
    10    to answer your questions.                  10 then that's how we impact the health and
    11         MR. PIFKO: All my question            11 general welfare of the public.
    12    was, was did I read it right?              12           Agreed?
    13         MR. NICHOLAS: You're just             13       A. That's what I said.
    14    arguing with him.                          14       Q. Okay. And so my question
    15         MR. PIFKO: No, my question            15 is, if diversion does occur, then that
    16    was --                                     16 could have an adverse impact on the
    17         MR. NICHOLAS: You're just             17 health and welfare of the public.
    18    arguing.                                   18           Do you agree?
    19         MR. PIFKO: You're wasting             19           MR. NICHOLAS: Object to the
    20    our time, okay?                            20       form. You really are arguing.
    21         MR. NICHOLAS: Just ask him            21           Go ahead.
    22    questions. Yeah --                         22           THE WITNESS: If there's
    23 BY MR. PIFKO:                                 23       diversion occurring -- I mean,
    24    Q. I'm trying to ask you a                 24       that's the reason why we have
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     1      controls in place, to protect and           1  orders that might be diverted into
     2      to guard against diversion.                 2  other-than-legitimate medical,
     3          If a diversion occurs, then              3 scientific, and industrial channels.
     4      that would have an impact.                   4           Do you see that?
     5 BY MR. PIFKO:                                     5       A. I do.
     6      Q. Thank you.                                6       Q. Do you agree with that
     7          Let's go to the second page              7 statement?
     8 of the letter, ABDCMDL 00269692.                  8           MR. NICHOLAS: Object to the
     9          Are you on that page?                    9       form.
    10      A. Yes.                                     10           THE WITNESS: Given the --
    11      Q. I want to read you a section             11       no, I don't agree.
    12 from the second paragraph there; second          12 BY MR. PIFKO:
    13 paragraph, second sentence.                      13       Q. And what's the basis for
    14          Moreover, all registrants,              14 your disagreement?
    15 manufacturers, distributors, pharmacies          15       A. Because up until this
    16 and practitioners share responsibility           16 letter, all of our interactions with DEA
    17 for maintaining appropriate safeguards           17 and our consultations and meetings and
    18 against diversion.                               18 presentations, there had never been any
    19          Do you agree with that                  19 indication, up until this time, that we
    20 statement?                                       20 were to avoid filling suspicious orders.
    21      A. Yes.                                     21 It's the first time I've seen that
    22      Q. It says, a little bit                    22 statement.
    23 further down, Given the extent of                23       Q. Let's go to the third page,
    24 prescription drug abuse in the United            24 ABDCMDL 00269693. Tell me when you're

                                             Page 167                                          Page 169
     1 States, along with the dangerous and             1  there.
     2 potentially lethal consequences of such          2       A. Yes.
     3 abuse, even just one distributor that             3      Q. Do you see the heading at
     4 uses its DEA registration to facilitate           4 the top is, Circumstances That Might Be
     5 diversion can cause enormous harm.                5 Indicative of Diversion?
     6          Do you agree with that                   6          Do you see that?
     7 statement?                                        7      A. Yes.
     8          MR. NICHOLAS: I'll object                8      Q. It's got a list of four
     9      to the form. And ask if you're               9 items.
    10      going to read portions of this              10          Do you see that?
    11      paragraph, that you read the first          11      A. Yes.
    12      sentence of the paragraph as well.          12      Q. Do you believe that the DEA
    13          THE WITNESS: I don't know               13 communicated this information to you?
    14      the answer to your question.                14          MR. NICHOLAS: Object to the
    15      Because -- I don't know.                    15      form.
    16 BY MR. PIFKO:                                    16          THE WITNESS: In this
    17      Q. Let's go down a little bit               17      letter? We received this letter,
    18 further toward the third-to-last                 18      yes.
    19 paragraph.                                       19 BY MR. PIFKO:
    20          In addition -- it says,                 20      Q. And then there's another
    21 Thus, in addition to reporting all               21 paragraph with ten items.
    22 suspicious orders, a distributor has a           22          Do you see that?
    23 statutory responsibility to exercise due         23      A. Yes.
    24 diligence to avoid filling suspicious            24      Q. Do you believe that the DEA
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     1 communicated this information to you?          1       Q. Do you have any reason to
     2         MR. NICHOLAS: Object to the            2  dispute that this is a document from
     3     form.                                       3 AmerisourceBergen's files?
     4         THE WITNESS: In -- with                 4      A. No.
     5     this letter, yes.                           5      Q. Do you dispute that this is
     6             - - -                               6 a true and correct copy of what was in
     7         (Whereupon, Amerisource                 7 this document?
     8     Bergen-Zimmerman Exhibit-7,                 8      A. I don't know that, because
     9     ABDCMDL 00000101-122, was marked            9 I'm not familiar with this presentation.
    10     for identification.)                       10      Q. You just took some time to
    11            - - -                               11 review the presentation, correct?
    12 BY MR. PIFKO:                                  12      A. Yes.
    13     Q. I'm handing you what has                13      Q. The title of the
    14 been marked as Exhibit-7.                      14 presentation, on the first page, is, ABC
    15         Please take a moment to                15 Diversion Control Program, Effective June
    16 review this document and let me know when      16 25, 2007.
    17 you're done.                                   17          Do you see that?
    18         For the record, it's Bates             18      A. Yes.
    19 labeled ABDCMDL 00000101 through 122.          19      Q. You're familiar with the
    20         Let me know when you're done           20 changes that AmerisourceBergen made to
    21 reviewing the document, sir.                   21 its diversion control program as a result
    22     A. Okay.                                   22 of the settlement with the DEA, correct?
    23     Q. Have you seen this document             23      A. Correct.
    24 before?                                        24      Q. Does this reflect changes
                                           Page 171                                          Page 173
     1      A. I don't know if I've seen              1  that were made to the policy as a result
     2 this exact document, but I've seen             2  of that settlement?
     3 presentations that have this material in        3          MR. NICHOLAS: Object to the
     4 them.                                           4      form.
     5      Q. When you say that, what do              5          THE WITNESS: Yes, I believe
     6 you mean by that?                               6      so.
     7          MR. NICHOLAS: Object to the            7 BY MR. PIFKO:
     8      form.                                      8      Q. Having reviewed this
     9          THE WITNESS: I'm saying                9 document, do you believe this document
    10      that many of these slides in here         10 discusses the nature of
    11      look familiar. I don't know if            11 AmerisourceBergen's program as of June
    12      I've seen this exact presentation.        12 25th, 2007?
    13 BY MR. PIFKO:                                  13          MR. NICHOLAS: Object to the
    14      Q. Okay. You say you've seen              14      form.
    15 some of the slides but maybe not all of        15          THE WITNESS: I believe so.
    16 the slides, or do you think you've seen        16 BY MR. PIFKO:
    17 all of the slides?                             17      Q. Do you know who Steve Mays
    18          MR. NICHOLAS: Object to the           18 is?
    19      form.                                     19      A. Yes.
    20          THE WITNESS: I think                  20      Q. Is he someone that works
    21      I've -- I can't say I've seen             21 under you?
    22      every single slide, but I'm               22      A. Yes, he does.
    23      familiar with the information.            23      Q. Does he still work at the
    24 BY MR. PIFKO:                                  24 company?


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     1      A. He does.                                 1      statement of the CFR1301.71.
     2      Q. His title at this time is                2 BY MR. PIFKO:
     3 senior director, corporate security and          3      Q. It's a statement of
     4 regulatory affairs.                              4 AmerisourceBergen's regulatory
     5         Do you see that?                         5 responsibility under this provision; is
     6      A. Yes.                                     6 that correct?
     7      Q. When he was in that title,               7          MR. NICHOLAS: Object to the
     8 he reported to you?                              8      form.
     9      A. Yes.                                     9          THE WITNESS: It's the
    10      Q. Was he a direct report to               10      statement of -- for all
    11 you at this time?                               11      distributors. It's 1301.71(a).
    12      A. He was.                                 12 BY MR. PIFKO:
    13      Q. Did you instruct him to give            13      Q. I'm not trying to trick you
    14 presentations about AmerisourceBergen's         14 into something.
    15 diversion control program as it was             15          I'm just asking, is it your
    16 changed from the DEA settlement?                16 understanding that 1301.71(a) applies to
    17      A. He did presentations, yes.              17 AmerisourceBergen?
    18      Q. Do you know to whom he did              18          MR. NICHOLAS: Object to the
    19 presentations?                                  19      form.
    20      A. I don't know specifically.              20          Go ahead.
    21      Q. You said you've seen                    21          THE WITNESS: It does apply
    22 versions of this document.                      22      to AmerisourceBergen as a
    23         Do you believe this was                 23      registrant.
    24 something that would have been presented        24 BY MR. PIFKO:

                                            Page 175                                           Page 177
     1 to people inside the company?                    1      Q. And it says, All applicants
     2           MR. NICHOLAS: Object to the            2 and registrants shall provide effective
     3       form. Mischaracterizes the                 3 controls and procedures to guard against
     4       testimony.                                 4 theft and diversion of controlled
     5           THE WITNESS: It doesn't say            5 substances.
     6       who this was actually presented            6          Do you see that?
     7       to. So I don't know.                       7      A. Yes.
     8 BY MR. PIFKO:                                    8      Q. Do you agree that's what it
     9       Q. Let's go to the first page              9 says?
    10 of the document here. It says,                  10      A. That's what it says.
    11 Regulatory responsibility.                      11      Q. And you agree that's a
    12           Do you see that?                      12 regulatory responsibility that
    13       A. Yes.                                   13 AmerisourceBergen has?
    14       Q. Have you seen this slide               14      A. Yes.
    15 before?                                         15      Q. Let's go to the next page.
    16       A. I understand -- I don't know           16 It says, How?
    17 if I've seen this slide. But, yes, I've         17          Do you see that?
    18 seen a slide that has this information on       18      A. Yes.
    19 it, yes.                                        19      Q. Do you have an
    20       Q. Can you tell me what this              20 understanding, then, this is how
    21 is?                                             21 AmerisourceBergen is supposed to carry
    22           MR. NICHOLAS: Object to the           22 out its responsibility to provide
    23       form.                                     23 effective controls and procedures to
    24           THE WITNESS: It's just a              24 guard against theft and diversion of


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                                            Page 178                                           Page 180
     1 controlled substances?                           1      Q. And afterwards it says, No
     2         MR. NICHOLAS: Object to the              2 problem.
     3     form.                                        3          Let's look at the first one.
     4         THE WITNESS: It appears                  4      A. Yes.
     5     that it lists the different                  5      Q. Physical security controls.
     6     elements under that section and              6 No problem.
     7     states the relating Code of                  7          Do you see that?
     8     Federal Regulation's section and             8      A. Yes, I see that.
     9     how companies may -- again, I                9      Q. Records and reports of
    10     don't know who this was to,                 10 registrants. No problem.
    11     whether it was internally, to               11          Do you see that?
    12     distributors. I'm not sure who              12      A. Yes.
    13     the customer was of the                     13      Q. Orders for filling -- for
    14     presentation.                               14 Schedule I and II controlled substances.
    15         But it's just reiterating               15 No problem.
    16     items that fall underneath each of          16          Do you see that?
    17     the CFR sections.                           17      A. Yes.
    18 BY MR. PIFKO:                                   18      Q. Other security controls-make
    19     Q. Do you believe -- or do you              19 a good faith inquiry; report suspicious
    20 have an understanding that                      20 orders; report significant losses. Gray
    21 AmerisourceBergen has a responsibility to       21 area.
    22 comply with the CFR sections identified         22          Do you see that?
    23 here?                                           23      A. Yes.
    24         MR. NICHOLAS: Object to the             24      Q. Do you have an understanding
                                            Page 179                                           Page 181
     1      form.                                       1 about what it means by "gray area"?
     2          THE WITNESS: These are                  2      A. I think what they're
     3      sections that we -- that fall               3 referring to, under these regulations,
     4      under the distributor                       4 are -- say 1301.72, physical security
     5      requirements, yes.                          5 controls, that the DEA has been very
     6 BY MR. PIFKO:                                    6 specific.
     7      Q. And do you believe that they             7          So vaults need to have
     8 apply to AmerisourceBergen?                      8 poured-in-place concrete, 8 inches thick,
     9      A. Yes.                                     9 half-inch rebar, 6 inches on center. And
    10      Q. Under CFR1301.74 -- do you              10 cages have to be developed of 10-gauge
    11 see that at the bottom?                         11 steel. Openings can't be more than 2.5
    12      A. Yes.                                    12 inch diameter across. The structure has
    13      Q. It says -- for all the other            13 to be built on 6-inch -- 1-inch posts
    14 ones above, it says a statement of the          14 with 6 inches apart. They're very
    15 regulation with a short summary, and it         15 specific.
    16 says, No problem.                               16          With regards to reports, it
    17          Do you see that?                       17 explains exactly how often you have to do
    18      A. I'm sorry, where?                       18 inventories, how to annotate it. It's
    19      Q. If you look at each                     19 black-and-white.
    20 regulation, it's got a number, a bold           20          And then also with the
    21 heading, a subject of that, and then it         21 schedule order 222 forms, it states that
    22 has a brief summary of it.                      22 you can't complete a line that has any
    23          Do you see that?                       23 alterations. It's very black-and-white.
    24      A. Yes.                                    24          And when it gets to
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     1 reporting suspicious orders, it's very --        1 not relieve the distributor of the
     2 a gray area, because it's not                    2 responsibility to maintain effective
     3 black-and-white. It doesn't say over             3 controls to prevent diversion.
     4 five or less than four. And with                 4          Do you see that?
     5 significant losses, there's no                   5      A. Yes.
     6 definition. Is it a thousand? Is it              6      Q. Do you have an understanding
     7 one? Is it five? Is it 10,000?                   7 about what that means?
     8          So that's, I believe, I                 8          MR. NICHOLAS: Object to the
     9 don't want to speak for Steve Mays, but I        9      form.
    10 believe that's the inference, is that DEA       10          THE WITNESS: That you can't
    11 has been very diligent about laying out         11      just have a system that has --
    12 responsibilities, black-and-white,              12      that reports suspicious orders and
    13 through all these requirements, and then        13      not have -- not have effective
    14 this one area is -- they're not very            14      controls in all the other areas we
    15 specific at all. It's very open-ended.          15      just mentioned. It doesn't
    16          If that makes sense.                   16      relieve your responsibility to
    17      Q. Let's go to the next page.              17      maintain effective controls.
    18          It's got another CFR section           18 BY MR. PIFKO:
    19 here -- well, actually, the one we were         19      Q. Right. So just reporting a
    20 just talking about, part of it.                 20 suspicious order doesn't discharge your
    21          Do you see that?                       21 responsibility under The Controlled
    22      A. Yes.                                    22 Substances Act, correct?
    23      Q. It says, The registrant                 23      A. For recordkeeping, all those
    24 shall design and operate a system to            24 other ones we kind of just went through.

                                            Page 183                                             Page 185
     1 disclose to the registrant suspicious            1 They are all grouped under the same
     2 orders of controlled substances. The             2 section, effective controls to prevent
     3 registrant shall inform field diversion          3 diversion, 1301. All of these are in
     4 office of the administration in his area         4 1301.
     5 of suspicious orders when covered by the         5          So just doing one of 1301,
     6 registrant.                                      6 74, doesn't relieve you of all the other
     7          Do you see that?                        7 items under 1301.71.
     8      A. Yes.                                     8      Q. The next bullet point says,
     9      Q. Do you agree that that's a               9 DEA cannot/will not tell a distributor if
    10 regulatory responsibility that                  10 an order is or is not legitimate; and/or
    11 AmerisourceBergen has?                          11 if the distributor should or should not
    12          MR. NICHOLAS: Object to the            12 ship an order.
    13      form.                                      13          Do you see that?
    14          But go ahead.                          14      A. Yes.
    15          THE WITNESS: Yes.                      15      Q. Is that consistent with your
    16 BY MR. PIFKO:                                   16 understanding of the DEA's position?
    17      Q. Let's go to the next page.              17      A. Yes. At the time of this
    18          Are we there?                          18 presentation, yes.
    19      A. Yes.
    20      Q. Okay. Again, it says,
    21 Regulatory responsibility. It's got
    22 three bullet points.
    23          The first one says,
    24 Reporting suspicious orders to DEA does


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                                                                                about
                                                24   completing transactions?
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                                                13      Q. Do you have a copy of that
                                                14 presentation that you believe that DEA
                                                15 made to you in your office somewhere?
                                                16      A. We may have it somewhere,
                                                17 yes.
                                                18      Q. Did you make any attempts to
                                                19 look for it?
                                                20         MR. NICHOLAS: Objection.
                                                21      We're making productions as we're
                                                22      required to do in this case.
                                                23         THE WITNESS: Is there a
                                                24      question?
                                     Page 191                                          Page 193
                                                 1 BY MR. PIFKO:
                                                 2      Q. I asked if you made any
                                                 3 attempt to look for that document?
                                                 4      A. No, I did not.
                                                 5      Q. Is that something -- you
                                                 6 said you might have that in your office
                                                 7 somewhere?
                                                 8      A. I won't have -- no, I don't
                                                 9 have that in my office. We may have it
                                                10 on file or in storage or something. It's
                                                11 from years ago.
                                                12           MR. NICHOLAS: Again, just
                                                13      in case there's any implication on
                                                14      the record that we haven't
                                                15      produced something we were
                                                16      supposed to produce.
                                                17           MR. PIFKO: Again, the
                                                18      speaking -- I got it. There's no
                                                19      implication. The record is what
                                                20      it is.
                                                21           MR. NICHOLAS: Good. That's
                                                22      all I want to hear. There's no
                                                23      implication. That's fantastic
                                                24      news.
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     1           Go ahead.                           1  Steve Mays and maybe Mike Mapes from the
     2 BY MR. PIFKO:                                 2  DEA?
     3      Q. Was anyone else present at             3          MR. NICHOLAS: If you can
     4 this presentation that you're referring        4     answer that and it doesn't involve
     5 to?                                            5      attorney-client communications,
     6      A. Steve Mays.                            6     that's fine. If not, please don't
     7      Q. And who specifically from              7     answer.
     8 the DEA was there?                             8          THE WITNESS: I can't
     9      A. I was not there. I                     9     answer.
    10 believe -- I believe Mike Mapes.              10 BY MR. PIFKO:
    11      Q. Anyone else?                          11     Q. So the only conversations
    12      A. I don't know, because I               12 you may have had about this meeting
    13 wasn't there.                                 13 were -- involved counsel?
    14      Q. Did you undertake any                 14          MR. NICHOLAS: I'm going to
    15 effort, in connection with preparing for      15     instruct him not to answer.
    16 this deposition, to learn about               16 BY MR. PIFKO:
    17 communications with the DEA that might        17     Q. You're unable to answer any
    18 have occurred?                                18 questions about inquiries about this
    19      A. In what context?                      19 meeting based on the attorney-client
    20      Q. Concerning The Controlled             20 privilege; is that correct?
    21 Substances Act.                               21          MR. NICHOLAS: I'll instruct
    22           MR. NICHOLAS: Object to the         22     him not to answer. I'm
    23      form.                                    23     instructing him not to answer. He
    24           THE WITNESS: I'm not                24     doesn't have to answer questions
                                          Page 195                                         Page 197
     1      understanding your question. I'm         1     about this.
     2      sorry.                                   2          MR. PIFKO: I'm trying to
     3 BY MR. PIFKO:                                  3    understand the privilege that's
     4      Q. I'm just asking if you tried           4    being asserted here.
     5 to learn about the company's                   5         MR. NICHOLAS: It's the
     6 communications with the DEA in connection      6    attorney-client privilege.
     7 with preparing for this deposition.            7         MR. PIFKO: So the witness
     8      A. Yes.                                   8    is being instructed not to answer
     9      Q. Did you ask anyone about               9    any questions about efforts he
    10 that meeting that we were just talking        10    undertook to learn about this
    11 about where Steve Mays and maybe Mike         11    meeting; is that correct?
    12 Mapes was there?                              12         MR. NICHOLAS: No, not at
    13      A. I think --                            13    all.
    14          THE WITNESS: Is that a               14         MR. PIFKO: That's what I'm
    15      legal question?                          15    trying to understand. So I'm
    16          MR. NICHOLAS: To the extent          16    asking the witness --
    17      this question invades the                17         MR. NICHOLAS: If the
    18      attorney-client privilege, don't         18    witness undertook any efforts
    19      answer it. I'll instruct you not         19    in -- at the direction of or, you
    20      to answer it.                            20    know, in conjunction with attorney
    21 BY MR. PIFKO:                                 21    communications, then I'm only
    22      Q. All I'm asking is if you              22    instructing him to answer in that
    23 asked anyone other than counsel about         23    respect.
    24 this meeting where -- in 2005 between         24 BY MR. PIFKO:


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     1      Q. Aside from any efforts at
     2 the direction of counsel or in
     3 conjunction with an attorney, did you
     4 engage in any efforts to learn about this
     5 DEA meeting between Steve Mays and Mike
     6 Mapes in 2005?
     7      A. No.
     8      Q. You don't know if anyone
     9 else was present besides the two of them?
    10      A. I don't know.
    11      Q. Let's go to the next page.
    12          MR. NICHOLAS: For planning
    13      purposes, purely a scheduling
    14      thing, after you get through this
    15      document --
    16          MR. PIFKO: We'll take a
    17      break.
    18          MR. NICHOLAS: For lunch or
    19      a short break, whatever you
    20      prefer.




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                                                24        MR. PIFKO: We can take a
                                     Page 223                                        Page 225
                                                 1      break.
                                                 2          VIDEO TECHNICIAN: Going off
                                                 3      the record. The time is 12:30
                                                 4      p.m.
                                                 5             - - -
                                                 6          (Whereupon, a luncheon
                                                 7      recess was taken.)
                                                 8            - - -
                                                 9          VIDEO TECHNICIAN: We're
                                                10      back on the record. The time is
                                                11      1:19 p.m.
                                                12 BY MR. PIFKO:
                                                13      Q. Let's go back to Exhibit-6,
                                                14 the stack of Dear Registrant letters.
                                                15          Let's go two pages in to the
                                                16 second -- or the Dear Registrant letter
                                                17 dated December 27th, 2007.
                                                18          Do you see that? It's on
                                                19 Bates label ABDCMDL 00269685.
                                                20          Are you there, sir?
                                                21      A. Yes.
                                                22      Q. Did AmerisourceBergen
                                                23 receive this letter?
                                                24          MR. NICHOLAS: Could you
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     1      just ask him to take -- give him            1 CSA compliance were discussed with DEA.
     2      just a minute to take a quick look          2          Generally, do you recall
     3      at it and make sure he's familiar           3 that?
     4      with the document before he                 4      A. We've had ongoing
     5      responds to these questions.                5 communications with DEA since I started
     6           MR. PIFKO: I think we went             6 with the company. I referenced our
     7      over these before.                          7 negotiations with them in '96 to '98,
     8           MR. NICHOLAS: I think you              8 with the suspicious order monitoring
     9      showed him the one and asked him            9 program, which resulted in an approval
    10      that question. He didn't look at           10 letter. And then the negotiations, in
    11      all the letters. He looked at              11 2007.
    12      one.                                       12          So we've had ongoing -- and
    13           THE WITNESS: Okay.                    13 we also provided training for DEA
    14 BY MR. PIFKO:                                   14 diversion investigators from '99 to 2004
    15      Q. Are you ready? It's a                   15 or '05. So we've had an open dialogue
    16 two-page letter here.                           16 with DEA since I've been with the
    17      A. Yes.                                    17 company.
    18      Q. Did AmerisourceBergen                   18      Q. Did anyone at the company
    19 receive this letter?                            19 discuss this statement with the DEA and
    20      A. I believe so, at the                    20 how it impacted some of the prior
    21 distribution centers.                           21 discussions that you may have had with
    22      Q. And that would have been on             22 them?
    23 or around the date of this letter,              23          MR. NICHOLAS: Object to the
    24 December 27th, 2007?                            24      form.
                                            Page 227                                          Page 229
     1      A. I would assume so.                       1          THE WITNESS: No.
     2      Q. Let's go to the second                   2 BY MR. PIFKO:
     3 paragraph, last sentence -- or, sorry,           3      Q. For example, with respect to
     4 second-to-last sentence.                         4 the business decision that we talked
     5          Accordingly, DEA does not               5 about in Exhibit-7 that you recalled
     6 approve or otherwise endorse any specific        6 having been derived from a meeting in
     7 system for reporting suspicious orders.          7 2005, did anyone say to the DEA, as a
     8 Past communications with DEA, whether            8 result of this December 27th, 2007
     9 implicit or explicit, that could be              9 letter, we can no longer rely on that?
    10 construed as approval of a particular           10          MR. NICHOLAS: Object to the
    11 system for reporting suspicious orders          11      form. Only if you're asking about
    12 should no longer be taken to mean that          12      any conversation anyone at the
    13 DEA approves a specific system.                 13      company ever had. I don't know
    14          Do you see that?                       14      how he can answer that.
    15      A. Yes.                                    15          But go ahead.
    16      Q. Were you aware that that was            16          THE WITNESS: Can you
    17 a statement that the DEA had made to            17      restate that or paraphrase the
    18 AmerisourceBergen at that time?                 18      question, please?
    19      A. Yes.                                    19 BY MR. PIFKO:
    20      Q. Did you discuss that with               20      Q. Do you remember that
    21 anyone at the company?                          21 Exhibit-7 talked about the business
    22      A. No.                                     22 decision about whether to ship an order?
    23      Q. Earlier you testified that              23      A. Yes.
    24 certain aspects of AmerisourceBergen's          24      Q. You remember testifying that
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     1 that was derived from a conversation with       1 agree that its responsibility continued
     2 the DEA in 2005?                                2 after the filing of a suspicious order
     3      A. It wasn't derived from a                3 report?
     4 conversation. It was -- it was -- you           4           MR. NICHOLAS: Object to the
     5 had asked about the quotations of the           5      form.
     6 business decision, and that was a slide         6           THE WITNESS: I mean, the
     7 on a DEA slide, not ABC slide.                  7      program we developed, which is
     8      Q. From a -- you said from a               8      pretty much two months, three -- a
     9 presentation between Steve Mays and Mike        9      few months before this letter, is
    10 Mapes in 2005?                                 10      pretty much in line with this
    11      A. From a presentation from DEA           11      letter, in that -- in the way that
    12 to Steve Mays.                                 12      this is written, I'm not sure if
    13      Q. Did anyone, at this time,              13      they're referring that an order
    14 reach out to the DEA and say, we can no        14      that hits a -- they're calling it
    15 longer rely on that presentation?              15      an excessive purchase, meet the
    16          MR. NICHOLAS: Object to the           16      requirements of suspicious order,
    17      form.                                     17      is that an order of interest or a
    18          THE WITNESS: No.                      18      suspicious order?
    19 BY MR. PIFKO:                                  19           So I'm not really sure of
    20      Q. This letter also says, in              20      the context of their statement.
    21 the second paragraph, Filling a monthly        21 BY MR. PIFKO:
    22 report -- Filing a monthly report of           22      Q. Well, he's saying,
    23 completed transactions, e.g., excessive        23 Responsibility does not end merely with
    24 purchase report or high unit purchases,        24 the filing of a suspicious order report.

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     1 does not meet the regulatory requirement        1           So he's talking about
     2 to report suspicious orders. Registrants        2 suspicious orders.
     3 are reminded that their responsibility          3           Do you see that?
     4 does not end merely with the filing of a        4      A. Yes.
     5 suspicious order report.                        5      Q. So my question is, does
     6          Do you see that?                       6 AmerisourceBergen agree that its
     7      A. Are you in the --                       7 responsibility extends beyond the filing
     8          MR. NICHOLAS: Could you                8 of a suspicious order report?
     9      highlight it on the screen?                9           MR. NICHOLAS: Object to the
    10          MR. CLUFF: We're putting it           10      form.
    11      up now. It was actually the third         11           But go ahead.
    12      paragraph.                                12           THE WITNESS: I'm not really
    13          THE WITNESS: I didn't see             13      sure of the context of -- once we
    14      that. Sorry.                              14      file the suspicious order report,
    15          What line in the third                15      I'm not necessarily saying that
    16      paragraph? I just want to make            16      there's any additional
    17      sure, if I'm commenting on this.          17      responsibility we have after the
    18          And your question? I'm                18      filing of the suspicious order
    19      sorry.                                    19      report.
    20 BY MR. PIFKO:                                  20 BY MR. PIFKO:
    21      Q. You see that, first, was the           21      Q. So you disagree with that
    22 question? You do see it now?                   22 statement, is that what I'm hearing you
    23      A. Yes.                                   23 say?
    24      Q. Okay. Did AmerisourceBergen            24           That's fine, whatever you're
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     1 saying. I just don't understand your            1       form. Outside the scope.
     2 answer.                                         2           THE WITNESS: I don't think
     3          MR. NICHOLAS: Object to the             3      that is in line with the
     4      form.                                       4      regulatory responsibilities of a
     5          Go ahead.                               5      distributor, to define a program
     6          THE WITNESS: Yes.                       6      to report suspicious orders.
     7 BY MR. PIFKO:                                    7 BY MR. PIFKO:
     8      Q. Yes, you disagree?                       8      Q. Let's go to the last
     9      A. I disagree -- let me read it             9 sentence of that paragraph.
    10 on the page, so I can make sure that --         10          It says, Reporting an order
    11          So again, it depends on the            11 as suspicious will not absolve the
    12 context of the sentence. Our registrants        12 registrant of responsibility if the
    13 are reminded that their responsibility          13 registrant knew or should have known that
    14 does not end merely with the filing of a        14 controlled substances were being
    15 suspicious order.                               15 diverted.
    16          That's correct. We have                16          Do you see that?
    17 other responsibilities to have adequate         17      A. I do see that.
    18 controls to prevent diversion, other than       18      Q. Do you agree with that
    19 the filing of a suspicious order. So I'm        19 statement?
    20 not sure if their statement is in the           20      A. If I had more understanding
    21 context of filing a suspicious order and        21 of what should have -- what they're
    22 the totality of the distributor's               22 constituting as should have known.
    23 responsibility.                                 23      Q. Do you believe that if
    24      Q. Well, let me ask a different            24 AmerisourceBergen knows that controlled

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     1 question.                                       1  substances are being diverted, it has to
     2          Regardless of what this                2  do more to prevent diversion beyond just
     3 letter says or doesn't say, does                 3 reporting it?
     4 AmerisourceBergen agree that with respect        4          MR. NICHOLAS: Object to the
     5 to a suspicious order, its                       5      form. Could you be more specific
     6 responsibilities under The Controlled            6      with the question?
     7 Substances Act don't end by merely filing        7          THE WITNESS: It's a
     8 a suspicious order report?                       8      hypothetical question, I think.
     9          MR. NICHOLAS: Object to the             9 BY MR. PIFKO:
    10      form.                                      10      Q. You can't give an answer to
    11          THE WITNESS: I think my                11 the question?
    12      last answer is the -- is the same          12      A. If we -- I think, if a
    13      answer.                                    13 distributor knows that a pharmacy and --
    14          That filing a suspicious               14 they know that they're diverting, then
    15      order does not meet all the                15 they have responsibility to react.
    16      requirements of -- to have an              16      Q. So do you agree that the
    17      effective controls for diversion.          17 company has a responsibility to act?
    18          So my answer is the same.              18      A. If they have --
    19 BY MR. PIFKO:                                   19          MR. NICHOLAS: Object to the
    20      Q. Do you believe that                     20      form.
    21 AmerisourceBergen is required to conduct        21          Go ahead.
    22 due diligence of a suspicious order even        22          THE WITNESS: If they know
    23 after a suspicious order report is filed?       23      there's a pharmacy that's -- that
    24          MR. NICHOLAS: Object to the            24      they know is diverting product.
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     1 BY MR. PIFKO:                                    1 AmerisourceBergen would know about
     2      Q. Okay. So just, again, I'm                2 diversion and not be obligated to act?
     3 not trying to misstate your testimony, I         3          MR. NICHOLAS: Object to the
     4 just want to get a clear record.                 4      form. I think you're now just
     5          So it's my understanding                5      arguing.
     6 that what you just said is if                    6          THE WITNESS: Again, it all
     7 AmerisourceBergen knows that a pharmacy          7      depends on the circumstances of
     8 is diverting product, it has a                   8      the case.
     9 responsibility to act; is that correct?          9 BY MR. PIFKO:
    10          MR. NICHOLAS: Object to the            10      Q. Well, so, if it depends on
    11      form.                                      11 the circumstances, there must be
    12          THE WITNESS: It depends on             12 circumstances where AmerisourceBergen
    13      the circumstances. You asked me a          13 would know of diversion and you don't
    14      hypothetical question.                     14 believe they would be required to act.
    15          So, again, and I'm not sure,           15          MR. NICHOLAS: Object to the
    16      again, when we put the context of          16      form. This isn't --
    17      diversion, what we're talking              17          MR. PIFKO: You've got to
    18      about.                                     18      stop. You have to stop.
    19          If a pharmacy has an                   19          You can object in a normal
    20      employee that was arrested for             20      objection way, you can say form.
    21      diverting product, they put a              21      You can say foundation. You can
    22      bottle in their pocket, the                22      state a legal objection.
    23      reaction is going to be different.         23          But you are coaching the
    24      So it all depends upon the                 24      witness. You have done
                                            Page 239                                        Page 241
     1      totality of the circumstance.               1    textbook -- there is case law
     2           I can't give you a general             2    addressing exactly what you're
     3      answer that if there's a pharmacy           3    doing in this district, and you
     4      that's diverting, depending upon            4    need to stop, okay?
     5      what that type of diversion is,             5        MR. NICHOLAS: Listen. Now
     6      what that action will be.                   6    you're going to let me speak for a
     7 BY MR. PIFKO:                                    7    minute.
     8      Q. But you agree that some                  8        MR. PIFKO: No, I'm not.
     9 action may be -- it depends on the nature        9    You need to stop this right now.
    10 of the diversion -- the action would            10        MR. NICHOLAS: I read the
    11 depend on the nature of the diversion,          11    transcript of your defense of the
    12 but some action would be required?              12    Merrill Gordon.
    13           MR. NICHOLAS: Object to the           13        MR. PIFKO: We're not
    14      form.                                      14    talking about anything right now.
    15           THE WITNESS: It depends on            15    And all I did -- and all I did was
    16      the circumstances. And, again,             16    state my objections with clarity
    17      it's a case-by-case basis,                 17    and specificity. And I did not
    18      depending upon the totality of the         18    coach the witness at one moment of
    19      circumstances, of what the                 19    the deposition.
    20      reaction would be. There isn't a           20        You are telling -- you said
    21      must.                                      21    things like "if you know." You
    22 BY MR. PIFKO:                                   22    said that before the last break.
    23      Q. So is it your testimony that            23        MR. NICHOLAS: Is that so
    24 there are circumstances where                   24    horrible?
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     1         MR. PIFKO: Because there's             1  AmerisourceBergen is aware of diversion,
     2     case law prohibiting that kind of          2  do you believe that beyond reporting it
     3     conduct. That is directing the              3 to the DEA, the company has a
     4     witness. If you know, that's                4 responsibility to take some action?
     5     directing the witness to say I              5      A. It depends on the
     6     don't know.                                 6 circumstances. We had an investigation,
     7         You cannot do that. Just                7 we were working with DEA, and they had
     8     stop.                                       8 diversion at a pharmacy and we were told
     9         MR. NICHOLAS:                           9 to continue servicing them during the
    10     Unfortunately --                           10 course of the investigation.
    11         MR. PIFKO: Am I going to               11          There's an instance where we
    12     get your agreement that you're             12 knew of diversion and we didn't take any
    13     going to comply with the law?              13 action because we were working with the
    14         MR. NICHOLAS: I've been                14 DEA.
    15     complying with the law the entire          15          Every instance is different.
    16     time.                                      16 You're asking me to give you a blanket
    17         I read your deposition.                17 response to situational instances. And I
    18         MR. PIFKO: You've been                 18 can't. There's -- no two are alike. And
    19     coaching the witness.                      19 I can't give you a single answer to your
    20         MR. NICHOLAS: I have not.              20 response, because it depends.
    21         MR. PIFKO: You have.                   21          It depends. If DEA wants us
    22         MR. NICHOLAS: I read your              22 to continue servicing them and there's a
    23     transcript of the Merrill                  23 diversion, then we would have no action.
    24     Gordon --                                  24      Q. What pharmacy are you
                                           Page 243                                          Page 245
     1         MR. PIFKO: I never once                1  referring to where there was diversion
     2     said facts --                              2  and the DEA told you to continue
     3         MR. NICHOLAS: I never saw               3 servicing them?
     4     anything like it.                           4           MR. NICHOLAS: I'm going to
     5         MR. PIFKO: -- in my                     5      caution the witness that if
     6     objections.                                 6      there's -- for any reason, this is
     7         MR. NICHOLAS: It was an                 7      an ongoing investigation and
     8     incredible thing. I'm like Mother           8      confidential --
     9     Teresa compared to you in that              9           MR. PIFKO: He raised the
    10     deposition.                                10      issue.
    11         MR. PIFKO: I disagree.                 11           MR. NICHOLAS: I don't care.
    12         MR. NICHOLAS: I'm sure you             12      If it's confidential and he's not
    13     do disagree.                               13      supposed to disclose the name of
    14         MR. PIFKO: We're moving on.            14      it for legal reasons, then he
    15     You need to stop, okay?                    15      shouldn't do it.
    16         MR. NICHOLAS: I will                   16           THE WITNESS: And it's some
    17     continue to do exactly what I              17      time ago and outside the scope.
    18     think is appropriate in this               18           MR. PIFKO: You're not
    19     deposition, as needed.                     19      allowed to object to outside the
    20 BY MR. PIFKO:                                  20      scope, sir.
    21     Q. I'm trying to get an answer             21           MR. NICHOLAS: Well, he's
    22 from you, and I'm just trying to               22      not objecting.
    23 understand what your testimony is, okay?       23           MR. PIFKO: He just said
    24         So I've asked you if                   24      it's outside the scope.
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     1          MR. NICHOLAS: I don't know            1        individuals.
     2      that --                                   2             You're asking me as a -- as
     3          MR. PIFKO: You're a fact               3       a -- this gets to the part of am I
     4      witness here as well as a 30(b)(6)         4       a 3 -- what is it?
     5      witness. You need to answer my             5            MR. NICHOLAS: 30(b)(6).
     6      questions.                                 6            THE WITNESS: 30(b)(6) or me
     7          THE WITNESS: I don't know              7       personally.
     8      the name of the pharmacy, but we           8 BY MR. PIFKO:
     9      received recognition from the DEA          9       Q. Do you know if that pharmacy
    10      for participation in the                  10 in New Jersey was put on the do not ship
    11      investigation.                            11 list?
    12 BY MR. PIFKO:                                  12            MR. NICHOLAS: Object to the
    13      Q. When was that?                         13       form. Outside the scope.
    14      A. It was 2002 or 2004, I can't           14            THE WITNESS: I don't know.
    15 remember the time frame.                       15       I don't know.
    16          But after the course of the           16 BY MR. PIFKO:
    17 investigation, the prosecution, we             17       Q. I'm handing you what is
    18 received a certificate of recognition          18 marked as Exhibit-8.
    19 from the DEA. That's the case I'm              19               - - -
    20 referring to.                                  20            (Whereupon, Amerisource
    21      Q. So it was a concluded                  21       Bergen-Zimmerman Exhibit-8,
    22 investigation, correct?                        22       ABDCMDL 00270533, was marked for
    23      A. Yes.                                   23       identification.)
    24      Q. Okay. Where was this                   24              - - -
                                           Page 247                                         Page 249
     1 pharmacy? What state?                          1            MR. PIFKO: For the record,
     2      A. It was in New Jersey.                  2       it's a single-page document Bates
     3      Q. Okay. What type of pharmacy             3      labeled ABDCMDL 00270533. It's
     4 was it?                                         4      dated Monday, August 7th, 2017.
     5      A. I don't -- I mean, you're               5 BY MR. PIFKO:
     6 talking about something that happened 16        6      Q. And I will represent to you
     7 years ago. I know we received a                 7 that the metadata that accompanied this
     8 recognition for participation in the            8 document says that it came from your
     9 investigation. And, you know, I don't           9 files, Mr. Zimmerman.
    10 know the name of the pharmacy. I don't         10           So please take a moment to
    11 know the --                                    11 review it and let me know when you're
    12      Q. Can you recall any other               12 done.
    13 pharmacies where the DEA told you to           13      A. Yes.
    14 continue shipping to them despite knowing      14      Q. Are you done?
    15 about diversion?                               15      A. I am.
    16      A. I don't.                               16      Q. Okay. Do you recognize this
    17      Q. So that's only happened, to            17 document?
    18 your knowledge, on one occasion?               18      A. I don't -- I guess it's a
    19          MR. NICHOLAS: Object to the           19 document.
    20      form.                                     20      Q. Do you recall writing this?
    21          THE WITNESS: That I'm aware           21      A. It was notes, yes.
    22      of right now. And I'm not saying          22      Q. What was it notes for?
    23      that that hasn't occurred within          23      A. I think I was -- for -- I
    24      my department and with other              24 was probably meeting with somebody, so I


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     1 was just jotting down some points.
     2      Q. BOD, is that board of
     3 directors?
     4      A. Board of -- where?
     5      Q. It's on the subject line.
     6      A. I think it was supposed to
     7 be -- I'm not sure. I don't know if it
     8 should have been BOP or BOD. Board of
     9 Pharmacy. I'm not sure. I can't
    10 remember.
    11      Q. What would CS mean?
    12 Controlled substances?
    13      A. I don't recall.
    14      Q. TPs, does that mean anything
    15 to you?
    16      A. I'm guessing -- if I had to
    17 guess, I would say talking points.
    18      Q. So it could be board of
    19 directors, controlled substances, talking
    20 points?
    21          MR. NICHOLAS: Object to the
    22      form.
    23          THE WITNESS: I'm not sure.
    24             - - -
                                           Page 251                         Page 253
     1        (Whereupon, Amerisource
     2    Bergen-Zimmerman Exhibit-9,
     3    ABDCMDL 00273425, was marked for
     4    identification.)
     5           - - -
     6 BY MR. PIFKO:




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                                                3  BY MR. PIFKO:
                                                4      Q. Do you believe that
                                                 5 AmerisourceBergen has any duties to
                                                 6 prevent diversion outside of the
                                                 7 regulations under The Controlled
                                                 8 Substances Act?
                                                 9          MR. NICHOLAS: Object to the
                                                10     form. Not within the scope of
                                                11     the -- I don't know if you're
                                                12     asking him as an individual or
                                                13     under the 30(b)(6) thing, but it's
                                                14     not covered by 30(b)(6) topics.
                                                15     I'll object to it.
                                                16          THE WITNESS: I think we
                                                17     have a responsibility to comply
                                                18     with the federal regulations and
                                                19     state Board of Pharmacy
                                                20     regulations as it respects to the
                                                21     handling, storage and distribution
                                                22     of controlled substances.
                                                23 BY MR. PIFKO:
                                                24     Q. But do you believe that
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     1 there's any other requirements to prevent
     2 diversion outside of The Controlled
     3 Substances Act or State Pharmacy Board
     4 rules?
     5          MR. NICHOLAS: Object to the
     6      form. Same objection I just
     7      stated.
     8          THE WITNESS: I'm not aware
     9      of any other requirements.
    10 BY MR. PIFKO:
    11      Q. Does AmerisourceBergen
    12 undertake any actions to prevent
    13 diversion for reasons beyond what is
    14 required in The Controlled Substances
    15 Act?
    16          MR. NICHOLAS: Object to the
    17      form. Outside the scope. And I
    18      don't understand the question.
    19      And I don't know if the witness
    20      does.
    21          THE WITNESS: Can you state
    22      that one more time, please?
    23 BY MR. PIFKO:



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                                                 7      Q. You're aware that there's an
                                                 8 opioid crisis in America, correct?
                                                 9      A. Yes.
                                                10      Q. Did AmerisourceBergen ever,
                                                11 at any point, think to itself, could we
                                                12 do more to prevent diversion as a result
                                                13 of the opioid crisis?
                                                14          MR. NICHOLAS: Object to the
                                                15      form. It's outside the scope as
                                                16      well.
                                                17          THE WITNESS: And I'm not
                                                18      sure I understand the time frame
                                                19      you're talking about.
                                                20          We always want to make sure
                                                21      that we're following the
                                                22      appropriate policy and procedures
                                                23      and working with DEA on these
                                                24      issues, you know, whether it's
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     1     methamphetamine abuse or any other        1      do that to enhance our program, we
     2     area.                                     2      do. It's not -- it's not static.
     3          And in the past, we had a            3      We don't just implement it in 2007
     4     great working relationship with           4      and there's just no changes. It's
     5     the DEA to resolve these issues.          5      a constant.
     6     When it was methamphetamine, they         6 BY MR. PIFKO:
     7     passed a bill, enacted regulations        7      Q. Right. But I'm asking if
     8     and requirements, as we talked            8 you had a specific discussion about
     9     about, with the handling.                 9 changing or adding to the program as a
    10          But in the opioid crisis,           10 result of issues stemming from the opioid
    11     there's no implementation of             11 crisis?
    12     bills, there was no -- there was         12           MR. NICHOLAS: Object to the
    13     no input from DEA like they had in       13      form. You're arguing.
    14     past crises, for the opioid              14           THE WITNESS: I don't know
    15     crisis.                                  15      if there was a specific meeting
    16          We worked with DEA in 2007.         16      titled exactly how you're stating
    17     We felt we built a program that          17      it. No, I don't know.
    18     was, again, I think,                     18 BY MR. PIFKO:
    19     state-of-the-art in the industry.        19      Q. Okay. I told you I would
    20     And that was the program we              20 ask you the question a different way.
    21     implemented.                             21           Now as an individual -- or
    22          We shared our program with          22 as the chief compliance officer and the
    23     all the other industry                   23 head of the CSRA, are you aware of any
    24     memberships. It wasn't -- we were        24 conversations, at any time when you

                                         Page 271                                           Page 273
     1     open about our process. And, you          1 worked at the company, where there was
     2     know, I think that, on itself,            2 discussion of improving diversion control
     3     shows the efforts of                      3 measures specifically in response to the
     4     AmerisourceBergen.                        4 opioid crisis?
     5 BY MR. PIFKO:                                 5         MR. NICHOLAS: Object to the
     6     Q. I'm going to ask this                  6     form.
     7 question two different ways.                  7         THE WITNESS: As I
     8          First, from -- for the               8     previously stated, there is always
     9 30(b)(6) period of the deposition, the        9     discussions about our program and
    10 time period, are you aware of any            10     our processes, not just with the
    11 meetings where the company discussed the     11     suspicious order monitoring but
    12 opioid crisis and what steps it could        12     how we handled things across the
    13 take to improve its diversion control        13     scope of the distribution center
    14 measures to address those issues?            14     and all of our requirements.
    15          MR. NICHOLAS: Object to the         15         So you're asking me, did
    16     form.                                    16     have -- can I point to one
    17          THE WITNESS: We                     17     specific meeting? Not that I'm
    18     regularly -- the department              18     aware of. But it was a topic that
    19     regularly meets and discusses our        19     we generally discussed.
    20     programs and processes and what we       20         VIDEO TECHNICIAN: Going off
    21     do at the distribution centers,          21     the record. 2:01 p.m.
    22     but also with this program as            22            - - -
    23     well. And it's open dialogue.            23         (Whereupon, a brief recess
    24          And if there's areas we can         24     was taken.)
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                                                             1 e-mail?
                                                             2       A. I don't.
                                                             3       Q. Do you have any reason to
                                                             4 believe this is not a true and correct
                                                             5 copy of an e-mail that you received?
                                                             6       A. No, I don't doubt that.
                                                             7       Q. We did talk about the HDMA a
                                                             8 little bit earlier.
                                                             9           Did you serve -- did you
                                                            10 serve, in any capacity, on any committee
                                                            11 or board or group within the HDMA?
                                                            12       A. At some point, I was on the
                                                            13 regulatory affairs committee. And now
                                                            14 I'm on the public -- I think they call it
                                                            15 the public policy committee.
                                                            16       Q. Do you believe that you were
                                                            17 on the regulatory affairs committee at
                                                            18 around the time this e-mail was sent in
                                                            19 September of 2007?
                                                            20       A. Could have been, yes.
                                                            21       Q. Do you recall what your
                                                            22 responsibilities were as a member of the
                                                            23 regulatory affairs committee?
    24            - - -                                     24       A. As a member, I mean, we
                                                 Page 303                                           Page 305
     1         (Whereupon, Amerisource                       1 would talk about regulatory issues facing
     2     Bergen-Zimmerman Exhibit-11,                      2 wholesalers.
     3     CAH_MDL_PRIORPROD_DEA_07_00880890-                3      Q. Regulatory issues concerning
     4     92, was marked for                                4 The Controlled Substances Act; is that
     5     identification.)                                  5 correct?
     6            - - -                                      6      A. It could be a whole host of
     7 BY MR. PIFKO:                                         7 things. It could be destruction. It
     8     Q. I'm handing you what is                        8 wasn't only for controlled substances.
     9 marked as Exhibit-11.                                 9 Anything involving wholesale distribution
    10         It's a document produced by                  10 in the healthcare chain.
    11 Cardinal Health in this matter, which we,            11      Q. But that could include
    12 under the protective order, obtained                 12 controlled substances?
    13 prior approval to use it in this                     13      A. Yes.
    14 deposition. It's Bates labeled                       14      Q. Okay. How about diversion
    15 CAH_MDL_PRIORPROD_DEA07_00880890 to 92.              15 control, would that include that?
    16         It's an e-mail at the top                    16      A. Yes.
    17 from Steve Reardon, dated September 11,              17      Q. Do you recall HDMA setting
    18 2007, to Mr. Zimmerman. The subject is,              18 up a meeting with members of the DEA
    19 Summary of September 7th meeting with DEA            19 around this time in 2007?
    20 and attachments.                                     20      A. I don't.
    21         Let me know when you're done                 21      Q. This is around the time of
    22 reviewing it.                                        22 some of the Dear Registrant letters.
    23     A. Okay.                                         23          Do you agree?
    24     Q. Do you recall receiving this                  24      A. Yes. Yes.
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                                            Page 306                                          Page 308
     1      Q. Do you recall there being               1  one in years. People on my staff attend
     2 more activity between members of the            2  them.
     3 industry and DEA at that time?                   3      Q. When do you recall having
     4      A. As I previously stated, I                4 last attended one?
     5 mean, when I started, we met with DEA            5      A. It may have been 2009. I am
     6 every six months and it was a regular            6 not sure if I attended one in 2011. But
     7 activity. And then with the training             7 I know I haven't attended one for the
     8 program, we met with them a lot more;            8 last, you know, years.
     9 there was a lot more communication.              9      Q. You've always -- someone
    10           In 2007, this came shortly            10 from Amerisource has always been sent to
    11 after -- this is probably within weeks          11 one of these conferences?
    12 after we got our distribution center back       12      A. Usually, yes.
    13 and implemented our new program. So             13      Q. And do they continue to this
    14 there was a lot of activity on this             14 day?
    15 subject matter.                                 15      A. Yes.
    16      Q. Do you know why the HDMA                16      Q. Do you know if there was one
    17 would have been having a meeting with the       17 in 2016?
    18 DEA at this time?                               18      A. I don't know if it's 2016 or
    19           MR. NICHOLAS: Object to the           19 2017, but they have them every two years.
    20      form.                                      20      Q. Okay. Does anyone take
    21           THE WITNESS: As I                     21 notes at these meetings?
    22      indicated, at that time, they              22      A. I don't know if HDA as --
    23      would meet regularly with them; if         23 does that or not. I don't know.
    24      not every six months, every year.          24      Q. Do you direct any of your
                                            Page 307                                          Page 309
     1      I don't know if this is a regular          1  staff members to take notes of the
     2      meeting that they have to discuss          2  meetings if you don't attend?
     3      issues with distributors or                 3      A. They would -- I would assume
     4      distributors wanting                        4 they would take notes. DEA usually
     5      clarification.                              5 provides the slides that they produce at
     6          I'm not really sure what the            6 the industry conferences. I'm not sure
     7      nexus of this meeting was about.            7 if they put them on their website -- I'm
     8 BY MR. PIFKO:                                    8 not sure if they put them on their
     9      Q. Did you ever attend DEA                  9 website or not.
    10 conferences?                                    10      Q. Do you discuss the
    11      A. Yes.                                    11 presentations or the conferences with
    12      Q. How often does the DEA put              12 other members of the HDMA?
    13 on conferences?                                 13      A. Do we discuss the DEA
    14      A. I believe every other year              14 conferences with HDMA members? Most of
    15 for distributors, and then the other            15 them are usually there. I shouldn't say
    16 years pharmacy practitioners. I'm not           16 all of them, but a lot of the members are
    17 positive about that.                            17 there at the DEA conference.
    18          But I know our meetings                18      Q. So you meet with each other
    19 are -- usually every two years, DEA will        19 while you're at these conferences?
    20 have an industry meeting for                    20 You're there together?
    21 distributors.                                   21      A. Yes.
    22      Q. Do you always attend those?             22      Q. Do you discuss diversion
    23      A. I attended a lot of them                23 control while you're at these
    24 earlier on. I probably haven't attended         24 conferences?


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     1         MR. NICHOLAS: I'm going to               1      Q. Do you know if he still
     2     just object to the questions, only           2 works at Cardinal Health?
     3     to the extent that the witness               3      A. He does not.
     4     said he hasn't been to one of                4      Q. Does he work for another
     5     these conferences himself since              5 distributor, do you know?
     6     2009 or maybe 2011.                          6      A. He's retired.
     7         So I want to make sure the               7      Q. How about Anita Ducca, do
     8     record is clear that we're, you              8 you know who that is?
     9     know -- he's not talking about --            9      A. I believe -- yes, I do.
    10     he can only talk about what he can          10      Q. Who is she?
    11     talk about.                                 11      A. I believe she's vice
    12         Go ahead.                               12 president of regulatory affairs for HDMA.
    13         THE WITNESS: Years back,                13      Q. So then Brian sends this to
    14     yeah, we would talk about                   14 Steve Reardon, and says, Steve, pasted
    15     regulatory issues or how we do              15 below please find the summary of HDMA's
    16     things or, you know, what -- those          16 meeting with the DEA last Friday. Please
    17     type of things.                             17 let me know if you need anything else.
    18 BY MR. PIFKO:                                   18          Do you see that?
    19     Q. Is there a meeting through               19      A. Yes.
    20 the HDMA, after these conferences, where        20      Q. And then it's got a summary
    21 the members get together and discuss what       21 of the meeting here.
    22 was said at the conference and their            22          It says, Key takeaways from
    23 views on the information that the DEA           23 the meeting were -- do you see where that
    24 might have shared at the conference?            24 is?

                                            Page 311                                           Page 313
     1          MR. NICHOLAS: Same                      1      A. Yes.
     2      objection for the same reason.              2      Q. DEA's policy was to expect
     3          THE WITNESS: My                         3 more than just reporting suspicious
     4      recollection was that, you know,            4 orders. If there was a suspicious order,
     5      there would be discussions prior            5 the distributor should either stop the
     6      to the meetings if there's                  6 delivery or should evaluate the customer
     7      questions that we wanted to bring           7 further before delivering it.
     8      up, as an industry.                         8          Do you see that?
     9          I don't recall if there was             9      A. Yes.
    10      a structured debrief or anything           10      Q. Did you have an
    11      like that after.                           11 understanding, at that time, that that
    12 BY MR. PIFKO:                                   12 was DEA's position?
    13      Q. Let's look back at                      13      A. Yes. This was the program
    14 Exhibit-11.                                     14 that we had just negotiated.
    15          It says here -- well, first,           15      Q. It says, Simply complying
    16 do you know who Brian Cherico is?               16 with the suspicious orders regulatory
    17      A. I'm not familiar with Brian.            17 requirement does not mean, in the
    18      Q. How about Steve Reardon?                18 agency's view, that the registrant is
    19      A. Yes.                                    19 maintaining an effective program to
    20      Q. Who is Steve Reardon?                   20 detect and prevent diversion.
    21      A. He was -- I don't know if               21          Do you see that?
    22 he's director or senior director or vice        22      A. Yes.
    23 president of regulatory. I've known him         23      Q. Did you have an
    24 for quite some time.                            24 understanding that that was the DEA's


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     1 position at the time?                           1       Q. Upon receiving this e-mail,
     2      A. As I previously indicated,              2  did AmerisourceBergen take any steps to
     3 there's many requirements to have                3 respond to the idea that DEA did not have
     4 adequate controls to prevent diversion,          4 adequate resources to inspect pharmacies
     5 other than just to report a suspicious           5 and, therefore, it was important for them
     6 order, yes.                                      6 to, quote, know their customer?
     7      Q. It then says, DEA indicated              7           MR. NICHOLAS: Object to the
     8 that they did not have the resources to          8      form.
     9 inspect every pharmacy; therefore, it was        9           THE WITNESS: No. This
    10 important for the distributor to, quote,        10      is -- like I indicated previously,
    11 know their customers, end quote.                11      this is maybe a couple of weeks
    12          Do you see that?                       12      after we negotiated our program
    13      A. I see that.                             13      which contained the "know your
    14      Q. Did you have an                         14      customer." So there's no use to
    15 understanding that that was the DEA's           15      respond to this. This is our
    16 position at the time?                           16      program.
    17      A. I've never seen it stated as            17 BY MR. PIFKO:
    18 such, that a lack of resources by DEA           18      Q. Let's go to the next page.
    19 imposes a requirement upon a registrant         19           It says, DEA provided
    20 over and above their regulatory                 20 examples of what a wholesale distributor
    21 responsibilities.                               21 should do to, quote, know their
    22      Q. Well, they sent this e-mail             22 customers, end quote, and what to look
    23 to you saying this in 2007.                     23 for.
    24      A. Yes.                                    24           Do you see that?
                                            Page 315                                          Page 317
     1      Q. Do you recall discussing                1      A. Yes. I see that, yes.
     2 that with anyone?                               2      Q. Do you recall getting
     3      A. No.                                      3 guidance from the DEA on what you should
     4      Q. Do you recall being shocked              4 do to know your customers?
     5 that that was a new position of the DEA          5         MR. NICHOLAS: Object to the
     6 of which you weren't familiar with?              6     form. It seems like you'd want to
     7      A. No.                                      7     call his attention to the
     8      Q. Okay. So that's consistent               8     additional sentences in the
     9 with the DEA's position as far as you            9     paragraph to help answer the
    10 knew at the time?                               10     question.
    11          MR. NICHOLAS: Object to the            11         THE WITNESS: As I
    12      form.                                      12     indicated, we had had these
    13          THE WITNESS: You had stated            13     discussions with the DEA in
    14      that -- in our negotiation, they           14     developing our program and the
    15      wanted us to enhance our due               15     discussions about the form, yes.
    16      diligence process. What I don't            16 BY MR. PIFKO:
    17      recall them saying is that we              17     Q. Did you understand that the
    18      can't -- we don't have resources           18 DEA wanted you to inspect pharmacies?
    19      to do this, so we want you to do           19     A. Part of our due diligence
    20      that. I don't recall that.                 20 program was to have a site visit and
    21          I recall them wanting us to            21 complete a form, yes.
    22      enhance our due diligence process,         22     Q. This is what -- the new
    23      yes.                                       23 customer onboarding you talked about?
    24 BY MR. PIFKO:                                   24     A. Correct.
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     1      Q. Did you have an
     2 understanding that you should inspect
     3 customers who are existing customers?
     4      A. No.
     5      Q. It says, They -- referring
     6 to the DEA -- also mentioned such actions
     7 as, quote, doing Google searches, end
     8 quote, to determine if the pharmacy's
     9 name was affiliated with an Internet site
    10 and getting information from the state as
    11 to the nature and number of prior legal
    12 actions against a pharmacy.
    13          Do you see that?
    14      A. Yes.




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     6 BY MR. PIFKO:
     7      Q. It says, towards the bottom,
     8 second-to-last bullet point, DEA also
     9 indicated that they were not going to
    10 make a decision for the wholesale
    11 distributor as to when an order was
    12 suspicious. They feel this is up to the
    13 distributor.
    14          Do you see that?
    15      A. Yes.
    16      Q. Did you understand that the
    17 determination of whether an order was
    18 suspicious was up to you?
    19      A. Yes.
    20      Q. The last bullet point says,
    21 DEA suggested that distributors should
    22 check on the pharmacy's prescribing
    23 physicians. They pointed to some states
    24 having online systems by which a

                                             Page 323                       Page 325
     1 distributor could check to see if a
     2 prescribing physician had a valid DEA
     3 registration. DEA suggested that
     4 distributors ask who the doctors are that
     5 are prescribing, where the pharmacy is
     6 geographically with respect to its
     7 prescribing doctors, and the patient
     8 population.
     9          Do you see that?
    10      A. Yes.




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                                                       1         (Whereupon, a brief recess
                                                       2     was taken.)
                                                       3           - - -
                                                       4         VIDEO TECHNICIAN: We're
                                                       5     back on record at 3:26 p.m.
                                                       6            - - -
                                                       7         (Whereupon, a discussion off
                                                       8     the record occurred.)
                                                       9           - - -
                                                      10         (Whereupon, Amerisource
                                                      11     Bergen-Zimmerman Exhibit-12,
                                                      12     MNKT1_0000291614-1620, was marked
                                                      13     for identification.)
                                                      14           - - -
                                                      15 BY MR. PIFKO:
                                                      16     Q. I've just handed you what's
                                                      17 marked as Exhibit-12. It's a document
                                                      18 Bates labeled MNKT1_0000291614 through --
    19      Q. Do you recall taking any               19         MR. CLUFF: This is another
    20 action, as a result of receiving this          20     one --
    21 e-mail describing the DEA's position on        21 BY MR. PIFKO:
    22 the issues we just discussed?                  22     Q. -- 1620.
    23          MR. NICHOLAS: Object to the           23         MR. CLUFF: -- where we
    24      form.                                     24     obtained permission from
                                           Page 327                                             Page 329
     1         THE WITNESS: I'm not sure               1      Mallinckrodt's counsel prior to
     2     what action -- I don't recall               2      its use today.
     3     getting the e-mail, so I don't              3           MR. NICHOLAS: Okay.
     4     recall reading the e-mail and then          4 BY MR. PIFKO:
     5     any action.                                 5      Q. Could you take a minute to
     6         This is two weeks after we              6 take a look at this document, please?
     7     put our program in place, which is          7      A. Yes.
     8     pretty much the points that                 8      Q. Let me know when you're
     9     they're hitting on.                         9 done.
    10         And I think this is in                 10           I was only going to ask you
    11     September. And I spoke at their            11 about a couple of things on here, in the
    12     conference, I think it was                 12 interest of time. Feel free to look at
    13     November, and covered pretty much          13 it, but I can direct you to the couple of
    14     these same points. So our program          14 questions.
    15     was already meeting these                  15           Have you seen this document
    16     requirements.                              16 before?
    17         MR. NICHOLAS: Mark before              17      A. I don't recall seeing it
    18     you go to another document, it's           18 before.
    19     been two hours. Can we take a              19      Q. It says, HDMA, DMC expo,
    20     break?                                     20 2011.
    21         MR. PIFKO: Sure.                       21           Do you know what an HDMA,
    22         VIDEO TECHNICIAN: Going off            22 DMC expo is?
    23     the record. 3:05 p.m.                      23      A. HDMA has an annual
    24            - - -                               24 management conference, I'm assuming


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     1 that's what they're referring to.               1 interacted with before?
     2      Q. When you were on -- you've              2      A. I have.
     3 been -- you've had a role with respect to       3      Q. It says she's chief policy
     4 the HDMA for a long time now, right?            4 and liaison, Drug Enforcement
     5 You've had different roles.                     5 Administration.
     6           I think -- I forget, but you          6      A. Correct.
     7 were on one committee and then you're on        7      Q. What did she do, as far as
     8 some other committee now, right?                8 your interactions with her?
     9      A. That's correct.                         9      A. She would be one, if we had
    10      Q. So you've always had an                10 a policy question or a process question,
    11 affiliation with the HDMA?                     11 that we would either write to her or call
    12      A. Yes.                                   12 her.
    13      Q. Have you attended this                 13      Q. It says here, Cathy gave a
    14 conference in the past?                        14 brief overview of hot topics current
    15      A. I have.                                15 within the DEA.
    16      Q. Do you believe you attended            16          Do you see that?
    17 this one?                                      17      A. Yes.
    18      A. I may have. It's like with             18      Q. In conferences -- in HDMA
    19 the other one, I don't -- I haven't            19 conferences you do remember attending, do
    20 attended them the last -- for years. I         20 you remember the DEA presenting current
    21 just don't know when -- when I stopped         21 topics of interest to the members of the
    22 attending.                                     22 industry at these conferences?
    23      Q. You see at the top here, it            23      A. Yes. There was usually a
    24 says, Attendees included                       24 segment that DEA presented at.

                                           Page 331                                           Page 333
     1 AmerisourceBergen, Cardinal, H.D. Smith,        1      Q. One of these, if you scroll
     2 McKesson, Lilly, Johnson & Johnson,             2 way down to the bottom,
     3 Purdue, Sanofi, Aventis, AmeriCares and         3 second-to-the-last bullet point, Increase
     4 many more.                                      4 of ER visits are 97 percent contributable
     5          Do you see that?                       5 to pharmaceuticals; opioids are the most
     6       A. Yes.                                   6 frequent.
     7       Q. So you believe you would               7          Do you see that?
     8 always send someone to these conferences        8      A. Yes.
     9 if you didn't attend yourself?                  9      Q. Do you recall that being a
    10       A. Yes.                                  10 topic of discussion within the industry
    11       Q. I just want to know, I want           11 in 2011?
    12 to ask you about your familiarity with         12          MR. NICHOLAS: Object to the
    13 some of the topics that were discussed         13      form.
    14 here.                                          14          THE WITNESS: No.
    15          This is -- the notes here             15 BY MR. PIFKO:
    16 are about a specific DEA session that          16      Q. Do you recall discussing
    17 occurred on March 7th at this conference.      17 that with anyone at the HDMA at any
    18          Do you see that just on the           18 point?
    19 first page at the top?                         19      A. I don't recall discussions
    20       A. Yes. ^^                               20 regarding emergency room visits, no.
    21       Q. Do you know who Cathy                 21      Q. Do you have any reason to
    22 Gallagher is?                                  22 dispute this fact?
    23       A. I do.                                 23          MR. NICHOLAS: Object to the
    24       Q. Is that someone you've                24      form.
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     1          THE WITNESS: I'm assuming             1       attorney-client privilege.
     2      that these are bullet points based        2           Otherwise, you can answer.
     3      upon DEA slides. So, I mean, this          3          THE WITNESS: No.
     4      is what DEA presented.                     4 BY MR. PIFKO:
     5 BY MR. PIFKO:                                   5      Q. Aside from communications
     6      Q. Let's turn to the next page.            6 with the HDMA and this conference, are
     7          Look at the heading, Rogue             7 you familiar with the idea of migration?
     8 Pain Clinics in Florida.                        8          MR. NICHOLAS: Objection.
     9          Do you see that?                       9      Outside the scope of the 30(b)(6).
    10      A. Yes.                                   10          THE WITNESS: I'm not -- in
    11      Q. It talks about Operation               11      what context?
    12 Pill Nation, it looks like some sort of        12 BY MR. PIFKO:
    13 enforcement initiative.                        13      Q. Well, okay, you're the top
    14          And then it says, Problem             14 dog with respect to the CSRA and
    15 now is migration, in quotes, vast              15 compliance at the company.
    16 majority of patients are visiting Florida      16          And I just want to know, in
    17 from out of state.                             17 serving in that role at the company, if
    18          It mentions various states,           18 this idea of out-of-state people going to
    19 including Ohio.                                19 different states to buy pills and
    20          Do you see that?                      20 migrating them back to their hometown, if
    21      A. Yes.                                   21 that's something that you are familiar
    22      Q. Do you recall ever                     22 with?
    23 discussing the topic of migration amongst      23      A. I've seen articles that
    24 members of the industry or with HDA?           24 reference that.

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     1           MR. NICHOLAS: Objection.             1      Q. When do you believe you've
     2      Not to the form, but to the fact          2  seen articles about that?
     3      that I think this is completely            3     A. I can't cite specific ones.
     4      outside the scope of the 30(b)(6),         4     Q. How about general ones?
     5      unless you can tell me --                  5     A. I can't cite general ones.
     6           MR. PIFKO: He's the had               6     Q. So you can't cite any is
     7      representative. I believe you              7 what you're saying?
     8      designated him for that topic.             8          MR. NICHOLAS: You're asking
     9           THE WITNESS: I don't                  9     him to cite an article?
    10      recall.                                   10 BY MR. PIFKO:
    11 BY MR. PIFKO:                                  11     Q. You've referenced that
    12      Q. Did you undertake any                  12 you've seen articles, but you can't
    13 activities, in preparing for this              13 identify a specific article, correct?
    14 deposition, to familiarize yourself with       14     A. Correct.
    15 HDMA presentations?                            15     Q. When do you believe you
    16      A. I did not review any HDMA              16 might have first heard of the idea of
    17 presentations.                                 17 migration?
    18      Q. Did you talk to anybody to             18          MR. NICHOLAS: Objection.
    19 familiarize yourself with                      19     Outside the scope.
    20 AmerisourceBergen's role in participating      20          Are you asking him in the
    21 in HDMA-related events?                        21     30(b)(6) context or otherwise?
    22           MR. NICHOLAS: Hold on.               22          MR. PIFKO: Individually.
    23      I'll object only to the extent            23          MR. NICHOLAS: Individually.
    24      that this may invade the                  24          Go ahead.
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     1          THE WITNESS: Was it ever
     2      discussed, the term migration, as
     3      you're stating it, of people that
     4      were getting prescriptions filled
     5      and then -- from out of state? I
     6      mean, I had read articles on that
     7      and I was aware of it.
     8 BY MR. PIFKO:
     9      Q. Okay. So migration is not a
    10 term that you're familiar with, but you
    11 are familiar with the idea of someone
    12 traveling to a state and getting a
    13 prescription and exporting it back to
    14 somewhere else, correct?
    15          MR. NICHOLAS: Object to the
    16      form.
    17          THE WITNESS: The specific
    18      information that I had on that, on
    19      the articles, was that -- whether
    20      they were referring to some
    21      arrests that were made by some
    22      individuals who had gotten
    23      prescriptions filled in another
    24      state, and they arrested them in
                                           Page 339                         Page 341
     1    another state. If that makes
     2    sense.
     3 BY MR. PIFKO:




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                                                 1      question.
                                                 2           THE WITNESS: You have to
                                                 3      ask the person that's performing
                                                 4      that function.
                                                 5 BY MR. PIFKO:
                                                 6      Q. Who is responsible for
                                                 7 performing that function currently?
                                                 8      A. David May is the one who
                                                 9 oversees that department.
                                                10      Q. So someone under him would
                                                11 be responsible for doing that?
                                                12      A. Yes.
                                                13      Q. Okay. David May joined the
                                                14 company in 2014.
                                                15           Who served in his role prior
                                                16 to him?
                                                17      A. Ed Hazewski.
                                                18      Q. If I wanted to know, for an
                                                19 earlier time period, what the company's
                                                20 practices were with respect to what they
                                                21 look at, with respect to prescribing
                                                22 physicians, would I ask him?
                                                23      A. Yes.
                                                24      Q. And how far back was his
                                     Page 343                                           Page 345
                                                 1 tenure in that position?
                                                 2      A. 2008, I believe. Somewhere
                                                 3 around there.
                                                 4      Q. Is he still with the
                                                 5 company?
                                                 6      A. Yes.
                                                 7      Q. What's his current role?
                                                 8      A. He's director diversion
                                                 9 control.
                                                10      Q. In obtaining information
                                                11 about a pharmacy, does AmerisourceBergen
                                                12 investigate the type of doctor who is
                                                13 writing prescriptions in comparison to
                                                14 the type of pills he's prescribing, he or
                                                15 she is prescribing?
                                                16           MR. NICHOLAS: Hold on.
                                                17      I'll object to the form. I also
                                                18      would appreciate it if you would
                                                19      put this into some time frame.
    20 BY MR. PIFKO:                            20           MR. PIFKO: For the time
    21     Q. How would I find that             21      period for which you're a
    22 information out?                         22      30(b)(6).
    23        MR. NICHOLAS: Objection.          23 BY MR. PIFKO:
    24     Object to the form of the            24      Q. Let me ask the question,
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     1 just to get a cleaner record.                   1          Go ahead.
     2          During the time from prior             2          THE WITNESS: I'm not
     3 to -- from -- prior to 2015, in obtaining       3      understanding your question.
     4 information about a pharmacy's                  4 BY MR. PIFKO:
     5 prescribing physicians, does                    5      Q. I'm trying to assess
     6 AmerisourceBergen undertake any effort to       6 whether, in evaluating activity at a
     7 evaluate the nature of the physician in         7 pharmacy, AmerisourceBergen considers the
     8 comparison with the nature of the               8 fact that a large volume of prescriptions
     9 medicine that's being prescribed?               9 are being written by an out-of-area
    10          MR. NICHOLAS: Object to the           10 doctor for that pharmacy?
    11      form.                                     11          MR. NICHOLAS: Objection.
    12          THE WITNESS: I don't know             12          THE WITNESS: I would need
    13      what medicine -- we get the top           13      to know the totality of the
    14      prescribers for the form, but it          14      information. It goes back to a
    15      doesn't indicate what medicines           15      hypothetical of giving me a
    16      they're prescribing.                      16      specific, if X then Y. I can't
    17 BY MR. PIFKO:                                  17      give you that. I don't know.
    18      Q. Do you ask, with respect to            18          I don't know if the pharmacy
    19 opioids or controlled substances -- let        19      is on the border of -- he's in one
    20 me just -- with respect to controlled          20      state and the pharmacy is across
    21 substances, do you ask who the top             21      the border. I don't know. I
    22 prescribers are of controlled substances?      22      don't know.
    23          MR. NICHOLAS: Objection.              23 BY MR. PIFKO:
    24          THE WITNESS: I don't know             24      Q. I'm asking a more general
                                           Page 347                                            Page 349
     1      exact -- if that's the wording of          1 question.
     2      the question. I don't know.                2         Is that -- is that --
     3 BY MR. PIFKO:                                   3 generically, is that information that you
     4      Q. So you don't know if the                4 would seek out, or is that something that
     5 question just asks for the top                  5 you're not interested in?
     6 prescribing physicians for all things           6         MR. NICHOLAS: I'll object
     7 that they sell, or if it's just for             7     to the form of the question.
     8 controlled substances?                          8         THE WITNESS: I would have
     9      A. Correct.                                9     to defer to the people that are
    10      Q. Based on what you know,                10     doing the checks on the
    11 would it be a red flag if a pharmacy was       11     prescribers.
    12 writing -- filling a substantial number        12 BY MR. PIFKO:
    13 of prescriptions from an out-of-area           13     Q. Let's talk a little bit more
    14 doctor?                                        14 about this document, Exhibit-12.
    15          MR. NICHOLAS: Object to the           15         It says, below the migration
    16      form.                                     16 discussion, Identifying a rogue clinic.
    17          THE WITNESS: Again, I don't           17         Do you see that?
    18      know the specific circumstances.          18     A. Yes.
    19      I don't know.                             19     Q. Cash-only operation.
    20 BY MR. PIFKO:                                  20         Do you see that?
    21      Q. That's not something that              21     A. Yes.
    22 you're familiar with?                          22     Q. Does AmerisourceBergen
    23          MR. NICHOLAS: That's not              23 evaluate the percentage of cash versus
    24      what he said. Objection.                  24 insurance payments that are made to a


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     1 pharmacy with respect to controlled              1      A. We have a presentation that
     2 substances?                                      2 they go through of some of -- long lines,
     3          MR. NICHOLAS: Object to the             3 a lot of cash transactions. There's a
     4      form.                                       4 whole host of things that we ask them to
     5          THE WITNESS: We -- part of              5 take a look at.
     6      the 590 form has that information.          6      Q. And then what do you do with
     7 BY MR. PIFKO:                                    7 that information if they report it back
     8      Q. Do you do anything to verify             8 to you?
     9 that information, like check accounting          9      A. If they report it back to
    10 records from a pharmacy?                        10 us, we would investigate.
    11          MR. NICHOLAS: Object to the            11      Q. What would an investigation
    12      form.                                      12 entail? Who would take that up?
    13          THE WITNESS: We do not have            13          MR. NICHOLAS: Let me just
    14      any way to confirm whether people          14      interpose an objection to make
    15      are paying cash or not.                    15      sure I understand the time frame
    16 BY MR. PIFKO:                                   16      that we're talking about and
    17      Q. It says down here, Drugs                17      whether he's talking about as an
    18 prescribed are cocktail drugs.                  18      individual or in his 30(b)(6)
    19          Do you see that?                       19      capacity.
    20          Oxy/hydro/Xanax. Do you see            20 BY MR. PIFKO:
    21 that?                                           21      Q. In his 30(b)(6) capacity is
    22      A. Yes.                                    22 what I'm asking.
    23      Q. Do you know what                        23          MR. NICHOLAS: 2007 to 2014.
    24 oxy/hydro/Xanax is referring to?                24          THE WITNESS: And what was
                                            Page 351                                           Page 353
     1      A. I do not.                                1      your question? I'm sorry.
     2      Q. Oxycodone, hydrocodone and               2 BY MR. PIFKO:
     3 Xanax, does that sound right?                    3      Q. So we talked about efforts
     4      A. I mean, I see those -- that              4 that the company may undertake to have
     5 on here. I'm not sure what they're               5 its sales associates observe signs of
     6 referring to as "cocktail."                      6 diversion at a pharmacy, okay?
     7      Q. Does AmerisourceBergen                   7      A. Yes.
     8 evaluate whether a pharmacy is filling           8      Q. So I asked, if a sales
     9 multiple prescriptions at one time for           9 associate reports back to the company,
    10 certain combinations of controlled              10 during the time period for which you're a
    11 substances?                                     11 30(b)(6) representative, what does the
    12      A. We don't have that                      12 company do with that information?
    13 information. We don't have patient -- or        13      A. We would investigate.
    14 prescriber dispensing information.              14      Q. And is there a specific
    15      Q. It talks about site visits              15 department who is responsible for
    16 in the next line.                               16 investigating it?
    17          Do you see that?                       17      A. It could be the diversion
    18      A. Yes.                                    18 control department. It could be the
    19      Q. Do you train your sales                 19 security group. It could be our
    20 associates to observe signs of diversion        20 consultant that we utilize. It could be
    21 when they are at a customer site?               21 any of those areas.
    22      A. Yes.                                    22      Q. Is there a set way that you
    23      Q. What do you train them to               23 decide who is going to investigate it?
    24 look for?                                       24      A. It depends on the
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     1 circumstances, location, those type of           1 activity?
     2 criteria.                                        2          MR. NICHOLAS: Same
     3      Q. So you evaluate the                      3      objection. And objection to form.
     4 circumstances and location of the                4          THE WITNESS: It would --
     5 incident, and that's how you decide who          5      the time frame you're talking
     6 is going to investigate it?                      6      about, it would be in our
     7           MR. NICHOLAS: Object to the            7      investigative -- investigation
     8      form.                                       8      records.
                                                        9 BY MR. PIFKO:
                                                       10      Q. Is there a specific name?
                                                       11 Just investigative records?
                                                       12          MR. NICHOLAS: Object to the
                                                       13      form.
                                                       14          Go ahead.
    15 BY MR. PIFKO:                                   15          THE WITNESS: It's where we
    16      Q. Can you identify any                    16      maintain our investigations, yes.
    17 occasions where a sales associate, during       17 BY MR. PIFKO:
    18 the relevant time period for which you          18      Q. Have you ever heard the term
    19 are a 30(b)(6), has identified suspicious       19 "due diligence files"?
    20 conduct and the company conducted an            20      A. Yes.
    21 investigation?                                  21      Q. Is that the same thing as
    22      A. I'd have to result back to              22 your investigation records, or is that
    23 those records. I don't --                       23 something different?
    24      Q. What records would I look at            24      A. It could be. There could be
                                            Page 355                                           Page 357
     1 to know that information?                        1 a record of the investigations within the
     2          MR. NICHOLAS: Let me make               2 due diligence file. But it also could be
     3      sure I clarify that you're talking          3 in an investigation file, depending upon
     4      about the Track 1 jurisdictions             4 the type and scope of the investigation.
     5      now, right?                                 5      Q. Who is responsible for
     6          MR. PIFKO: Well, I'm                    6 maintaining investigation files at the
     7      talking about their policies and            7 company?
     8      procedures in general.                      8      A. Bruce Gundy.
     9          MR. NICHOLAS: But you asked             9      Q. How long has he had that
    10      him about identifying particular           10 responsibility?
    11      instances. So I assume that we're          11      A. During the scope of 2007 to
    12      talking about Track 1                      12 2014.
    13      jurisdictions; is that correct?            13      Q. Okay. Do you know who has
    14          MR. PIFKO: I was talking               14 that responsibility currently?
    15      about any jurisdiction.                    15      A. Bruce Gundy, same person.
    16          MR. NICHOLAS: Well, then, I            16      Q. Does AmerisourceBergen
    17      object. It's overbroad and not             17 believe it's everybody in the company's
    18      within the scope of the deposition         18 responsibility to prevent diversion?
    19      at all.                                    19          MR. NICHOLAS: Object to the
    20          Go ahead.                              20      form. It's an unfair question.
    21 BY MR. PIFKO:                                   21          Go ahead.
    22      Q. So my question was, what                22          THE WITNESS: We believe
    23 records would I look at to know whether a       23      that everyone has a responsibility
    24 sales associate had reported suspicious         24      for compliance and need to conduct
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     1      themselves such.                           1     form.
     2 BY MR. PIFKO:                                   2         THE WITNESS: When the
     3      Q. Do you know if your sales               3     premise of your question is if
     4 associates receive bonuses from hitting         4     they're bonus driven, I don't know
     5 sales targets?                                  5     that. And as you -- and as I
     6      A. I don't know --                         6     indicated previously, all of our
     7          MR. NICHOLAS: Hold on.                 7     associates have a role in their
     8      This witness is not designated on          8     responsibility to make sure that
     9      the topic of compensation, as you          9     we operate in compliance,
    10      know. So he's not in a position           10     regardless of what their role is;
    11      to answer that. There are other           11     whether they're an order filler,
    12      people who can answer that                12     salesperson, record keeper.
    13      question, but not him.                    13 BY MR. PIFKO:
    14          MR. PIFKO: It's a                     14     Q. Okay. But if someone has a
    15      foundational question.                    15 compensation structure that's based on
    16          MR. NICHOLAS: Well, I mean,           16 increasing sales, do you see that as at
    17      this isn't his topic.                     17 odds with identifying diversion?
    18          MR. PIFKO: Okay. But he               18         MR. NICHOLAS: Objection.
    19      said he doesn't know, so we got           19     Not within the scope of his areas.
    20      the answer.                               20     And I object to the form of the
    21 BY MR. PIFKO:                                  21     question. It's a hypothetical
    22      Q. Do you think there's a                 22     question as well.
    23 potential conflict in having someone who       23         THE WITNESS: It's a
    24 is bonus driven be responsible for             24     hypothetical question.
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     1 identifying diversion?                          1         It goes back to the --
     2          MR. NICHOLAS: Objection.               2     you're giving me a set of
     3     Hold on. This isn't his area.               3     potential facts and asking me to
     4     It's not his area. You didn't               4     arrive at a conclusion. It would
     5     designate him for this area. You            5     depend upon the situation.
     6     have someone who you're going to            6         I don't think -- what you're
     7     depose on the issue of                      7     inferring, I don't think, is
     8     compensation.                               8     correct.
     9          MR. PIFKO: It has to do                9 BY MR. PIFKO:
    10     with suspicious order monitoring           10     Q. What am I inferring?
    11     processes and protocols.                   11         MR. NICHOLAS: Hold it.
    12          THE WITNESS: Can you                  12     Hold it. Object to the form of
    13     restate the --                             13     the question.
    14          MR. PIFKO: Yeah.                      14         The question is, what am I
    15          In any event, you can object          15     inferring? I object to the form
    16     to scope, and we can fight about           16     of the question. I suggest we
    17     the impart of his testimony later.         17     move on to some facts and not
    18 BY MR. PIFKO:                                  18     looking for sound bites.
    19     Q. So the question is, do you              19 BY MR. PIFKO:
    20 think there is a potential conflict in         20     Q. I asked you what you thought
    21 having someone who is bonus driven be          21 I was inferring.
    22 responsible for identifying diversion?         22         MR. NICHOLAS: Same
    23          MR. NICHOLAS: Same                    23     objections.
    24     objection. Also, object to the             24         THE WITNESS: Can you repeat
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     1       the question?                            1  BY MR. PIFKO:
     2 BY MR. PIFKO:                                  2       Q. That's what the document
     3       Q. I asked you, do you think              3 says, okay?
     4 there's a potential conflict in having          4           Do you dispute that it came
     5 someone who is bonus driven be                  5 from your computer?
     6 responsible for identifying diversion?          6           MR. NICHOLAS: Object to the
     7       A. My answer is no.                       7      form.
     8              - - -                              8           THE WITNESS: I don't know
     9           (Whereupon, Amerisource               9      if it came -- I mean, you're
    10       Bergen-Zimmerman Exhibit-13,             10      telling me it came from my
    11       ABDCMDL 00278212, was marked for         11      computer. I don't recall ever
    12       identification.)                         12      seeing this document.
    13             - - -                              13 BY MR. PIFKO:
    14 BY MR. PIFKO:                                  14      Q. Do you know what this
    15       Q. I'm handing you what is               15 document is about?
    16 marked as Exhibit-13. For the record,          16      A. I've never seen this
    17 it's a single-page document, Bates             17 document.
    18 labeled ABDCMDL 00278212. And the              18      Q. Your testimony is you've
    19 metadata reflects that it's from your          19 never seen this document?
    20 files, Mr. Zimmerman.                          20      A. I don't recall ever seeing
    21           Let me know when you're done         21 this document.
    22 reviewing it.                                  22      Q. Do you recall ever
    23       A. Okay.                                 23 discussing this with anyone?
    24       Q. Do you recall this document?          24           MR. NICHOLAS: Object to the
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     1      A. I do not.                              1        form.
     2      Q. Do you recall writing this             2            THE WITNESS: This document?
     3 document?                                       3 BY MR. PIFKO:
     4      A. No.                                     4       Q. The subject matter of this
     5      Q. Do you have any reason to               5 document.
     6 dispute that this is a true and correct         6       A. As we previously discussed,
     7 document that came from your files?             7 we talked about low-volume accounts, so
     8           MR. NICHOLAS: Object to the           8 I've had discussions regarding that.
     9      form.                                      9       Q. Do you see here it says --
    10           THE WITNESS: I don't know            10 it's talking about -- so it's talking
    11      where it came from.                       11 about those types of customers,
    12 BY MR. PIFKO:                                  12 low-volume, high-controlled substances
    13      Q. Well, you understand that in           13 customers.
    14 litigation, documents come with                14           It says, I'm rather
    15 information that tells you where they          15 concerned -- I'm in the middle of the
    16 came from, as far as whose computer, et        16 document.
    17 cetera? Do you understand that?                17           I'm rather concerned about
    18      A. Yes.                                   18 your pharmacy for a different reason.
    19      Q. Well, this came from your              19 Based on your overall volume with us,
    20 computer.                                      20 your percentage of C-II orders is high
    21           MR. NICHOLAS: I think the            21 and may be deemed suspicious by either
    22      hang up here is you're just               22 our OMP system or regulatory authorities.
    23      telling him stuff, and he has,            23 This puts your account with
    24      really, no way of knowing.                24 AmerisourceBergen at significant risk of


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     1 closure or exposure to regulatory and         1      A. Yes.
     2 enforcement agencies.                         2      Q. -- is, you don't have a
     3          Do you see that?                      3 position on whether it's appropriate to
     4      A. I do.                                  4 give guidance to a customer on how to
     5      Q. Do you recall being                    5 escape your suspicious order monitoring
     6 concerned about certain customers because      6 program?
     7 of their percentage of controlled              7         MR. NICHOLAS: Well, that is
     8 substances with respect to their overall       8     not what he said. I object to the
     9 volume?                                        9     characterization of his testimony.
    10          MR. NICHOLAS: Object to the          10     I object to the reference to the
    11      form.                                    11     jury, which is bullying and
    12          THE WITNESS: As I                    12     harassing.
    13      indicated, that was one of the           13         And why don't you just ask
    14      areas we were looking at, our            14     him a factual question?
    15      low-volume, higher-percentage            15         Go ahead.
    16      secondary accounts and whether           16         THE WITNESS: We don't give
    17      we -- you know, how we handled           17     guidance to our customers on how
    18      those accounts.                          18     to circumvent our system.
    19 BY MR. PIFKO:                                 19 BY MR. PIFKO:
    20      Q. Did you ever undertake                20     Q. Do you believe that it's
    21 efforts to report accounts for such           21 inappropriate to do so?
    22 activity?                                     22         MR. NICHOLAS: Object to the
    23          MR. NICHOLAS: Object to the          23     form.
    24      form.                                    24         THE WITNESS: Again, to do
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     1         THE WITNESS: Report in what           1       what?
     2     way?                                      2  BY MR. PIFKO:
     3 BY MR. PIFKO:                                  3      Q. To tell a customer how not
     4     Q. As being suspicious.                    4 to be caught by your system or the DEA's
     5     A. If they placed an order that            5 system for engaging in suspicious
     6 met our suspicious order criteria, we          6 activity.
     7 would have.                                    7          MR. NICHOLAS: Object to the
     8     Q. Do you think it's                       8      form.
     9 appropriate to provide guidance to a           9          THE WITNESS: Again --
    10 customer on how to circumvent your            10          MR. NICHOLAS: What DEA
    11 suspicious order monitoring program?          11      system are you talking about?
    12         MR. NICHOLAS: Object to the           12          THE WITNESS: Again, we have
    13     form.                                     13      a program that we implement and we
    14         THE WITNESS: I don't                  14      have our processes in place. And
    15     think -- I'm not sure what your           15      we don't -- and part of that
    16     question -- again, you're asking          16      process is not to tell customers
    17     me another hypothetical question          17      how to get around the system, or
    18     and asking me to give you a               18      however you worded it.
    19     response that -- again, I can't --        19          But that's not how our
    20     I'm not going to answer a                 20      program works.
    21     hypothetical.                             21 BY MR. PIFKO:
    22 BY MR. PIFKO:                                 22      Q. So here, after saying to
    23     Q. So your position, the jury             23 this category of customers, based on your
    24 is watching --                                24 overall volume with us, your percentage


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     1 of C-II orders is high and may be deemed        1      throughout the day.
     2 suspicious by either our OMP system or          2           MR. NICHOLAS: I'm speaking
     3 regulatory authorities, this document           3      to you. And I'm speaking for the
     4 then goes on to say, The way I see it is        4      record.
     5 that you have a couple of options.              5           THE WITNESS: I don't know
     6 First, you can make ABDC your primary           6      who this document was --
     7 wholesaler and shift all purchases to us.       7 BY MR. PIFKO:
     8 The second option is we arrange a               8      Q. That's not my question. I
     9 short-term transition process and you           9 didn't ask you who wrote the document, I
    10 stop buying controlled -- Schedule II          10 didn't ask you any of that.
    11 controlled substances from ABDC and shift      11           I asked you if this kind of
    12 them to whomever you're buying other           12 language is an appropriate communication
    13 products. The third option would be to         13 to a customer?
    14 do nothing, but this is not a feasible         14           MR. NICHOLAS: Objection to
    15 long-term decision.                            15      the form of the question.
    16          Do you see that?                      16           THE WITNESS: I don't know
    17      A. I see that.                            17      if -- I don't know if it's a
    18      Q. Do you think that's                    18      communication to a customer.
    19 appropriate guidance to give to a              19      You're asking me a question with a
    20 customer?                                      20      conclusion that this is a
    21          MR. NICHOLAS: Hold on.                21      communication to a customer. And
    22      Objection. You are                        22      you want me to answer the
    23      mischaracterizing the witness's           23      question. I don't know it's a
    24      testimony. The witness has said           24      communication.
                                           Page 371                                           Page 373
     1     he never -- he didn't write the             1 BY MR. PIFKO:
     2     document. He's never seen the               2      Q. If this is communicated to a
     3     document.                                   3 customer, is this an appropriate message
     4          So I object to the line of             4 to be communicated to a customer? It's a
     5     questions. This is not 30(b)(6)             5 simple question.
     6     material. I don't know why --               6           MR. NICHOLAS: Object to the
     7     it's not within --                          7      form of the question. Whether
     8          MR. PIFKO: You're over the             8      it's a simple question or not,
     9     top with your objections.                   9      it's not a fair question.
    10          MR. NICHOLAS: It's not                10 BY MR. PIFKO:
    11     within --                                  11      Q. AmerisourceBergen's position
    12          MR. PIFKO: Okay. Scope.               12 is you don't know if this is an
    13          MR. NICHOLAS: -- his                  13 appropriate type of conduct; is that what
    14     personal knowledge.                        14 I'm hearing from you?
    15          MR. PIFKO: Scope. Scope,              15           MR. NICHOLAS: That's not
    16     and all the objections you want to         16      what he said.
    17     make. You need to stop speaking            17           THE WITNESS: I don't know
    18     to the witness, okay?                      18      what -- who wrote it, who the
    19          MR. NICHOLAS: I'm not                 19      audience is, and what the
    20     speaking to the witness. I'm               20      conversation is. It says, Talking
    21     speaking to you.                           21      points.
    22          MR. PIFKO: You are. He's a            22           Is it -- either you bring us
    23     smart guy. Obviously, he picks up          23      your full business or we can't
    24     on this stuff. It has happened             24      sell you controls, that's the --
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     1      that's the option. Is that an             1      It's asked and answered.
     2      appropriate discussion? I think           2           THE WITNESS: It's the same
     3      so.                                       3      answer.
     4 BY MR. PIFKO:                                  4 BY MR. PIFKO:
     5      Q. How about telling someone              5      Q. I don't believe I've gotten
     6 that they can stop buying controlled           6 an answer, so I'm going to ask you again.
     7 substances from you and shift them to          7      A. Is it appropriate to tell a
     8 somebody else?                                 8 secondary customer that either they bring
     9          MR. NICHOLAS: Object to the           9 us their full book of business or we're
    10      form of the question. You're just        10 going to stop selling you controlled
    11      arguing.                                 11 substances? Is that your question?
    12          THE WITNESS: I think I               12      Q. I'm asking this message in
    13      answered your question.                  13 here.
    14 BY MR. PIFKO:                                 14           I'm asking if this message
    15      Q. You talked about the first            15 is an appropriate message to communicate
    16 suggestion. I'm asking about the second       16 to customers?
    17 one.                                          17           MR. NICHOLAS: Object to the
    18          MR. NICHOLAS: Object to the          18      form. Because that's how he's
    19      form. Object to the debating.            19      reading the message in here. So
    20          THE WITNESS: I answered one          20      he's answering --
    21      and two. One is bring us all your        21           MR. PIFKO: Again, you're
    22      business or, two, stop buying            22      coaching him.
    23      C-IIs from us.                           23           MR. NICHOLAS: No, I'm not.
    24 BY MR. PIFKO:                                 24      You're not listening to his
                                          Page 375                                          Page 377
     1     Q. And buy them from someone               1     answers.
     2 else? Do you think it's an                     2          MR. PIFKO: You're coaching
     3 appropriate --                                 3     him. And, honestly, if you keep
     4     A. Buy it from their primary               4     this up, I'm going to seek to have
     5 vendor.                                        5     you removed from defending any
     6     Q. So you think this is an                 6     depositions in this case, okay?
     7 appropriate message to send to people?         7          MR. NICHOLAS: That's fine.
     8         MR. NICHOLAS: Object to the            8          MR. PIFKO: It's fine to
     9     form of the question. It's not             9     object vigorously and be
    10     his message.                              10     passionate about your position.
    11         THE WITNESS: Is your                  11     But you're going way above and
    12     question is it appropriate for            12     beyond, and you've been doing it
    13     customers to buy from a                   13     all day long.
    14     wholesaler?                               14          And we are going to read the
    15 BY MR. PIFKO:                                 15     transcript and it's going to show
    16     Q. My question is, is this an             16     all the discussion you're having,
    17 appropriate message to communicate to         17     asking facts, telling me what to
    18 customers?                                    18     ask. That is not okay.
    19         MR. NICHOLAS: Object to the           19          MR. NICHOLAS:
    20     question. We're obviously                 20     Unfortunately --
    21     disagreeing as to what is the             21          MR. PIFKO: You look like
    22     "this." So it's an unfair                 22     you've been practicing long enough
    23     question.                                 23     to know that.
    24         But he's answered it anyway.          24          MR. NICHOLAS: If you're
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     1     telling me -- if you're telling             1      don't know what their inference
     2     me --                                       2      was in writing this.
     3          MR. PIFKO: I understand                 3 BY MR. PIFKO:
     4     it's a big case and you're                   4     Q. So you can't provide an
     5     stressed out.                                5 opinion about whether this is an
     6          MR. NICHOLAS: If you're                 6 appropriate message to send to somebody?
     7     telling me I look old, I'm                   7          MR. NICHOLAS: Object to the
     8     insulted.                                    8     form.
     9          MR. PIFKO: But you have to              9          THE WITNESS: And, again,
    10     conduct yourself accordingly.               10     it's a talking point, and it's not
    11          MR. NICHOLAS: I think                  11     being sent to anyone. I don't
    12     you're making a comment on my               12     know -- you're asking me to give
    13     personal look. You think I look             13     you an answer to something I don't
    14     old?                                        14     know about.
    15          MR. PIFKO: I don't think               15 BY MR. PIFKO:
    16     you look old. I think you're an             16     Q. All right. That's your
    17     established practitioner and I              17 position. That's fine.
    18     think you know better and you know          18              - - -
    19     that you know better. And you're            19          (Whereupon, Amerisource
    20     playing games here, and it needs            20     Bergen-Zimmerman Exhibit-14,
    21     to stop.                                    21     ABDCMDL 00000124-147, was marked
    22          MR. NICHOLAS: Are you going            22     for identification.)
    23     to let me say something?                    23             - - -
    24          MR. PIFKO: No, I'm not here            24 BY MR. PIFKO:

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     1      to ask you questions.                      1       Q. I'm handing you what is
     2           MR. NICHOLAS: Whether you             2  marked as Exhibit-14.
     3      do or not, I'm --                           3      A. Thank you.
     4           MR. PIFKO: No, you're not              4      Q. Bates labeled ABDCMDL
     5      entitled -- you're not the                  5 00000124 through 147.
     6      witness. You're not entitled to             6         According to the metadata on
     7      talk. You're just continuing the            7 this document, it has a doc date of
     8      problem right now.                          8 December 31st, 2007.
     9 BY MR. PIFKO:                                    9      A. Okay.
    10      Q. So I'm asking you, sir, you             10      Q. Have you seen this document
    11 read this document, you did, do you think       11 before?
    12 this is a message that is appropriate to        12      A. It looks like a
    13 communicate to consumers -- customers?          13 presentation.
    14           MR. NICHOLAS: Object to the           14      Q. Do you know what it's a
    15      form.                                      15 presentation for?
    16           THE WITNESS: I don't know             16      A. It says the sales associate
    17      what the message was. I don't              17 role.
    18      know who wrote the message. I              18      Q. And the sales associate role
    19      don't know who the audience of the         19 in what?
    20      message was. I don't know.                 20      A. In diversion control. I
    21           You're asking me to commit            21 mean, that's the title of the
    22      to something -- I don't know who           22 presentation.
    23      wrote this. I don't know the               23      Q. Is this something you
    24      talking points. I don't know -- I          24 reviewed in preparing for your


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     1 deposition?                                    1      A. That's correct. A lot of
     2      A. I believe I've seen a copy             2 the information is the same that we've
     3 of this, yes.                                  3 reviewed.
     4      Q. In your undertaking to                 4      Q. Let's look at Page ABDCMDL
     5 familiarize yourself with the company's        5 00000130.
     6 diversion control practices and policies,      6         Are you there?
     7 did you obtain an understanding of what        7      A. Yes.
     8 the purpose of this presentation was for?
     9      A. It was for the sales -- I
    10 believe it was for the sales group.
    11      Q. Do you know when it was
    12 given to them?
    13      A. I don't.
    14      Q. Do you know who would have
    15 given this presentation to them?
    16      A. I believe it was Ed
    17 Hazewski.
    18      Q. He was someone who was under
    19 your chain of authority?
    20      A. Yes.
    21      Q. At that time, was he a
    22 direct report to you?
    23      A. I don't believe so.
    24      Q. There was one person in
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                                                  8     Q.      Let's look at the next one.
                                                  9           Have you seen this before?
                                                 10       A. I don't recall seeing this
                                                 11 one before.
                                                 12       Q. Do you understand what it's
                                                 13 communicating here?
                                                 14       A. It's communicating that --
                                                 15 it's communicating that people are in
                                                 16 Florida getting their prescriptions
                                                 17 filled.
                                                 18       Q. And they're not from
                                                 19 Florida, right?
                                                 20           MR. NICHOLAS: Object to the
                                                 21       form. You're asking him now in
                                                 22       his individual capacity, right?
                                                 23       Because this is not part of a
                                                 24       30(b)(6).
                                      Page 403                                          Page 405
                                                  1          MR. PIFKO: It's a training
                                                  2      document about the company's
                                                  3      diversion policies.
                                                  4          MR. NICHOLAS: Object to the
                                                  5      scope. Object to the form.
                                                  6          Go ahead.
                                                  7          THE WITNESS: That's what
                                                  8      the comic infers.
                                                  9 BY MR. PIFKO:
                                                 10      Q. That they're out-of-state
                                                 11 people coming to Florida to buy pills,
                                                 12 right?
                                                 13      A. It doesn't say out of state.
                                                 14      Q. It says, tourists.
                                                 15 Tourists, thank God. May I suggest
                                                 16 restaurants? Hotels? Destinations?
                                                 17          And the guy says back, We're
                                                 18 just here to buy some pills -- some pain
                                                 19 pills.
                                                 20          So it's suggesting that
                                                 21 they're from out of state.
                                                 22      A. Suggesting they're tourists.
                                                 23      Q. And they came from out of
                                                 24 state to Florida, he has a shirt that


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      1 says Florida, to buy pills?                     1 BY MR. PIFKO:
      2          MR. NICHOLAS: Object to the            2      Q. It's what you said it was.
      3      form.                                      3      A. It's -- yes, a presentation
      4 BY MR. PIFKO:                                   4 to the sales group. Yes.
      5      Q. Is that what it's saying?               5      Q. So the company is
      6      A. It's not saying they're from            6 acknowledging that there are -- there is
      7 out of state. But that's what it's              7 an issue with people from out of state
      8 inferring, that tourists are buying pills       8 buying pills somewhere, agree?
      9 in Florida.                                     9          MR. NICHOLAS: Object to the
     10      Q. That's consistent with the             10      form.
     11 issue that we talked about in Exhibit-12,      11          THE WITNESS: It indicates
     12 do you recall that? The HDMA meeting           12      that that is another flag that
     13 with the DEA, people coming to Florida to      13      should be considered, correct.
     14 buy pills and take them to other states.       14 BY MR. PIFKO:
     15          Do you recall that?                   15      Q. This is a comic.
     16      A. Yes.                                   16          Does the company think that
     17      Q. This is consistent with that           17 diversion is a -- is funny?
     18 idea, right?                                   18          MR. NICHOLAS: Object to the
     19          MR. NICHOLAS: Object to the           19      form. That's a pretty obnoxious
     20      form.                                     20      question.
     21          THE WITNESS: That's --                21          THE WITNESS: Absolutely
     22      that's what this is inferring,            22      not.
     23      yes, this comic strip.                    23 BY MR. PIFKO:
     24 BY MR. PIFKO:                                  24      Q. Does the company take its
                                            Page 407                                          Page 409
      1       Q. So as of the date of this              1 diversion control practices serious?
      2 document, the company knew that that was        2     A. Yes.
      3 a concern, agree?                               3     Q. Do you know why they would
      4       A. It was another -- again, I             4 use a comic in a document like this to
      5 don't know who put this in here and what        5 communicate this message?
      6 the inference of the comic strip was.           6          MR. NICHOLAS: I'll object
      7 It's not a picture of the red flags like        7     to the form.
      8 the previous ones are.                          8          THE WITNESS: It's the slide
      9           But that's the inference, is          9     that's -- that's the slide that --
     10 that people were coming to Florida to get      10     I mean, I'm not sure what your
     11 their prescriptions filled.                    11     question is.
     12       Q. And then it says, Coming to           12          Why would they pick this
     13 a state near you.                              13     slide?
     14       A. That's the title.                     14 BY MR. PIFKO:
     15       Q. What does that mean?                  15     Q. And use humor to communicate
     16       A. I don't know.                         16 something serious like this.
     17           MR. NICHOLAS: Object to the          17          MR. NICHOLAS: I'll object
     18       form.                                    18     to the form and to the
     19 BY MR. PIFKO:                                  19     offensiveness of the question.
     20       Q. This is a company training            20          Go ahead.
     21 document about diversion control               21          THE WITNESS: I don't think
     22 practices, agree?                              22     it's depicted in humor. I think
     23           MR. NICHOLAS: Object to the          23     it's stating another red flag, if
     24       form.                                    24     you see people that are not from
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      1      the area getting their                    1  about that?
      2      prescription filled.                      2        A. No.
      3 BY MR. PIFKO:                                   3       Q. The last page has some
      4      Q. Did the company do anything             4 individuals.
      5 to address the potential for out-of-state       5           We talked about Ed?
      6 people potentially coming somewhere and         6       A. Yes.
      7 buying pills from a pharmacy?                   7       Q. Do you know who he is?
      8      A. We have no control over                 8       A. Ed Hazewski? Yes, director
      9 where people go and get their                   9 of diversion control.
     10 prescriptions filled. We don't know            10       Q. How about the other people
     11 where they come from.                          11 in here?
                                                       12       A. Dave Breitmayer was in the
                                                       13 diversion control group, as well as Kevin
                                                       14 Kreutzer. And I'm not sure if their
                                                       15 title is investigator or specialist, but
                                                       16 they're in the diversion control group,
                                                       17 as well as Joe Tomkiewicz.
                                                       18           MR. PIFKO: Let's take a
                                                       19       break.
                                                       20           VIDEO TECHNICIAN: Going off
                                                       21       the record. The time is 4:40 p.m.
                                                       22              - - -
                                                       23           (Whereupon, a brief recess
                                                       24       was taken.)
                                            Page 411                                         Page 413
                                                       1         - - -
                                                       2       VIDEO TECHNICIAN: We're
                                                       3    back on the record at 5:00 p.m.
                                                       4 BY MR. PIFKO:




     15      Q. Have you heard the term
     16 "blue highway" before?
     17      A. No.
     18      Q. You don't know what that is?
     19      A. I have not heard that term.
     20      Q. How about The Oxy Express,
     21 have you heard of that before?
     22      A. I'm not sure what it's in
     23 reference to, but --
     24      Q. You don't know anything
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     24   would you tell pharmacies in the area
                                                  Page 419                    Page 421




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                                                 22         MR. PIFKO: I'm going to
                                                 23     play a video.
                                                 24         (A video was shown.)
                                      Page 431                                          Page 433
                                                  1          MR. NICHOLAS: Before you
                                                  2      ask --
                                                  3 BY MR. PIFKO:
                                                  4      Q. Did you think --
                                                  5          MR. NICHOLAS: -- a
                                                  6      question, I'm going to interpose
                                                  7      an objection to the playing of
                                                  8      this video in this context in this
                                                  9      deposition.
                                                 10          I think it's totally
                                                 11      inappropriate, and I object to it.
                                                 12 BY MR. PIFKO:
                                                 13      Q. Did you think that you
                                                 14 should be providing protection to anyone
                                                 15 else other than AmerisourceBergen when
                                                 16 implementing your diversion control
                                                 17 practices?
                                                 18          MR. NICHOLAS: I object to
                                                 19      the form of the question. It's
                                                 20      outside the scope. It's an
                                                 21      inappropriate question. It
                                                 22      doesn't seek any information
                                                 23      that's pertinent to any of the
                                                 24      topics on your list. I object to
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      1    it.                                        1         And in order to do so, we
      2          THE WITNESS: Your question?          2     need to continue to do our
      3 BY MR. PIFKO:                                 3     business diligently and in
      4     Q. Having seen the video, do              4     compliance and in a safe -- in a
      5 you think that you should provide             5     safe manner, to ensure that
      6 protection to anyone else besides             6     product supply to the hospitals
      7 yourself when you're implementing your        7     and pharmacies and doctors is
      8 diversion control practices?                  8     available. So it's not just about
      9          MR. NICHOLAS: I'll object            9     AmerisourceBergen.
     10     to the form of the question. It          10 BY MR. PIFKO:
     11     mischaracterizes prior testimony.        11     Q. This is one of the biggest
     12          THE WITNESS: As I                   12 public health crises in America. And you
     13     indicated, that we take our              13 guys are in the center of it.
     14     responsibility very seriously,           14         Do you think that you could
     15     regardless of the video.                 15 have done more to protect the communities
     16          I understand about the              16 around you?
     17     opioid crisis, and it doesn't --         17         MR. NICHOLAS: I'll object
     18     it's impacted my family as well.         18     to the form of the question. It's
     19     It's impacted a lot of our               19     argument. It's unfair.
     20     employees as well. We understand         20         I'm going to let him answer.
     21     what the circumstances are.              21         THE WITNESS: I've
     22          And no, we aren't just about        22     explained -- I've explained the
     23     protecting AmerisourceBergen. We         23     process and the safeguards that we
     24     have a job to do. We have a job          24     have in place and the things that
                                          Page 435                                         Page 437
      1    to make sure that the medications          1     we've done and the training that
      2    that we receive are properly               2     we've done in this area.
      3    stored and secure, in order to             3         It's a crisis. I don't know
      4    make them available for customers          4     why, when we had a methamphetamine
      5    and patients that need them.               5     crisis, that there was call to
      6         These are -- these drugs are          6     action by legislature to include
      7    approved by the FDA. And we sell           7     additional requirements. I'm not
      8    them to licensed pharmacists who           8     sure why they didn't do that in
      9    fill prescriptions written by a            9     1990, '91, '92, all the way to
     10    licensed doctor.                          10     today. They issue a guidance --
     11         Again, I'm not -- what we do         11     they issue -- DEA has issued
     12    is to ensure that the integrity of        12     guidance letters.
     13    the product makes it to a licensed        13         And if it's a crisis, I
     14    pharmacy in order for the patient         14     would expect them to have a
     15    to have that product available.           15     call-to-arms and have everybody
     16    We implement our policy and               16     come to Washington, D.C. and --
     17    procedures to ensure that we don't        17     like we did with the chemicals,
     18    have diversion. And that is the           18     and create a solution, or at least
     19    responsibility we take, not just          19     work on a solution.
     20    because -- just looking out for           20         We are -- as a private
     21    AmerisourceBergen, we supply 30           21     industry, we are trying to do --
     22    percent of the -- 25 to 30 percent        22     we are not trying to do, we are
     23    of the products within the United         23     doing what we need to do to
     24    States.                                   24     protect the supply channel with
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      1     the information that we have and            1       for identification.)
      2     that's available to us.                     2             - - -
      3         And we take that very                    3 BY MR. PIFKO:
      4     seriously. I take that very                  4      Q. I'm handing you what has
      5     seriously. The company takes it              5 been marked as Exhibit-15.
      6     very seriously.                              6      A. Thank you.
      7 BY MR. PIFKO:                                    7      Q. For the record, this is a
      8     Q. Do you think that you have                8 March 2017 code of ethics and business
      9 any responsibility for the opioid crisis?        9 conduct of AmerisourceBergen, which was
     10         MR. NICHOLAS: Object to the             10 obtained from the company's website. I
     11     form of the question. It's                  11 just want to ask you a quick couple of
     12     outside the scope.                          12 questions about this.
     13         Go ahead.                               13          You're the chief compliance
     14         THE WITNESS: As I                       14 officer, right?
     15     indicated, that our responsibility          15      A. Correct.
     16     in the opioid crisis is to ensure           16      Q. You have responsibility --
     17     that those products that we buy             17          MR. NICHOLAS: These are in
     18     from the manufacturers that have            18      his individual capacity; is that
     19     been -- that have been approved by          19      right?
     20     DEA, through quotas to manufacture          20          MR. PIFKO: Yes.
     21     and distribute, and our job is to           21 BY MR. PIFKO:
     22     make sure when those opioids are            22      Q. You have responsibility for
     23     within our control, that we                 23 this document?
     24     maintain adequate security for              24      A. Yes.
                                             Page 439                                         Page 441
      1      those products, and recordkeeping.         1       Q. This document doesn't
      2          We also make sure that we              2  mention The Controlled Substances Act
      3      vet our customers that we sell to,          3 once.
      4      which are licensed pharmacies by            4          You can look through it, but
      5      the DEA and the Board of Pharmacy.          5 would you agree with me?
      6      And we distribute those products            6      A. I don't know. I mean, I can
      7      in a safe and secure manner.                7 read it.
      8 BY MR. PIFKO:                                    8      Q. I'll represent to you it
      9      Q. Do you think you've done                 9 doesn't refer to The Controlled
     10 enough?                                         10 Substances Act. You can look at the
     11      A. I think we are doing -- we              11 table of contents here, compliance with
     12 are always continuing to try to do more.        12 laws, Page I here.
     13 We're continually working with our              13          Is The Controlled Substances
     14 partners. We've been working with               14 Act one of the laws that's mentioned
     15 legislation to try to create solutions          15 here?
     16 that would impact distribution that may         16          MR. NICHOLAS: I'll object
     17 help in this situation. And we continue         17      to the form of the question.
     18 to do that.                                     18          You probably need to read
     19             - - -                               19      the entire document to really
     20          (Whereupon, Amerisource                20      answer a question like this.
     21      Bergen-Zimmerman Exhibit-15, No            21          But go ahead.
     22      Bates, March 2017                          22          THE WITNESS: What was your
     23      AmerisourceBergen Code of Ethics           23      question? I'm sorry.
     24      and Business Conduct, was marked           24 BY MR. PIFKO:


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      1     Q. It's got a discussion of                 1       remembers or knows.
      2 compliance with laws here in the table of       2            MR. PIFKO: You're coaching
      3 contents.                                        3      him.
      4     A. Okay.                                     4           MR. NICHOLAS: Well, this is
      5     Q. You agree that The                        5      just housekeeping. It's silly.
      6 Controlled Substances Act is not one of          6      It's stupid.
      7 those laws that's listed here?                   7           THE WITNESS: Your question
      8         MR. NICHOLAS: Object to the              8      was?
      9     form. I'll object to the form. I             9 BY MR. PIFKO:
     10     think the question is misleading.           10      Q. Is this a true and correct
     11         THE WITNESS: In the section             11 copy of the document that was --
     12     that says, Associates must comply           12      A. It appears to be. It
     13     with all applicable laws,                   13 appears to be.
     14     regulations and rules, including            14      Q. Okay. Is this from your
     15     but not limited to those described          15 files?
     16     below.                                      16           MR. NICHOLAS: Objection to
     17 BY MR. PIFKO:                                   17      the form.
     18     Q. Does it mention The                      18           THE WITNESS: I don't know
     19 Controlled Substances Act?                      19      where it came from.
     20         MR. NICHOLAS: Object to the             20 BY MR. PIFKO:
     21     form.                                       21      Q. What is this document? Can
     22         THE WITNESS: It doesn't                 22 you tell me what it is?
     23     state that.                                 23      A. It looks like -- it looks
     24            - - -                                24 like a series of org charts.

                                             Page 443                                          Page 445
      1           (Whereupon, Amerisource               1       Q. Is this an accurate
      2      Bergen-Zimmerman Exhibit-16, No            2  depiction of the -- your department, the
      3      Bates, West Virginia Case                   3 CSRA?
      4      Document, Organization Charts, was          4          MR. NICHOLAS: When?
      5      marked for identification.)                 5          THE WITNESS: Yeah, which --
      6             - - -                                6 BY MR. PIFKO:
      7 BY MR. PIFKO:                                    7      Q. Well, it's got various
      8      Q. I'm handing you what is                  8 periods on it. The whole document.
      9 marked as Exhibit-16. It's a document            9          MR. NICHOLAS: I think you
     10 that was used in your deposition in the         10      have to focus the question for
     11 West Virginia litigation.                       11      him.
     12           Do you recall this document?          12          THE WITNESS: Which one?
     13      A. Yes. I believe from the                 13 BY MR. PIFKO:
     14 West Virginia case.                             14      Q. Every single page, you're at
     15      Q. Do you agree this is a true             15 the top.
     16 and correct copy of the exhibit that            16          MR. NICHOLAS: I'll object
     17 was -- 1 was attached to your West              17      to the form. I'm not seeing any
     18 Virginia litigation as referenced here on       18      dates on the document at all.
     19 the first page of the document?                 19          THE WITNESS: I don't see
     20           MR. NICHOLAS: Object to the           20      any dates either.
     21      form --                                    21 BY MR. PIFKO:
     22           THE WITNESS: Do I --                  22      Q. Your name is at the top of
     23           MR. NICHOLAS: -- in the               23 each one of these pages, correct?
     24      sense that I don't know if he              24      A. But what year?
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      1      Q. You're going to tell me.                1      form.
      2 You're the expert here. It's your               2          THE WITNESS: In a sense
      3 department. This is your document, not           3     they had other duties in addition
      4 mine.                                            4     to diversion control. As we
      5           Let's look at the first                5     indicated with investigations,
      6 page.                                            6     they also investigated theft. You
      7      A. Okay.                                    7     had -- you have regional directors
      8      Q. That's your name at the top              8     that also ensure compliance with
      9 of this, right?                                  9     other -- not just the controlled
     10      A. Yes.                                    10     substance requirements but also
     11      Q. When you look at this and               11     security and prescription drug
     12 see the people here and the positions           12     requirements that always had
     13 here, can you tell me when this was?            13     controlled substances and
     14           MR. NICHOLAS: Objection.              14     diversion as well.
     15      Outside the scope. Object to the           15 BY MR. PIFKO:
     16      form.                                      16     Q. Let's look -- can you point
     17           THE WITNESS: Possibly 2007.           17 me to where the investigations department
     18      I'm not sure exactly.                      18 is? Who it that -- who is on this first
     19 BY MR. PIFKO:                                   19 page?
     20      Q. It says, Associates assigned            20     A. Bruce Gundy.
     21 to provide resources for the diversion          21     Q. So there's four
     22 control program.                                22 investigators underneath him?
     23           Do you see that? On the               23     A. Correct.
     24 left at the top, under the word, Current.       24     Q. Does he perform
                                             Page 447                                          Page 449
      1      A. Yes.                                    1  investigations himself?
      2      Q. And then underneath there,              2        A. Yes.
      3 it says, Everyone already has a full-time        3       Q. If we look at the next page,
      4 job.                                             4 there's Bruce Gundy.
      5          Do you see that?                        5           And how many people are
      6      A. Yes.                                     6 under him?
      7      Q. That's because the people                7       A. Three.
      8 responsible to provide resources for the         8       Q. The next page?
      9 diversion control program had other              9       A. I can't really read it.
     10 responsibilities, right?                        10       Q. It's next to Mr. Hazewski.
     11          MR. NICHOLAS: Object to the            11           MR. NICHOLAS: Hazewski.
     12      form.                                      12           MR. PIFKO: Sorry.
     13          THE WITNESS: We already had            13           THE WITNESS: Are you
     14      diversion control. We just --              14       referring to Bruce or Ed?
     15      this is in 2007. So part of their          15 BY MR. PIFKO:
     16      jobs was already in diversion              16       Q. Bruce.
     17      control.                                   17           You were trying to look for
     18 BY MR. PIFKO:                                   18 his department. How many people were
     19      Q. Part of their job what?                 19 in --
     20      A. Was part -- was for                     20       A. Yes.
     21 diversion control.                              21       Q. -- his department on the
     22      Q. Right. So all of these                  22 third page?
     23 people had other jobs as well, correct?         23       A. He has two.
     24          MR. NICHOLAS: Object to the            24       Q. Two.
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      1          And then let's look at the             1  marked as Exhibit-17.
      2 next page, how many?                            2           Have you seen this before?
      3     A. Two.                                      3 It's ABDCMDL 00251392 through 94. I just
      4     Q. And the last page?                        4 have some quick questions about this.
      5     A. Two.                                      5          Are you familiar with this
      6     Q. And all those investigators               6 policy and procedure?
      7 have duties other than diversion control,        7      A. I've seen it, yes.
      8 correct?                                         8      Q. It says that this is retail
      9          MR. NICHOLAS: Object to the             9 pharmacy targeted visits.
     10     form.                                       10          What is that?
     11          THE WITNESS: Yes. But                  11      A. Retail targeted visit; that
     12     as -- so after the first one,               12 we've identified a pharmacy that they
     13     there's a diversion control                 13 want to do additional investigation --
     14     department, which had                       14      Q. Okay.
     15     investigators contained within              15      A. -- which consisted of a
     16     there that moved from Bruce to              16 targeted visit.
     17     diversion control.                          17      Q. I want to direct your
     18          So now you had diversion               18 attention to the bottom where it says, 2,
     19     control doing investigations, as            19 pre-visit preparation.
     20     well as Bruce's people doing                20          Are you there?
     21     investigations.                             21      A. Yes, I am.
     22          The regional directors also            22      Q. It says, The CSRA
     23     performed investigations, and same          23 representative conducting the visit will
     24     with the senior directors as well.          24 request, in writing, that the account

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      1          And then you had a                     1  manager contact the owner/pharmacist in
      2      compliance staff at each of the            2  charge, inform him/her of the visit and
      3      distribution centers. We have 26            3 ensure that the owner, person in charge,
      4      distribution centers, all with a            4 or their designee, will be present on the
      5      compliance staff of either two to           5 arranged date in order to give their
      6      six individuals. So -- also with            6 undivided attention to the CSRA
      7      a role within -- looking into               7 representative for a minimum of one hour.
      8      these issues.                               8 The account manager is responsible for
      9 BY MR. PIFKO:                                    9 coordinating the visit date and time with
     10      Q. Let's look at the last page             10 the owner and/or person in charge or
     11 for completeness here.                          11 their designee.
     12          Four people as investigators           12          Do you see that?
     13 there?                                          13      A. Yes.
     14      A. Yes. Four investigators                 14      Q. So I just want to confirm,
     15 under Bruce. And then you see                   15 under AmerisourceBergen's policy for
     16 investigators under diversion control.          16 investigating and visiting pharmacies,
     17             - - -                               17 the owner or person in charge or designee
     18          (Whereupon, Amerisource                18 is provided advanced notice of those
     19      Bergen-Zimmerman Exhibit-17,               19 visits, correct?
     20      ABDCMDL 00251392-94, was marked            20      A. Yes. We need them there in
     21      for identification.)                       21 order to conduct our site visit.
     22            - - -                                22             - - -
     23 BY MR. PIFKO:
     24      Q. I'm handing you what is
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      8          MR. PIFKO: We're going to
      9      take a break.
     10          VIDEO TECHNICIAN: Going off
     11      the record. 6:02 p.m.
     12             - - -
     13          (Whereupon, a brief recess
     14      was taken.)
     15            - - -
     16          VIDEO TECHNICIAN: Back on
     17      the record at 6:11 p.m.
     18 BY MR. PIFKO:
     19      Q. If I wanted to ask you about
     20 the company's records regarding specific
     21 sales of controlled substances products
     22 in the Track 1 jurisdictions -- are you
     23 familiar with what the Track 1
     24 jurisdictions are? If I use that term,

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      1 does that mean anything to you?
      2      A. Not exactly. I've seen it,
      3 but I don't --
      4      Q. Sorry. Let me ask it a
      5 different way.
      6          If I wanted to talk to
      7 someone who was familiar with the              7        Q. Is there someone, though,
      8 company's records of which products they       8  from the CSRA who would be familiar about
      9 shipped to specific customers and amounts       9 how the system works and what the data in
     10 and when, who would that be?                   10 the different databases reflects?
     11          MR. NICHOLAS: I'll object             11           MR. NICHOLAS: Object to the
     12      to the form.                              12       form.
     13          THE WITNESS: I believe if             13           THE WITNESS: I am not sure
     14      you're just looking for data, it          14       who that would be. It would be
     15      would be somebody in our IT               15       somebody, I would think, in our IT
     16      department.                               16       group.
     17 BY MR. PIFKO:                                  17 BY MR. PIFKO:
     18      Q. But to understand how the              18       Q. Is there a specific type of
     19 system works?                                  19 title that that person would have?
     20          MR. NICHOLAS: Object to the           20           MR. NICHOLAS: Object to the
     21      form.                                     21       form.
     22          THE WITNESS: The system --            22           THE WITNESS: I don't know
     23      the suspicious order monitoring           23       who would -- I don't know that
     24      system or our operating system?           24       person.
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      1 BY MR. PIFKO:                                  1  deposition, did you understand yourself
      2     Q. What about for your                     2  to be designated to testify about topics
      3 investigations and due diligence files,         3 concerning the company's involvement with
      4 who would be familiar with those?               4 the had?
      5     A. That would be, if they are               5      A. Yes.
      6 CSRA files, that would be my department,        6      Q. What steps did you take to
      7 or our department.                              7 become familiar with the company's
      8     Q. Who within your department               8 involvement with the had?
      9 would have the most expertise about that?       9      A. I had my personal
     10         MR. NICHOLAS: Object to the            10 involvement with the -- we talked about
     11     form.                                      11 the committees I participated on. I
     12         THE WITNESS: What time                 12 reviewed the had document, I can't
     13     frame?                                     13 remember the title of it, the guidelines.
     14 BY MR. PIFKO:                                  14         And that's pretty much it.
     15     Q. Well, let's -- any time                 15      Q. Did you talk to anyone
     16 frame. Tell me.                                16 besides reviewing your own documents?
     17     A. We've changed systems                   17      A. Outside -- no. Outside of
     18 through the course. In addition to the         18 counsel, no.
     19 SAP, we have also changed internal             19      Q. Did you review any documents
     20 systems within CSRA.                           20 that weren't your own documents?
     21     Q. Okay. How about for the --              21      A. I indicated the document of
     22 2007 to 2012?                                  22 the had guidelines. That's not my
     23     A. The investigation,                      23 document, but I reviewed that document.
     24 investigations would probably be, you          24      Q. There's many people at the
                                            Page 483                                         Page 485
      1 want a name?                                   1  company who have participated with the
      2          It would probably be Bruce            2  had, correct?
      3 Gundy. And Steve Mays, who you've               3       A. Yes.
      4 mentioned. He has some system                   4       Q. Who all, to your knowledge,
      5 responsibilities -- not responsibilities,       5 has participated in the had?
      6 but knowledge within CSRA as well.              6       A. It's a lot.
      7     Q. And then how about for the               7       Q. Okay.
      8 more recent period, 2012 to present, do         8       A. It could be 50. Because
      9 you know?                                       9 they have different segments, whether
     10          MR. NICHOLAS: Object to the           10 it's tax, whether it's procurement,
     11     form and to the scope, to some             11 whether it's government affairs.
     12     extent.                                    12       Q. How about with respect to
     13          THE WITNESS: If your                  13 diversion issues?
     14     question is who in CSRA would have         14       A. It would be Steve Mays,
     15     that information up to the                 15 David May.
     16     present, I assume, would be --             16       Q. Steve Mays, has he been
     17     David May would have information           17 involved in the had? What is the time
     18     regarding that process.                    18 period?
     19          And then Bruce Gundy is also          19       A. He's been involved with the
     20     still in investigations. He would          20 regulatory affairs committee for years
     21     be that person for investigations.         21 prior to 2007.
     22 BY MR. PIFKO:                                  22       Q. Prior to 2007?
     23     Q. Okay. Thanks.                           23       A. Yes. I believe so.
     24          In preparing for this                 24       Q. Does he still have
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      1 involvement with the had?                       1   like, ten seconds to decide
      2      A. Yes.                                    2   whether to ask him any questions.
      3      Q. I understand that there's a             3        MR. PIFKO: Sure.
      4 gap in your document production from            4        VIDEO TECHNICIAN: Going off
      5 August 24th, 2007 to July 15th, 2010.           5   the record. 6:19 p.m.
      6          Do you have any reason to              6           - - -
      7 believe that there would be documents not       7        (Whereupon, a brief recess
      8 in your system from then from you?              8   was taken.)
      9      A. No.                                     9          - - -
     10      Q. Were you still working for             10        VIDEO TECHNICIAN: Back on
     11 the company during that time period?           11   record at 6:22 p.m.
     12      A. Yes.                                   12        MR. NICHOLAS: I have no
     13      Q. Did you have a computer and            13   questions for the witness. So,
     14 e-mail during that time period?                14   Mr. Zimmerman, thank you very much
     15      A. I did.                                 15   and you're excused. Although you
     16      Q. Are you aware of any system            16   can sit here to listen to us argue
     17 crashes during that time period?               17   about one last thing.
     18          MR. NICHOLAS: Let me                  18        Just you said -- you said,
     19      interpose an objection to the             19   you know, five minutes ago that
     20      extent that I personally don't            20   there was a gap in the documents.
     21      know if the representation you're         21   It's the first I've heard of that.
     22      making is right about the                 22   You haven't raised that with us up
     23      documents.                                23   until now.
     24          But go ahead and ask your             24        I suspect there's not a gap
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      1     questions.                                  1   in the documents. But in any
      2          THE WITNESS: What was the              2   event, this is all my way of
      3     last question? Sorry.                       3   saying we don't necessarily agree
      4 BY MR. PIFKO:                                   4   that you're going to be able to
      5     Q. I was just asking if you                 5   come back, you know, for another
      6 were aware of any system failures or            6   deposition. That's something
      7 crashes of servers during that time             7   we'll have to fight about.
      8 period at the company?                          8       MR. PIFKO: I agree. That
      9     A. Not that I know of.                      9   was my statement, that we can meet
     10          MR. PIFKO: Okay. Well,                10   and confer about it.
     11     it's my understanding that there's         11       So we can dispute about
     12     that gap in those documents and            12   whether that happens or not.
     13     there may be other documents that          13       MR. NICHOLAS: Okay. I've
     14     might come into the production.            14   got nothing else.
     15          So subject to additional              15       VIDEO TECHNICIAN: This ends
     16     documents that might be produced,          16   today's deposition. We're going
     17     we will reserve our right to               17   off the record at 6:23 p.m.
     18     recall. And I'm sure we can meet           18          - - -
     19     and confer about it if we have a           19       (Whereupon, the deposition
     20     dispute.                                   20   was concluded at 6:23 p.m.)
     21          And other than that, I don't          21          - - -
     22     have any questions for you at the          22
     23     moment.                                    23
     24          MR. NICHOLAS: Give me,                24


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                                                                               Review
                                             Page 490                                                 Page 492
      1          CERTIFICATE                             1          - - - - - -
      2                                                              ERRATA
      3                                                  2          - - - - - -
      4         I HEREBY CERTIFY that the                3
      5 witness was duly sworn by me and that the        4 PAGE LINE CHANGE
      6 deposition is a true record of the               5 ____ ____ ____________________________
      7 testimony given by the witness.                  6   REASON: ____________________________
      8                                                  7 ____ ____ ____________________________
      9
                                                         8   REASON: ____________________________
     10
                                                         9 ____ ____ ____________________________
            Amanda Maslynsky-Miller                     10   REASON: ____________________________
     11     Certified Realtime Reporter                 11 ____ ____ ____________________________
            Dated: August 6, 2018                       12   REASON: ____________________________
     12
                                                        13 ____ ____ ____________________________
     13
     14
                                                        14   REASON: ____________________________
                                                        15 ____ ____ ____________________________
     15
     16
                                                        16   REASON: ____________________________
                                                        17 ____ ____ ____________________________
     17           (The foregoing certification
     18 of this transcript does not apply to any
                                                        18   REASON: ____________________________
     19 reproduction of the same by any means,          19 ____ ____ ____________________________
     20 unless under the direct control and/or          20   REASON: ____________________________
     21 supervision of the certifying reporter.)        21 ____ ____ ____________________________
     22                                                 22   REASON: ____________________________
     23                                                 23 ____ ____ ____________________________
     24                                                 24   REASON: ____________________________
                                             Page 491                                                 Page 493
      1      INSTRUCTIONS TO WITNESS                     1      ACKNOWLEDGMENT OF DEPONENT
                                                         2
      2
                                                                   I,_____________________, do
      3          Please read your deposition             3 hereby certify that I have read the
      4 over carefully and make any necessary              foregoing pages, 1 - 489, and that the
                                                         4 same is a correct transcription of the
      5 corrections. You should state the reason
                                                           answers given by me to the questions
      6 in the appropriate space on the errata           5 therein propounded, except for the
      7 sheet for any corrections that are made.           corrections or changes in form or
                                                         6 substance, if any, noted in the attached
      8          After doing so, please sign               Errata Sheet.
      9 the errata sheet and date it.                    7
                                                         8   _______________________________________
     10          You are signing same subject                CHRISTOPHER ZIMMERMAN            DATE
     11 to the changes you have noted on the             9
                                                        10
     12 errata sheet, which will be attached to
                                                             Subscribed and sworn
     13 your deposition.                                11   to before me this
     14          It is imperative that you                   _____ day of ______________, 20____.
                                                        12
     15 return the original errata sheet to the
                                                             My commission expires:______________
     16 deposing attorney within thirty (30) days       13

     17 of receipt of the deposition transcript
                                                        14   ____________________________________
                                                             Notary Public
     18 by you. If you fail to do so, the               15
                                                        16
     19 deposition transcript may be deemed to be
                                                        17
     20 accurate and may be used in court.              18
     21                                                 19
                                                        20
     22                                                 21
     23                                                 22
                                                        23
     24
                                                        24

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                                                                               Review
                                       Page 494
      1        LAWYER'S NOTES
      2 PAGE LINE
      3 ____ ____ ____________________________
      4 ____ ____ ____________________________
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     24 ____ ____ ____________________________




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